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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CHEVRON CORPORATION,
Plaintiff,
v.

STEVEN DONZIGER, THE LAW OFFICES OF ‘11 Civ. 0691 (LAK)
STEVEN R. DONZIGER, DONZIGER & :

ASSOCIATES, PLLC, PABLO FAJARDO

MENDOZA, LUIS YANZA, FRENTE DE

DEFENSA DE LA AMAZONIA A/K/A AMAZON :

DEFENSE FRONT, SELVA VIVA SELVIVA AMENDED COMPLAINT
CIA, LTDA., STRATUS CONSULTING, INC., ,
DOUGLAS BELTMAN, ANN MAEST, MARIA == JURY TRIAL DEMANDED

AGUINDA SALAZAR, CARLOS GREFA
HUATATOCA, CATALINA ANTONIA

AGUINDA SALAZAR, LIDIA ALEXANDRA
AGUINDA AGUINDA, PATRICIO ALBERTO
CHIMBO YUMBO, CLIDE RAMIRO AGUINDA
AGUINDA, LUIS ARMANDO CHIMBO

YUMBO, BEATRIZ MERCEDES GREFA
TANGUILA, LUCIO ENRIQUE GREFA
TANGUILA, PATRICIO WILSON AGUINDA
AGUINDA, CELIA IRENE VIVEROS

CUSANGUA, FRANCISCO MATIAS

ALVARADO YUMBO, FRANCISCO

ALVARADO YUMBO, OLGA GLORIA GREFA
CERDA, LORENZO JOSE ALVARADO

YUMBO, NARCISA AIDA TANGUILA
NARVAEZ, BERTHA ANTONIA YUMBO
TANGUILA, GLORIA LUCRECIA TANGUILA
GREFA, FRANCISCO VICTOR TANGUILA
GREFA, ROSA TERESA CHIMBO TANGUILA,
JOSE GABRIEL REVELO LLORE, MARIA
CLELIA REASCOS REVELO, MARIA
MAGDALENA RODRIGUEZ BARCENES, °
HUGO GERARDO CAMACHO NARANIO, JOSE °
MIGUEL IPIALES CHICAIZA, HELEODORO
PATARON GUARACA, LUISA DELIA
TANGUILA NARVAEZ, LOURDES BEATRIZ
CHIMBO TANGUILA, MARIA HORTENCIA
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VIVEROS CUSANGUA, SEGUNDO ANGEL
AMANTA MILAN, OCTAVIO ISMAEL
CORDOVA HUANCA, ELIAS ROBERTO
PIYAHUAJE PAYAHUAJE, JAVIER PIAGUAJE
PAYAGUAJE, DANIEL CARLOS LUSITANDE
YAIGUAJE, BENANCIO FREDY CHIMBO
GREFA, GUILLERMO VICENTE PAYAGUAJE
LUSITANTE, DELFIN LEONIDAS PAYAGUAJE
PAYAGUAJE, ALFREDO DONALDO
PAYAGUAJE PAYAGUAJE, TEODORO
GONZALO PIAGUAJE PAYAGUAJE, MIGUEL
MARIO PAYAGUAJE PAYAGUAJE, FERMIN
PIAGUAJE PAYAGUAJE, REINALDO
LUSITANDE YAIGUAJE, LUIS AGUSTIN
PAYAGUAJE PIAGUAJE, EMILIO MARTIN
LUSITANDE YAIGUAJE, SIMON LUSITANDE
YAIGUAJE, ARMANDO WILFRIDO PIAGUAJE
PAYAGUAJE, and ANGEL JUSTINO
PIAGUAGE LUCITANTE,

Defendants.
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Plaintiff Chevron Corporation (“Chevron”) for its Amended Complaint against the

Defendants listed below alleges as follows:

INTRODUCTION

1. Over the course of several years, defendant Steven Donziger and his co-
defendants and co-conspirators have sought to extort, defraud, and otherwise tortiously injure
plaintiff Chevron by means of a plan they conceived and substantially executed in the United
States. It has been carried out by a U.S.-based enterprise comprised of, among others, U.S.
plaintiffs’ lawyers led by Donziger; U.S. environmental consultants, led by Stratus Consulting,
Inc., Ann Maest, and Doug Beltman; their Ecuadorian colleagues, led by Pablo Fajardo and Luis
Yanza; and their front organizations, the Amazon Defense Front and Selva Viva. These
conspirators are collectively referred to herein as the “RICO Defendants.”! Their co-
conspirators in the enterprise include, among others, U.S. law firms and attorneys, such as
Joseph Kohn of Kohn Swift & Graf, P.C., Emery Celli Brinckerhoff & Abady LLP, Motley Rice
LLC and Patton Boggs LLP; U.S. environmental “activists,” such as Atossa Soltani, Amazon
Watch, and Rainforest Action Network; U.S. public relations consultants, such as Karen Hinton;
and additional financiers, such as Russell DeLeon and the Burford Group.

2. The enterprise’s ultimate aim is to create enough pressure on Chevron in the
United States to extort it into paying to stop the campaign against it. The RICO Defendants have

sought to inflict maximum “damage to [Chevron’s] reputation,” to put “personal psychological

 

1 Forty-seven of the 48 Ecuadorian individuals who are named in the caption of the Lago
Agrio complaint are also named as defendants here (the exception being one who is now
deceased). Whether or not these 47 individuals were actively involved with the corrupt acts
described in this Amended Complaint, or knew or should have known about them, the Lago
Agrio Litigation and multiple acts in United States courts have been undertaken in their
names, as well as in the name of the Amazon Defense Front, by the other defendants or those
acting in concert with them on their behalves. Thus, they are vicariously liable for the torts
of their agents undertaken on their behalves, can in no way benefit from a corruptly obtained
judgment, and any relief Chevron procures by means of this action or other legal avenues
applies equally to these 47 Ecuadorian individuals, who necessarily would thereby be acting
in concert with their corrupt agents.
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pressure [on] their top executives,” to disrupt Chevron’s relations with its shareholders and
investors, to provoke U.S. federal and state governmental investigations, and thereby force the
company into making a payoff.

3. To effect this plan, the RICO Defendants and their co-conspirators initiated a
sham litigation in Lago Agrio, Ecuador (the “Lago Agrio Litigation”), claiming to seek money
damages for “collective environmental rights” of the “affected” “communities” to remediate
alleged petroleum contamination in Ecuador’s Oriente region. The Lago Agrio Litigation was
directed and funded in significant part from the United States by United States residents, such as
Donziger and Kohn. In prosecuting the Lago Agrio Litigation, the RICO Defendants and their
co-conspirators have engaged in a series of corrupt acts. For example, they have submitted in the
Lago Agrio Litigation fabricated evidence in the form of expert reports in the name of a U.S.
environmental consultant, Dr. Charles Calmbacher, that he did not draft or approve. They also
pressured U.S. environmental consultant David Russell to generate an inflated $6 billion
damages figure, which they never filed in Lago Agrio but instead touted in the press and, via co-
conspirator Amazon Watch, submitted to the U.S. Securities and Exchange Commission in an
attempt to trigger a Sarbanes-Oxley investigation. And they arranged the appointment of
Richard Stalin Cabrera Vega (“Cabrera”) as the Ecuadorian court’s sole expert to conduct a
“olobal damages assessment.” They then secretly met with Cabrera to plan his report and—in
the United States—ghostwrote the report and its annexes that Cabrera adopted “pretty much
verbatim.” The U.S.-based consultant RICO Defendants drafted “comments” purporting to
criticize “the Expert’s work and conclusions,” even though they had written his initial report
themselves, and then ghostwrote “Cabrera’s” responses to their own “comments,” increasing his
fake damage assessment to more than $27 billion. In addition, the RICO Defendants have
adopted a strategy to intimidate Ecuadorian judges, whom they have described as “mak[ing]
decisions based on who they fear the most, not based on what the laws should dictate,” and they
have colluded with the Republic of Ecuador to procure sham criminal charges against Chevron’s

attorneys.
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4, To pressure Chevron in the United States, the RICO Defendants have cited this
fabricated evidence, Cabrera’s supposedly “independent” report and these trumped-up criminal
charges in false statements to the U.S. Congress, the U.S. Department of Justice, state and
federal regulatory agencies, including the Securities and Exchange Commission, the U.S. media,
and Chevron shareholders, among others. They have also made false statements to U.S. courts in
an attempt to cover up their wrongdoing and to obstruct Chevron’s discovery efforts. In fact,
when U.S. discovery proceedings were poised last March to require disclosure of the RICO
Defendants’ collusion with Ecuadorian court expert Cabrera, the RICO Defendants sought to
delay the truth from coming out. As one of the Ecuadorian lawyers told Defendant Donziger at
the time, “the effects” of disclosure “are potentially devastating in Ecuador (apart from
destroying the proceeding, all of us, your attorneys, might go to jail).” U.S. counsel agreed,
admitting in a remarkable series of internal emails that “it appears not only that Cabrera and
plaintiffs can be charged with a ‘fraud’ respecting the former’s report, but that Stratus was an
active conspirator.” Undeterred, however, Donziger and other U.S. counsel then conspired to
“cleanse” the Cabrera scandal by submitting to the Lago Agrio court last September new expert
reports which largely relied on the tainted “Cabrera” report, but hiked the damages sought to
$113 billion.

5. The RICO Defendants’ conduct violates the Racketeer Influenced and Corrupt
Organizations Act, 28 U.S.C. § 196I et seq., with predicate acts of extortion, mail and wire
fraud, money laundering, obstruction of justice, and witness tampering, among others. In
addition, Defendants’ conduct constitutes common law fraud, unjust enrichment, intentional
interference with contract, trespass to chattels, and civil conspiracy, among others. As a result,
Defendants’ misconduct entitles Chevron to injunctive relief precluding Defendants from
attempting to enforce the judgment emanating from the proceedings in Lago Agrio, Ecuador, a

declaratory judgment that the Lago Agrio judgment is unenforceable, damages, and other relief.
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PARTIES AND RELEVANT NON-PARTIES
Plaintiff
6. Plaintiff Chevron Corporation (“Chevron”) is a Delaware corporation with its
principal place of business located at 6001 Bollinger Canyon Road, San Ramon, California

94583. Chevron is therefore a citizen of Delaware and California.

RICO Defendants
7. The defendants listed in paragraphs 8 through 17 are the individuals who have

conspired to engage in a pattern of racketeering activity, have each committed numerous
criminal acts as part of their scheme to defraud and extort Chevron, and have each participated in
the operation or management of the criminal enterprise. These defendants shall be referred to
herein as the “RICO Defendants.”

8. Defendant Steven Donziger (“Donziger”) is currently a “consulting” attorney for
the Amazon Defense Front in the Lago Agrio Litigation and, as he described himself, “the
person primarily responsible for putting [the Lago Agrio] team together and supervising it.”
Donziger is an individual residing in New York, New York, with an intention to reside there
indefinitely, and is therefore a citizen of the State of New York. Exercise of jurisdiction over
Donziger is reasonable and proper in this District for the reasons set forth in paragraph 25, infra.

9. Defendant the Law Offices of Steven R. Donziger is a sole proprietorship
located at 245 W. 104th Street, #7D, New York, New York 10025, and is therefore a citizen of
the State of New York. Exercise of jurisdiction over the Law Offices of Steven R. Donziger is
reasonable and proper in this District for the reasons set forth in paragraph 26, infra.

10. Defendant Donziger & Associates, PLLC is a professional limited liability
corporation located at 245 W. 104th Street, #7D, New York, New York 10025, and is therefore a
citizen of the State of New York. Exercise of jurisdiction over Donziger & Associates, PLLC is
reasonable and proper in this District for the reasons set forth in paragraph 26, infra.

Ll. Defendant Pablo Fajardo Mendoza (‘Fajardo’) is counsel of record for the

Amazon Defense Front as well as purportedly counsel of record for the named plaintiffs in the
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Lago Agrio Litigation. Fajardo is an individual residing in Ecuador, with an intention to reside
there indefinitely, and is therefore a citizen of Ecuador. Exercise of jurisdiction over Fajardo is
reasonable and proper in this District for the reasons set forth in paragraph 28, infra.

12. Defendant Luis Yanza (“Yanza”) is the co-founder of the Amazon Defense
Front and is or has been the General Manager for Defendant Selva Viva. Yanza is an individual
residing in Ecuador, with an intention to reside there indefinitely, and is therefore a citizen of
Ecuador. Exercise of jurisdiction over Yanza is reasonable and proper in this District for the
reasons set forth in paragraph 29, infra.

13. Defendant Frente de Defensa de la Amazonia, a/k/a the Amazon Defense Front
or Amazon Defense Coalition (the “Frente” or the “Front”), is a “non-profit” organization
purporting to represent the “plaintiffs” in the Lago Agrio Litigation. The Front is the designated
“beneficiary” and “trustee” of a trust ordered by the judgment in the Lago Agrio Litigation (the
“Judgment Trust”), and intends to administer the proceeds from the judgment entered against
Chevron. The Front is a non-profit organization registered under the laws of Ecuador with
offices located in the town of Nueva Loja (Lago Agrio) in the province of Sucumbios, Ecuador.
The Front is therefore a citizen of Ecuador. Exercise of jurisdiction over the Front is reasonable
and proper in this District for the reasons set forth in paragraph 30, infra.

14. Defendant Selva Viva, a/k/a Selva Viva Selviva CIA, Ltda. (“Selva Viva’) is or
was an Ecuadorian limited liability company with an office located at 1240 Shirys Street,
Tumbaco, Ecuador. Selva Viva is therefore a citizen of Ecuador. Defendant the Front created
Selva Viva to administer funds for the litigation. Defendant the Front controls Selva Viva,
Defendant Donziger is or has been the President of Selva Viva, and Defendant Yanza is or has
been the General Manager of Selva Viva. Exercise of jurisdiction over Selva Viva is reasonable
and proper in this District for the reasons set forth in paragraph 31, infra.

15. Defendant Stratus Consulting, Inc. (“Stratus”) provided various environmental
consulting services to the RICO Defendants, and was involved in producing the purportedly

“independent” expert report filed in the Lago Agrio Litigation. Stratus is a private corporation
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incorporated in Colorado with its main office at 1881 Ninth Street, Suite 201, Boulder, Colorado
80302, and is therefore a citizen of Colorado. Exercise of jurisdiction over Stratus is reasonable
and proper in this District for the reasons set forth in paragraph 27, infra.

16. Defendant Douglas Beltman (“Beltman”) is an Executive Vice President of
Stratus. Beltman is an individual residing in Colorado, with an intention to reside there
indefinitely, and is therefore a citizen of Colorado. Exercise of jurisdiction over Beltman is
reasonable and proper in this District for the reasons set forth in paragraph 27, infra.

17. Defendant Ann Maest (“Maest”) is a Managing Scientist at Stratus. Maest is an
individual residing in Colorado, with an intention to reside there indefinitely, and is therefore a
citizen of Colorado. Exercise of jurisdiction over Maest is reasonable and proper in this District
for the reasons set forth in paragraph 27, infra.

Non-Party Co-Conspirators

18. Certain other non-party individuals and business entities played roles, direct or
indirect, in the scheme to defraud and extort Chevron. Foremost among these individuals and
business entities are the following:

a. Joseph Kohn (“Kohn”) of the law firm Kohn Swift & Graf P.C. is an attorney
who was a “consulting” attorney for the Amazon Defense Front in the Lago Agrio
Litigation, and a primary source of funds for that litigation and for many of the
illegal activities described in this Amended Complaint. Kohn is a resident of
Pennsylvania.

b. Kohn Swift & Graf P.C. (“Kohn Swift’) is a professional corporation located at
One South Broad Street, Suite 2100, Philadelphia, Pennsylvania 19107. Kohn
Swift has bankrolled the Lago Agrio Litigation as one of its “flagship cases” and
funded the co-conspirators’ other illegal activities.

c. Joshua Lipton (“Lipton”) is the President of Stratus and is a resident of Colorado.
Together with the RICO Defendants, Lipton coordinated and oversaw the use of

Stratus and other resources by the RICO Defendants to ghostwrite the Cabrera
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Report and publicize its findings. To these ends, Lipton met with Donziger to
discuss the RICO Defendants’ plan to draft portions of the Cabrera Report and
was included in various correspondence concerning Stratus’s work in
ghostwriting the Cabrera Report.

d. David Chapman (“Chapman”) is a Principal at Stratus and is a resident of
Colorado. Chapman proposed drafting the Cabrera Report to Donziger, worked
with Lipton and the RICO Defendants to coordinate the use of Stratus resources
in the ghostwriting of the Cabrera Report, and participated in the subsequent
obstruction of Chevron’s efforts to uncover evidence of the fraud in U.S. court
proceedings. He met with Donziger to discuss the RICO Defendants’ plan to
ghostwrite the Cabrera Report, signed Stratus’s report endorsing the Cabrera
Report, and perjured himself in a deposition when he testified that he had no
reason to believe that Stratus had provided work product to Cabrera.

e. William Powers (“Powers”) is a subcontractor for Stratus and is a resident of
California. Powers had responsibility for components of the fraudulent scheme to
ghostwrite the Cabrera Report; he worked on two annexes of the Cabrera Report
and drafted portions of Cabrera’s supplemental report.

f. Amazon Watch is a “non-profit” organization with its main office at 221 Pine
Street, San Francisco, California 94104. Amazon Watch undertakes various
projects ostensibly on behalf of environmental and human rights causes in the
Amazon basin. [n connection with the Lago Agrio Litigation, Amazon Watch
applied its experience and resources in public, media and government relations to
use the Cabrera Report and other false and fraudulent claims as the basis for the
RICO Defendants’ public pressure campaign against Chevron. With the Amazon
Defense Front, Amazon Watch maintains at least one of the RICO Defendants’

websites, chevrontoxico.com, and through that and other means, distributes false
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and misleading statements as part of the RICO Defendants’ extortionate scheme.
Kohn and Kohn Swift are significant financial supporters of Amazon Watch.

g. Atossa Soltani (“Soltani’’) is the founder and executive director of Amazon Watch
and, in that capacity, Soltani repeatedly distributed false and misleading
statements about Chevron and the Lago Agrio Litigation as part of the RICO
Defendants’ extortionate scheme. She has also worked with Donziger, Yanza and
other RICO Defendants to coordinate the public pressure campaign against
Chevron, and to develop the RICO Defendants’ strategy of manipulating the Lago
Agrio court through intimidation and collusion with the Republic of Ecuador.
Soltani is a resident of California.

h. Rainforest Action Network (“RAN”) is a “non-profit” organization with its main
office at 221 Pine Street, San Francisco, California 94104. The organization
specializes in boycotts, demonstrations, and other high-profile means of exerting
pressure on corporations that it perceives threaten the world’s rainforests. In
close concert with Amazon Watch (with which it shares a headquarters location),
RAN has organized demonstrations and boycotts against Chevron and distributed
false and misleading statements about Chevron and the Lago Agrio Litigation.
RAN also maintains at least one of the websites, changechevron.org, through
which the RICO Defendants distribute false and misleading statements.

i. Richard Stalin Cabrera Vega (“Cabrera”) is a mining engineer and court expert in
the Lago Agrio Litigation and a resident of Ecuador. The RICO Defendants
secured his appointment as a purportedly independent court expert in the Lago
Agrio Litigation. He was paid by the RICO Defendants and their co-conspirators
for his cooperation in signing a fraudulent report ghostwritten by the RICO
Defendants and their co-conspirators and he has repeatedly misrepresented his

independence.
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j. Alberto Wray (“Wray”) is the former counsel of record for the plaintiffs in the
Lago Agrio Litigation and is a resident of Washington, D.C. Wray previously
served on Ecuador’s Supreme Court and has significant political connections in
Ecuador. The RICO Defendants have used Wray’s connections to procure the
sham criminal investigations of Chevron’s attorneys.

k. Cristébal Bontfaz (“Bonifaz”) of the Law Offices of Cristébal Bonifaz was
counsel of record for plaintiffs in two actions that were filed in the Southern
District of New York, Aguinda v. Texaco, Inc., No. 93 Civ. 7527 (S.D.N.Y. Nov.
3, 1993), and Jota v. Texaco, Inc., No. 94 Civ. 9266 (S.D.N.Y. Dec. 28, 1994).
Bonifaz is a resident of Massachusetts. Until in or about 2006, Bonifaz was also a
consulting attorney for the Front, and purportedly the named plaintiffs, in the
Lago Agrio Litigation.

|. Juan Pablo Saenz (“Saenz”) is an Ecuadorian attorney who claims to represent the
plaintiffs in the Lago Agrio Litigation and is a key intermediary between the
RICO Defendants and the Republic of Ecuador. He has also signed false and
misleading declarations filed in U.S. courts, including in the Southern District of
New York.

m. Julio Prieto (“Prieto”) is an Ecuadorian attorney who claims to represent the
plaintiffs in the Lago Agrio Litigation. Prieto was a key participant in the RICO
Defendants’ obstruction of justice in U.S. courts and he proposed litigation and
public relations activities in the United States that the RICO Defendants
undertook in order to obscure the evidence of their fraudulent scheme.

n. Karen Hinton (“Hinton”) is a spokeswoman for the Front in the United States and
is aresident of Virginia. Hinton assisted the RICO Defendants in the
development of their public pressure campaign and, often in concert with Amazon

Watch, has authored false and misleading press releases and media statements
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about the Lago Agrio Litigation in furtherance of the RICO Defendants’
extortionate scheme.

o. E-Tech International (“E-Tech”) is an environmental consulting firm located at
231 Las Mananitas, Santa Fe, New Mexico 87501. E-Tech provided various
environmental consulting services to the RICO Defendants and helped the RICO
Defendants secretly draft Cabrera’s work plan and otherwise colluded with
Cabrera.

p. Burford Capital Limited, Burford Group Limited, Burford Group LLC, Burford
Advisors LLC, and Treca Financial Solutions (collectively, “Burford”) are
associated entities in the business of litigation finance. Burford Capital Limited is
registered in the Bailiwick of Guernsey and is publicly traded on the London
Stock Exchange’s AIM Market. Burford Group Limited is also a Guernsey
corporation, and it operates in the United States through its subsidiary Burford
Group LLC, which has its principal office at 1185 Avenue of the Americas, New
York, New York 10036. Burford Advisors also has its principal office at 1185
Avenue of the Americas, New York, New York 10036. Treca Financial Solutions
is registered in the Cayman Islands, and is a funding vehicle established by
Burford to funnel financial support to the RICO Defendants. Burford began
working with the RICO Defendants in 2009 and began funding the Lago Agrio
Litigation in 2010.

q. Russell DeLeon (“DeLeon”) is a law school friend of Donziger’s and
entrepreneur whose businesses include PartyGaming Plc, an online gambling
company headquartered in Gibraltar. DeLeon has funded the RICO Defendants’
activities for several years, providing over $1 million in support, and has made
payments directly to Ecuadorians, including Fajardo and others. DeLeon has
funneled some or all of this funding through Torvia Limited, a company

incorporated under the laws of Gibraltar.
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r. Emery Celli Brinckerhoff & Abady LLP (“Emery Celli”) is a law firm located at
75 Rockefeller Plaza, 20th Floor, New York, New York 10019. Emery Celli has
spearheaded the RICO Defendants’ obstruction and cover-up efforts in the United
States, making numerous meritless filings in opposition to Chevron’s discovery
proceedings in U.S. courts in an express effort to delay those proceedings and
“buy time” for the RICO Defendants’ criminal scheme.

s. Patton Boggs LLP (“Patton Boggs”) is a law firm with its principal office at 2550
M Street, NW, Washington, D.C. 20037. Patton Boggs has developed the RICO
Defendants’ strategy for pursuing the assets of Chevron and its subsidiaries
around the world on the basis of the fraudulent judgment in Ecuador, and has also
been instrumental in the cover-up and obstruction of Chevron’s U.S. discovery
proceedings.

t. Motley Rice LLC (“Motley Rice”) is a law firm with an office located at One
Corporate Center, 20 Church St., Hartford, Connecticut 06103. Motley Rice has
participated in the obstruction of Chevron’s U.S. discovery efforts.

u. H5 is a California corporation with its principal office at 71 Stevenson St., San
Francisco, California 94105. H5 has participated in planning and implementing
the RICO Defendants’ scheme, including the “cleansing” of the Cabrera Report
and the obstruction of Chevron’s U.S. discovery efforts.

19. At all relevant times, each and every non-party named in paragraph 18 was
acting in concert with, or as an agent for, one or more of the RICO Defendants and, further, as
described in more detail below, conspired with one or more of the other RICO Defendants to

perform the acts averred herein.
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Remaining Defendants

20. The Lago Agrio Litigation was ostensibly brought on behalf of forty-eight
named individual Ecuadorians,? referred to herein as the Lago Agrio Plaintiffs. At all relevant
times, the Lago Agrio Plaintiffs have been individuals residing in the Republic of Ecuador. The
Lago Agrio Plaintiffs are those individuals identified in Appendix A to this Amended Complaint,
which is incorporated by reference as if set forth herein in its entirety.

21. The Lago Agrio Plaintiffs’ Complaint seeks no individual damages in the Lago
Agrio Litigation, and the signatures for twenty of the Lago Agrio Plaintiffs on the power of
attorney form submitted along with the complaint in the Lago Agrio Litigation are the product of
forgery. Defendant Fajardo, in a sworn declaration submitted to this Court in January 2011, has
affirmed that he represents the Lago Agrio Plaintiffs as their attorney in the Lago Agrio
Litigation and is authorized to pursue and defend their interests in other domestic and foreign
courts. According to Fajardo, the Lago Agrio Plaintiffs gave him “the power to represent them”
in the Lago Agrio Litigation in 2006. At that time, they purportedly signed documents
appointing him as their “Common Attorney,” which required him “to undertake all appropriate
legal action to defend the[ir] rights” and authorized him “to appear on their behalf in connection
with the Lago Agrio Litigation and if necessary to delegate this power to others.” Subsequently,
in November 2010, “at least forty-one (41)” of the Lago Agrio Plaintiffs allegedly signed
notarized powers of attorney “affirming” Fajardo’s “powers to represent them in pursuit and
defense of their interests before the courts in Ecuador and in all other countries, including the
United States.” Moreover, in these powers of attorney, the Lago Agrio Plaintiffs purportedly
“ratified and approved each and every action to date performed by [Fajardo] or by any other
persons authorized by [Fajardo] to act in defense of the [Lago Agrio] Plaintiffs’ interests in the

Lago Agrio Litigation and in all other related actions.” In his declaration, Fajardo represented

 

2 One of these individuals, Esteban Lusitante Yaiguaje, is now deceased and thus is not named
as a defendant in this case.

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that the Lago Agrio Plaintiffs who signed the powers of attorney in November 2010 “affirmed
that as lead counsel I have the authority to make and sign contracts, hire and retain legal
consultants, and designate to others all or part of my power to represent the [Lago Agrio]
Plaintiffs.” He also stated that he retained several U.S. law firms to assist with the representation
of the Lago Agrio Plaintiffs, including Patton Boggs, Emery Celli, and Motley Rice.

22. Whether or not the individual Lago Agrio Plaintiffs were or are aware of the
fraud that has been perpetrated by the RICO Defendants and their co-conspirators in their names,
the Lago Agrio Plaintiffs cannot benefit from the fraud and corrupt acts perpetrated ostensibly on

their behalf.

SUBJECT MATTER JURISDICTION AND VENUE

23. This Court has subject matter jurisdiction over Chevron’s claims under
28 U.S.C. §§ 1331 and 1332, and under 18 U.S.C. § 1964(c). Chevron’s first claim for relief
arises under 18 U.S.C. § 1961 et seq., as hereinafter more fully appears. There is also complete
diversity of citizenship between the parties, and the amount in controversy exceeds $75,000,
exclusive of interest and costs. Chevron’s state law claims arise out of the same case or
controversy as its federal law claims, as all claims in this action arise out of a common nucleus
of operative facts. Thus, this Court also has supplemental jurisdiction over Chevron’s state law
claims under 28 U.S.C. § 1367.

24, Venue is proper in this District under 28 U.S.C. § 1391(b)(2), as a substantial
number of the events giving rise to this action occurred in this District, and also under 18 U.S.C.
§ 1965.

PERSONAL JURISDICTION

25, Exercise of jurisdiction over Defendant Donziger is reasonable and proper in this
District because Donziger is a citizen of the State of New York and because he conducts
extensive business activities within the State. Donziger is the sole proprietor of the Law Offices
of Steven R. Donziger, which is located and does business in New York. Through his activities

in New York, Donziger has served as the ringleader in the enterprise to defraud and extort
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Chevron, working closely with the other RICO Defendants in this action. For Chevron’s claims
for violations of 18 U.S.C. § 1962 and New York state law, exercise of jurisdiction over
Donziger is proper pursuant to 18 U.S.C. § 1965(a) and N.Y. C.P.L.R. 301.

26. Exercise of jurisdiction over the Law Offices of Steven R. Donziger and
Donziger & Associates, PLLC is reasonable and proper in this District because the Law Offices
of Steven R. Donziger and Donziger & Associates, PLLC are citizens of New York, and because
they conduct extensive business activities in the State. Further, by and through the activities of
Donziger described above, the Law Offices of Steven R. Donziger and Donziger & Associates
PLLC have served as key players in the conspiracy against Chevron. For Chevron’s claims for
violations of 18 U.S.C. § 1962 and New York state law, exercise of jurisdiction over the Law
Offices of Steven R. Donziger and Donziger & Associates, PLLC is proper pursuant to 18 U.S.C.
§ 1965(a) and N.Y. C.P.L.R. 301.

27. Defendants Stratus, Beltman, and Maest are all residents of the United States.
For Chevron’s claims for violations of 18 U.S.C. § 1962, the exercise of jurisdiction over each of
these defendants is proper in this District pursuant to 18 U.S.C. § 1965(b). The ends of justice
require application of the nationwide service provisions of 18 U.S.C. § 1965(b) because there is
no district in which all of the RICO Defendants could otherwise be tried together. For Chevron’s
claims under New York state law, exercise of jurisdiction over Defendants Stratus, Beltman, and
Maest is proper pursuant to N.Y. C.P.L.R. 301 and 302. Through their agents and co-
conspirators, Defendants Stratus, Beltman, and Maest have transacted and continue to transact
business in the State of New York, and there is a substantial nexus between Defendants Stratus,
Beltman, and Maest’s purposeful availment of the New York forum and Chevron’s claims.

28. Exercise of jurisdiction over Fajardo is proper pursuant to 18 U.S.C. § 1965(b)
and N.Y. C.P.L.R. 301 and 302. Fajardo has transacted business and engaged in tortious conduct
in the United States and New York which gives rise in part to Chevron’s claims. Among other
things, Fajardo (i) met with his co-conspirators in the United States multiple times to plan the

ghostwriting of the Cabrera Report, including trips to New York to meet with Donziger and to
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Boulder, Colorado; (ii) acted in the United States and New York to conceal the conspiracy and
fraud, including falsely testifying in In re Application of Chevron, Case No. 10 MC 00002
(S.D.N.Y. Aug. 6, 2010) that Cabrera was “independent” while knowing the RICO Defendants’
role in Cabrera’s appointment and reports (see id., Dkt. 31 at Ex. 46); (iii) solicited and obtained
funds for the Lago Agrio Litigation while in the United States and, on information and belief, in
New York; and (iv) caused to be filed in the Southern District of New York an action on behalf
of the Lago Agrio Plaintiffs to stay the international arbitration that Chevron initiated pursuant to
the United States-Ecuador Bilateral Investment Treaty (the “Treaty Arbitration”), Yaiguaje et al.
v. Chevron Corp. and Texaco Petroleum Co., No. 10 CV 316 (LBS) (S.D.N.Y. Jan. 14, 2010)
(“Yaiguaje”). Fajardo has also engaged in intentional, wrongful, illegal, and/or tortious acts the
effects of which Fajardo knew and intended would be felt in the United States and New York.
For example, Fajardo has (i) directed a multitude of phone calls, emails, and other forms of
communication to his co-conspirators in the United States and New York for the purpose of
planning and carrying out their conspiracy and fraud; and (ii) participated in and orchestrated
campaigns in the United States and New York to influence United States federal officials, State
of New York officials, financial analysts, investors, and stockholders for the purpose of extorting
money from Chevron, Also, as set forth more fully herein, Fajardo’s co-conspirators and agents
have engaged in intentional, wrongful, illegal, and/or tortious acts in the United States and New
York. Fajardo was aware of the effects in the United States and New York of those acts, the
activities of Fajardo’s co-conspirators and agents were to the benefit of Fajardo, and his co-
conspirators and agents were working at the direction, under the control, at the request, and/or on
behalf of Fajardo in committing those acts.

29. Exercise of jurisdiction over Yanza is proper pursuant to 18 U.S.C. § 1965(b)
and N.Y. C.P.L.R. 301 and 302. Yanza has transacted business and engaged in tortious conduct
in the United States and New York which give rise in part to Chevron’s claims. Among other
things, Yanza (i) met with his co-conspirators in the United States multiple times to plan the

ghostwriting of the Cabrera Report, including trips to New York to meet with Donziger and to
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Boulder, Colorado; (ii) caused funds to be transferred within the United States and from the
United States to Ecuador in furtherance of the RICO Defendants’ wrongful activities; (iit)
attended Chevron shareholder meetings to attempt to pressure Chevron’s stockholders and board
of directors in furtherance of the conspiracy; (iv) solicited and received funds for the Lago Agrio
Litigation while in the United States and, on information and belief, in New York and from
persons in the United States and New York directly and through agents by other means for the
purpose of carrying out the conspiracy and fraud; (v) attempted to conceal the conspiracy and
fraud by making false and misleading statements in the United States and elsewhere; and (vi)
caused to be filed in the Southern District of New York the Yaiguaje action on behalf of the Lago
Agrio Plaintiffs to stay the Treaty Arbitration initiated by Chevron. Yanza has also engaged in
intentional, wrongful, illegal, and/or tortious acts the effects of which Yanza knew and intended
would be felt in the United States and New York. For example, Yanza has (i) directed
multitudes of phone calls, emails, and other forms of communication to his co-conspirators in the
United States and New York for the purpose of planning and carrying out their conspiracy and
fraud; and (ii) participated in and orchestrated campaigns in the United States and New York to
influence United States federal officials, State of New York officials, financial analysts,
investors, and stockholders for the purpose of extorting money from Chevron. Also, as set forth
more fully herein, Yanza’s co-conspirators and agents have engaged in intentional, wrongful,
illegal, and/or tortious acts in the United States and New York. Yanza was aware of the effects
in the United States and New York of those acts, the activities of Yanza’s co-conspirators and
agents were to the benefit of Yanza, and his co-conspirators and agents were working at the
direction, under the control, at the request, and/or on behalf of Yanza in committing those acts.
30. Exercise of jurisdiction over the Front is proper pursuant to 18 U.S.C. § 1965(b)
and N.Y. C.P.L.R. 301 and 302. The Front has been designated beneficiary and trustee in the
Lago Agrio Litigation and stands to benefit from the fraudulent judgment entered against
Chevron. Yanza is the Front’s co-founder, Fajardo is a leader within the organization, and at all

times relevant herein Yanza and Fajardo were acting as the Front’s co-conspirators, agents

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and/or alter egos in perpetrating the conspiracy and fraud against Chevron. By and through its
co-conspirators, agents and/or alter egos Yanza and Fajardo, the Front has transacted business
and engaged in tortious conduct in the United States and New York which give rise in part to
Chevron’s claims, as set forth more fully above. The Front has also engaged in intentional,
wrongful, illegal, and/or tortious acts the effects of which the Front knew and intended would be
felt in the United States and New York. Among other things, the Front: (i) directed multitudes of
phone calls, emails, and other forms of communication to its co-conspirators in the United States
and New York for the purpose of planning and carrying out their conspiracy and fraud; (ii)
maintains or causes to be maintained a website intentionally directed towards a U.S.-based
audience called www.texacotoxico.org through which the Front has attempted to conceal the
conspiracy and fraud by making false and misleading statements and, on information and belief;
raised funds from the United States and New York for the purpose of carrying out the conspiracy
and fraud; (iii) solicited and received funds from persons in the United States and New York
directly and through agents by other means for the purpose of carrying out the conspiracy and
fraud; (iv) used Amazon Watch as its public relations firm in the United States to publish false
and misleading statements to conceal the conspiracy and fraud; and (v) hired a Washington,
D.C.-based lobbyist to pursue its and its co-conspirators’ interests before the U.S. Congress.
Also, as set forth more fully herein, the Front’s co-conspirators and agents have engaged in
intentional, wrongful, illegal, and/or tortious acts in the United States and New York. The Front
was aware of the effects in the United States and New York of those acts, the activities of the
Front’s co-conspirators and agents were to the benefit of the Front, and its co-conspirators and
agents were working at the direction, under the control, at the request, and/or on behalf of the
Front in committing those acts.

31. Exercise of jurisdiction over Selva Viva is proper pursuant to 18 U.S.C.
§ 1965(b) and N.Y. C.P.L.R. 301 and 302. Donziger is or has been the President of Selva Viva,
Yanza is or was the General Manager of Selva Viva, and at all times relevant herein Donziger,

Yanza and Fajardo were acting as Selva Viva’s co-conspirators, agents and/or alter egos in

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perpetrating the conspiracy and fraud against Chevron. By and through its co-conspirators,
agents and/or alter egos Donziger, Yanza and Fajardo, Selva Viva has transacted business and
engaged in tortious conduct in the United States and New York which give rise in part to
Chevron’s claims, as set forth more fully above. Selva Viva has also directly transacted business
and engaged in tortious conduct in the United States which give rise in part to Chevron’s claims.
The RICO Defendants use or have used Selva Viva as a conduit for funding their wrongful
activities in Ecuador. Selva Viva has solicited and received several payments from Kohn Swift
in the United States in order to fund the Lago Agrio Litigation, and some of those payments were
subsequently channeled to Cabrera from a Selva Viva bank account. Also, as set forth more
fully herein, Selva Viva’s co-conspirators and agents have engaged in intentional, wrongful,
illegal, and/or tortious acts in the United States and New York. Selva Viva was aware of the
effects in the United States and New York of those acts, the activities of Selva Viva’s co-
conspirators and agents were to the benefit of Selva Viva, and its co-conspirators and agents
were working at the direction, under the control, at the request, and/or on behalf of Selva Viva in
committing those acts.

32. Exercise of jurisdiction over the Lago Agrio Plaintiffs is proper pursuant to N.Y.
C.P.L.R. 301 and 302 because the Lago Agrio Plaintiffs have purposefully availed themselves of
the New York forum by purportedly engaging New York attorneys and instituting and otherwise
participating in related litigation in this District. The Lago Agrio Plaintiffs have reportedly hired
Defendant Donziger, a New York attorney, to represent their interests in the Lago Agrio
Litigation. Additionally, they have reportedly hired co-conspirator Emery Celli, a New York law
firm, to represent them in litigation pending in this Court and elsewhere in the United States. On
January 14, 2010, the Lago Agrio Plaintiffs were the named plaintiffs in an action filed in this
Court against Chevron to stay the Treaty Arbitration that Chevron initiated to obtain relief for the
Republic of Ecuador’s violations of its obligations under the United States-Ecuador Bilateral
Investment Treaty, investment agreements, and international law, including Ecuador’s failure to

abide by the negotiated settlement and releases relating to the remediation of the former

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concession area. See Yaiguaje, No. 10 CV 316 (LBS) (S.D.N.Y. Jan. 14, 2010), Transcript of
Hearing, Mar. 10-11, 2010. The Lago Agrio Plaintiffs have also intervened in Chevron’s 28
U.S.C. § 1782 proceedings in this Court (and in other federal district courts) by filing various
motions and briefs as “interested parties.” The Lago Agrio Plaintiffs’ involvement in the 1782
proceedings in this Court caused Judge Kaplan to specifically find that “they [have] subjected
themselves to the personal jurisdiction of this Court.” Jn re Application of Chevron, 10 MC
00001 (LAK) (S.D.N.Y. July 22, 2010), 9/7/2010 Order at 23. There is a substantial nexus
between the Lago Agrio Plaintiffs’ purposeful availment of the New York forum and Chevron’s
claims under New York state law. For such claims, exercise of jurisdiction over the Lago Agrio

Plaintiffs is therefore proper pursuant to N.Y. C.P.L.R. 301-02.

FACTUAL BASIS FOR CLAIMS

A. Background

33, This Amended Complaint details how a group of U.S. plaintiffs’ lawyers,
together with U.S. and Ecuadorian co-conspirators, set about fraudulently exploiting images of
environmental degradation in rural Ecuador to extort money from a U.S. company in a criminal
scheme. Many of the quotations included in this Amended Complaint were captured in video
footage in the making of Crude: The Real Price of Oil, a film commissioned by the RICO
Defendants and their co-conspirators in furtherance of their criminal scheme. Others come

directly from the RICO Defendants’ own emails, letters and other documents.

1. TexPet Participates in Ecuador’s State Oil Consortium and Negotiates
Release From Liability in Return for Specified Remediation

34, In 1964, Ecuador granted oil exploration and production rights (known as a
“concession”) in a designated part of the Oriente region of Ecuador to Texaco Petroleum
Company (“TexPet”) and the Ecuadorian Gulf Oil Company (“Gulf”), which then formed what
came to be known as the consortium. Ecuador’s state-owned oil company, Petroecuador
(formerly known as Corporacién Estatal Petrolera Ecuatoriana or CEPE), became a stakeholder

in the consortium in 1974 and, on December 31, 1976, it became the 62.5% majority stakeholder.
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35, When the consortium began its exploration activities, TexPet and Gulf agreed
that TexPet would serve as the operator on behalf of both companies. As operator, and per the
terms of the 1965 Napo Joint Operating Agreement that governed the internal workings of the
consortium, TexPet was “in direct charge of carrying out the [p]arties’ work obligations and
performing other duties” with their prior consent and approval. Each party was obligated to
provide operating expenses and investment funds according to its ownership interest in the
consortium. TexPet was required to render its services as operator at cost and, in consideration
therefor, was to be indemnified and held harmless by the parties for any claims brought by third
parties arising out of or related to its performance as operator.

36. Once Petroecuador entered the consortium and after it became the majority
owner, TexPet continued to serve as operator. As majority owner, however, Petroecuador
contributed 62.5% of the consortium’s investments and operating costs and approved all annual
work programs and budgets. Petroecuador retained oversight of TexPet’s activities as operator
beyond the annual budgeting cycles by approving projects as they were implemented and
answering monthly “cash calls” with the funds necessary for each month’s operating expenses.

37. TexPet continued in the role of operator until 1990 when Petroecuador assumed
operations. In 1992 when the concession contract expired, Petroecuador took over 100%
ownership of the former consortium fields and facilities. TexPet has not operated any oilfields in
Ecuador since 1990, and has had no ownership interest in any oilfield operations in Ecuador
since 1992, From 1992 to the present, Petroecuador has been the sole owner and operator of the
former concession area.

38, Before its termination, the consortium’s activities generated over US$23 billion.
The Republic of Ecuador retained 97.3% of this amount, however, through an array of income
taxes, royalties, contributions for domestic consumption, and gross profit on Petroecuador’s
share. The money generated by the consortium represented more than 50% of Ecuador’s gross

national product during that period.

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39, TexPet’s total profits over the life of the consortium were a small fraction of
those realized by Ecuador—less than US$500 million.

40. Since Petroecuador took over operational control in 1990, it has drilled 414 new
wells-—almost 30% more than were drilled during TexPet’s 25 years as the operator—and,
according to Ecuadorian public media sources, was responsible for more than 1,400 disclosed
spills from 2000 to 2008 alone. Petroecuador’s environmental record has prompted Ecuador’s
current President, Rafael Correa to comment that Petroecuador “has dreadful environmental
management practices.”

Al. Defendant Fajardo—before he realized that such candor might undercut the
conspiracy’s attempts to extort Chevron—also spoke out against Petroecuador’s environmental

record:

[Petroecuador is] unreliable because what Petro[ecuador] says is one thing and
what it does is the complete opposite. Since Texaco left here, Petro[ecuador] has
inflicted more damage and many more disasters than Texaco itself. But they’d
never, ever say that. So there’s one spill after another; there’s broken pipes,
there’s contamination of wetlands, of rivers, of streams in great magnitude. But
since it’s a state-owned company, since it’s the same people involved in the laws
and all, no one says a thing.

42. When Petroecuador took over as operator of the consortium in 1990, TexPet
consented to Ecuador’s request that it collaborate with Petroecuador to conduct an environmental
audit of the consortium’s oil fields. TexPet insisted, however, that Petroecuador, as majority
owner of the consortium, share responsibility for any necessary remediation that the audit
identified in the same manner as the parties had shared all operating costs. Ecuador
acknowledged that TexPet was responsible for only its 37.5% share of the costs of remediating
the environmental impact of the consortium’s operations, and the parties recognized that TexPet
could not be held responsible for the environmental impact of oil field operations conducted after
its concession rights expired in 1992.

43. In 1994, Ecuador publicly rejected the preliminary findings of the independent,

joint audit and threatened to bring suit against TexPet for injuries to Ecuador’s environment.

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Ecuador further informed TexPet that Petroecuador would not participate with TexPet in
conducting environmental remediation because it lacked the necessary money to fund its share of
the work. Thus, instead of identifying remediation work to be funded jointly, Ecuador insisted
that the parties identify a set of remediation obligations corresponding to TexPet’s share of
responsibility.

44, On or about December 14, 1994, Ecuador, Petroecuador, and TexPet entered
into a Memorandum of Understanding (“MOU”) in which they agreed to define TexPet’s “Scope
of the Work of Environmental Reparation” with respect to the “biotic” and “abiotic”
environment, and also secured from TexPet a commitment to “carry out socio-economic
compensation projects in order to address problems . . . stemming from the oil operations. . . .”
This compensatory effort would accrue to the benefit not of the government in a narrow sense,
but rather of the larger population. In fact, elsewhere, the document expressly underscores that
these projects had to “tak[e] into consideration the inhabitants of the Oriente Region.” In
exchange, the MOU obligated Ecuador to “negotiate the full and complete release of TexPet’s
obligations for environmental impact arising from the operations of the Consortium.”

45. The MOU furthered Ecuador’s own constitutional duties toward its citizens.
Under Article 19(2) of the extant Constitution, the authority to vindicate any environmental
rights on behalf of the Ecuadorian people was held exclusively by the government of Ecuador.
According to the Ecuadorian Ambassador to the United States, “It is the Republic’s obligation to
become involved in matters that directly impact the welfare of Ecuadorian citizens, territory and
natural resources, and the very sovereignty of the Republic of Ecuador. The recent agreement
between the Republic, Petroecuador and Texaco Petroleum Company, which was reviewed and
supported by the Ecuadorian Congress, . . . demonstrates the Republic’s determination to fulfill
this obligation.”

46. Thus, as TexPet was winding down its operations, an Environmental Committee
of the Ecuadorian Congress insisted that any settlement agreement between TexPet and Ecuador

“indemnify or alleviate the negative environmental effects caused . . . to the Ecuadorian

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population living in [the] Amazonian region,” and stressed, to that end, that TexPet had to
provide compensation in the “biotic, abiotic and socio-economic areas,” and, with an
“atmosphere of consensusJ,] . . . tak[e] into consideration the inhabitants and authorities in the
region.” TexPet and the representatives of Ecuador and Petroecuador “t[ook] into consideration”
the comments and suggestions from the Ecuadorian Congress. Local politicians from the Oriente
region also played what they saw as a “leading role as the interested party” in the “negotiations
to reach an understanding between Texaco and the Ecuadorian Government regarding
environmental remediation in the Amazon.”

47, Defendant the Front also openly and actively participated in the negotiation of
this settlement between TexPet and Ecuador. Defendant Yanza, President of the Front, sought
an “audience” with the President of Ecuador “to explain directly the situation” of the people of
the Oriente whom he purported to represent, so that their situation “may be taken into
consideration when signing the agreements with [TexPet].” Yanza later submitted his group’s
“proposal” for defining the scope of work, which he claimed represented “far-reaching and
vigorous work to reach consensus” among the population. Reflecting this cooperation with
groups like the Front, Ecuadorian officials recently repeated, under oath, that the negotiations
leading to these settlements were “open for all those who wanted to attend,” and members of
many environmental organizations, including the Front, did attend. These governmental officials
saw themselves as the “facilitator[s]” of an open dialogue between the communities and TexPet,
and followed orders from the “National Congress to take into account the problems that
Amazonian groups were having.” As a result of this dialogue, the environmental groups were
“behind everything that was being done,” leading to a final instrument that considered and
accounted for the interests of individuals and communities in the concession areas. When the
MOU was opened to public scrutiny, and while the Scope of Work was being defined, the Front
was one of the groups that wrote to the Ministry of Energy and Mines to express their
“apree[ment] that the process of understanding [between Ecuador and TexPet] and the immediate

performance of the environmental remediation work should continue.”

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48. Pursuant to the terms of the MOU, on or about March 23, 1995, Ecuador,
Petroecuador, and TexPet executed a precise “Scope of Work” identifying the particular sites and
projects that would constitute TexPet’s remediation obligations, consistent with TexPet’s former
one-third ownership share of the consortium. The “Scope of Work” required the performance of
not only a vast remediation effort by TexPet, but also a number of socioeconomic projects,
including the payment of $1 million to a redress fund to “be used for the rehabilitation of the
areas affected, establishing, together with the population, viable systems for the use of renewable
natural resources, and. . . to improve the quality of life.” The Ministry of Energy and Mines
received that money, and was entrusted to administer the fund “for the benefit of the Indigenous
Communities of the Amazonian region.” TexPet also financed the establishment of education
and medical centers in the Oriente, together with “logistical support” for those centers such as
ambulances and aircraft.

49, Following the execution of the Scope of Work, on or about May 4, 1995,
Ecuador, Petroecuador, and TexPet executed a settlement agreement (the “1995 Settlement
Agreement”). In consideration for its release from any future responsibility for environmental
impacts, TexPet agreed to perform the defined “Environmental Remedial and Mitigation Work”
and provide “socio-economic compensation” for the affected areas. The 1995 Settlement
Agreement immediately “release[d], acquit{ted] and forever discharge[d]” TexPet from all
claims based on “Environmental Impact” from the consortium’s activities at sites not included in
the Scope of Work and provided that TexPet would be released from any “Environmental
Impact” associated with the sites covered by the Scope of Work upon completion of the
prescribed remediation at each site. In other words, because Petroecuador continued to operate
the oil fields, it assumed any residual or future responsibility, recognizing both its share of the
past, as the former consortium’s majority owner, and its control over the future, as sole owner
and operator going forward.

50. The settlement was purposefully broad. “Environmental Impact” was defined as

“fa|ny solid, liquid or gaseous substance present or released into the environment in such

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concentration or condition, the presence or release of which causes, or has the potential to cause
harm to human health or the environment.” Reflecting this breadth of coverage, the release
“includ[ed] but [was] not limited to consequences of all types of injury that the Government or
Petroecuador may allege concerning persons, properties, business, reputations, and all other
types of injuries that may be measured in money, including but not limited to, trespass, nuisance,
negligence, strict liability, breach of warranty, or any other theory or potential theory of
recovery.” The claims expressly released also included all “causes of action under Article 19-2
of the [1978] Political Constitution of the Republic of Ecuador,” which, as discussed in
paragraph 45, supra, placed the “duty [on] the State” to “oversee the preservation of nature” and
guarantee all Ecuadorians “[t]he right to live in a pollution-free environment.” The 1995
Settlement Agreement was signed by Abril Ojeda, Ecuador’s Minister of Energy and Mines;
Federico Vintimilla Salcedo, Executive President of Petroecuador; Ricardo Reis Veiga, Vice
President of TexPet; and Rodrigo Pérez Pallares, legal representative of TexPet.

51. The 1995 Settlement Agreement also obligated TexPet “to continue
negotiations” with certain municipalities in eastern Ecuador that had also brought suit against the
company. Filing materially identical complaints, the municipalities of Joya De Los Sachas,
Orellana, Shushufindi, and Lago Agrio had each sued TexPet in 1994 in order to protect “the
health of [their] citizens, the rivers of [their] communities.” These municipalities purported to
fulfill their quasi-sovereign duties to assist the Republic in meeting its environmental obligations
to all citizens, and to exercise their own capacity to “carry out legal actions” necessary to protect
the “collective needs of [their] community” of inhabitants, specifically those needs concerning
health and the environment.

52. In consideration for TexPet financing specified “social interest works,” each
municipality suit was settled in 1996, similarly “exempt[ing], releas[ing], exonerat[ing] and
reliev[ing] forever” Texaco and TexPet “from any responsibility, claim, request, demand or
complaint, be it past, current or future, for any and all reasons related to” the consortium’s

operations, “especially concerning damages possibly caused to the environment in said cantonal

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jurisdiction of the Municipality.” The parties also expressly agreed that “pursuant to Article
2386 [current Article 2362] of the Civil Code, this settlement shall have for the parties the effect
of res judicata before the highest court.” Each settlement agreement represented that the
municipal government had consulted “with the entities and organizations representing the
community of its inhabitants” in order to choose an appropriate reparation project. According to
sworn statements of the relevant government officials, each agreement met “the interests of The
Community and of its citizens as to any claims they may have against TEXPET.” All of these
settlements were “approve[d] . . . in full” by Ecuadorian courts because they “d[id] not violate
any legal provision” and “cover[ed] all issues described in the [municipality] complaint[s].”

53. In addition to the national and municipal governments, two Provinces also
settled their potential claims against TexPet in the name of their residents and of the ecosystems
within their respective territories. In 1996, the provincial government of Sucumbios conferred
“with entities and organizations representing the community of its inhabitants” in order to select
an acceptable reparation project and avoid a potential lawsuit with TexPet. It ultimately
demanded, “according to the interests of the community,” that TexPet fund “social interest
works,” viz., “provincial eco-production projects.” A Consortium of Municipal Mayors in the
Napo Province also endorsed a settlement contract that identified their potential disputes with
TexPet relating to “the oil concession,” and, especially, to “the impact or damages possibly
caused to the environment.” Like its counterparts in Sucumbjos and at the national level, it
negotiated and settled with TexPet in order to safeguard environmental and communal
entitlements. These agreements with the municipalities and provinces shall be referred to herein
collectively as the “1996 Municipality Releases.”

54. Pursuant to the terms of the 1995 Settlement Agreement with Ecuador, TexPet
selected Woodward-Clyde, one of the largest environmental engineering firms in the world at the
time, from a list provided by Ecuador of acceptable contractors to perform the remediation.
Woodward-Clyde conducted additional investigations of the well sites listed in the Scope of

Work and developed a Remedial Action Plan, which identified the specific pits at each well site

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requiring remediation under the criteria set out in the 1995 Settlement Agreement and specified
the remedial action to be taken at each site. Ecuador reviewed Woodward-Clyde’s Remedial
Action Plan and conducted its own investigation of the sites to confirm that it was consistent
with the MOU and the 1995 Settlement Agreement. In September 1995, Ecuador, Petroecuador,
TexPet, and Woodward-Clyde each approved and signed off on the Remedial Action Plan.

55. Between October 1995 and September 1998, Woodward-Clyde conducted all of
the remediation required by the 1995 Settlement Agreement and the Remedial Action Plan on
behalf of TexPet and at TexPet’s expense. The remediation work was monitored and supervised
by Petroecuador, the Ministries of Energy and Environment, and outside auditors. Ecuador
issued a series of official records called “Actas” during this time certifying the adequacy of the
remediation work that it had supervised and evaluated on an ongoing basis. In all, TexPet spent
approximately $40 million (unadjusted dollars) on environmental remediation and community
development in Ecuador pursuant to the 1995 Settlement Agreement in exchange for the releases
granted by Ecuador.

56. On September 30, 1998, Ecuador, Petroecuador, and TexPet executed the Acta
Final (the “1998 Final Release”), certifying that TexPet had performed all of its obligations
under the 1995 Settlement Agreement, and thus fully releasing TexPet from any and all
environmental liability arising from the consortium’s activities except for individual personal
injury claims, such as to specific persons or property, which the parties understood as not being
covered by the release. The 1998 Final Release was signed on behalf of Ecuador by Patricio
Ribadeneira, the Minister of Energy and Mines; on behalf of Petroecuador by Ramiro Gordillo,
Executive Chairman, and by Luis Alban Granizo, Manager of Petroproduccion; and on behalf of
TexPet by Rodrigo Pérez Pallares and Ricardo Reis Veiga.

57, The validity of these agreements has been publicly acknowledged by the
Republic of Ecuador, and—recently—by the Lago Agrio Plaintiffs as well. As noted above,
supra paragraphs 45 and 50, at the time the 1995 Settlement Agreement and the 1998 Final

Release were executed, the Republic of Ecuador was the only legal person or entity with

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standing to represent and assert legal claims for environmental damage. Ecuador, and only
Ecuador, could demand environmental remediation; individuals could assert only individual
property damage or personal injury claims. Accordingly, TexPet’s settlement with Ecuador and
the affected municipalities and provinces fully discharged TexPet from any responsibility or
liability that may have existed for environmental impact as a result of the consortium’s activities,

except individual personal injury claims.

2. U.S. Plaintiffs’ Lawyers Devise Baseless Litigation Against Chevron in
Ecuador
58. Certain plaintiffs’ attorneys in the United States sought to exploit any

environmental harm in the Oriente region by turning it into a financial windfall for themselves.
These U.S. plaintiffs’ attorneys (including Defendant Donziger, and co-conspirators Kohn and
Bonifaz), devised a plan to use TexPet’s former participation in the consortium as the basis for
extracting large sums of money from TexPet’s parent, Texaco, Inc. (“Texaco”). As Kohn
described his motivation, “[A]t the end of the day .. ., it [would] be a lucrative case for the
firm.” As Donziger described it, “I sit back and dream. ... Billions of dollars on the table. A
movie, a possible book.” In other words, a financial windfall of unprecedented proportion, and
one that would make Donziger “quite wealthy.” According to Donziger’s estimates, he thought
his “own fee right now would be around 200m[illion].”

59. In 1993 and 1994, these U.S. plaintiffs’ attorneys filed two lawsuits against
Texaco in federal district court in New York, purportedly on behalf of classes of “30,000
residents” of the Oriente and “25,000 residents” of Peru. See Aguinda v. Texaco, Inc., No. 93
Civ. 7527 (S.D.N.Y. Nov. 3, 1993) (“Aguinda’’) and Jota v. Texaco, Inc., No. 94 Civ. 9266
(S.D.N.Y. Dec. 28, 1994) (“Jota’”). Those actions were dismissed on grounds including forum
non conveniens, international comity, and failure to join indispensable parties Petroecuador and
the Republic of Ecuador.

60. Because Ecuador and Petroecuador had released TexPet from liability following

its remediation efforts and because Ecuadorian law does not allow class actions, the U.S,

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plaintiffs’ attorneys required the government’s cooperation to bring a potentially lucrative
lawsuit in Ecuador. The U.S. plaintiffs’ attorneys had no desire to sue Petroecuador or Ecuador
for the harms that had occurred—despite their actual culpability—because, as Defendant
Donziger explained, “[T]he government here will never pay for any judgment. In contrast,
Texaco can pay.” In order to get the “juicy check” that, as Fajardo put it, was the ultimate goal,
the U.S. plaintiffs’ attorneys struck a deal with the Ecuadorian government to enable those
attorneys to bring an action against a convenient U.S. target.

61. The U.S. plaintiffs’ attorneys agreed not to sue Petroecuador and assured the
Republic of Ecuador that it would benefit from any judgment entered against Chevron in
exchange for public and private governmental support for the U.S. plaintiffs’ attorneys’ case.

62. The U.S. plaintiffs’ attorneys presented Ecuador’s Attorney General with written
promises not to pursue legal action against the Republic of Ecuador or Petroecuador or to collect
a judgment against Ecuador if one were awarded to them. Bonifaz stated, “[I]f the U.S. court [in
the Aguinda or Jota actions] finds both Petroecuador and Texaco guilty, we will not accept the
percentage of the claim assigned to [Petroecuador].” And he admitted that the Lago Agrio
Plaintiffs had “committed in legal documents not to sue Ecuador.”

63. With reported legislative assistance from the U.S. plaintiffs’ attorneys, Ecuador
enacted the Environmental Management Act of 1999 (the “EMA”). For the first time, the EMA
enabled private individuals to bring generalized environmental injury claims previously held
exclusively by the state. It also extended standing for the first time to private citizens to enforce
“collective environmental rights” for environmental harm. These actions are private in name
only, however, because the EMA provides that any monetary judgment be awarded to the
“community.”

64. With a new and highly advantageous legal framework thus in place, the U.S.
plaintiffs’ attorneys, joined and assisted by other RICO Defendants and their co-conspirators,
filed the Lago Agrio Litigation, Maria Aguinda et al. v. Chevron-Texaco, in May 2003 in the

Superior Court of Nueva Loja, Ecuador. Asa result of the EMA, and the RICO Defendants’

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attempt to apply it retroactively, the Lago Agrio Litigation is unusual in structure. The
ostensible plaintiffs in the Lago Agrio Litigation are forty-eight named individuals, but it is
unknown whether these individuals consented to have the litigation brought in their names, as
twenty of their signatures were forged in the very document that purported to provide authority
to Ecuadorian counsel to file the complaint.

65. The Lago Agrio Litigation does not seek damages based on personal injuries to
the named Plaintiffs, which, along with claims for individual property damage, is the only type
of claim individuals could bring (see paragraph 57, supra). Rather, relying on the EMA, the
complaint seeks the costs of remediating broadly defined “environmental damages,” the proceeds
of which will not directly benefit the Lago Agrio Plaintiffs. Defendants Donziger, Fajardo and
the other U.S. and Ecuadorian lawyers and investors reportedly expect up to 30% of the
judgment. The Republic of Ecuador reportedly expects 90% of the benefit, although the RICO
Defendants with assistance from Patton Boggs, H5 and other co-conspirators have already laid
out plans to “keep the proceeds out of Ecuador,” by placing the funds in a “trust” outside of the
country, under the exclusive control of a trustee they approve. The RICO Defendants requested
that the Front receive an additional amount equal to 10% of the judgment (a fact that Donziger
thought “best if Chevron did not know” out of concern that it “could harm the image” of the
litigation), and the trial court granted that request in its judgment. The individual Lago Agrio
Plaintiffs, on the other hand, will not receive any portion of the judgment, and thus are at most
only nominal plaintiffs.

66. In effect, the RICO Defendants are planning to control nearly all of the proceeds
from the judgment, shutting out the Lago Agrio Plaintiffs, the Republic of Ecuador, and
Petroecuador and setting themselves up as a source of patronage through billions of dollars in
remediation contracts that will be issued following an adverse judgment against Chevron, in a
country whose entire annual Gross Domestic Product is just over $64 billion. In an email
exchange with Fajardo and Donziger, for example, co-conspirator Julio Prieto noted that

“Petroecuador is NOT the one who must contract the remediation companies .... That’s our

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job.” And when the RICO Defendants heard that the Republic of Ecuador might be considering
negotiating with Chevron directly, they pushed to have those conversations shut down, urging
that no “representative of the Ecuadorian government ... meet face to face with a representative
of Chevron at this juncture[.]”

67. The Lago Agrio complaint does not name the entity that has been responsible for
environmental harm in the Oriente region since at least 1992: Petroecuador. Pursuant to their
agreement not to bring any claims against Petroecuador or the Republic of Ecuador itself, the
Lago Agrio Plaintiffs’ U.S. representatives caused Chevron to be named as the only defendant in
the Lago Agrio Litigation, despite the fact that Chevron has never operated in Ecuador. (Years
after TexPet ceased operations in Ecuador, one of Chevron’s subsidiaries merged with Texaco,

TexPet’s ultimate parent company. Chevron thereby became an indirect shareholder of TexPet.)

B. The Conspirators Are Corrupting the Judicial Process to Extort a Payment
From Chevron

68. The support of the Republic of Ecuador, the manipulation of the EMA, and the
filing of the Lago Agrio Litigation provided the U.S. lawyers with the foundation for their
criminal scheme. Through the conduct of their criminal enterprise, the conspirators set about to
manufacture false evidence and a fake “history” that they would repeat in every media outlet,
before Congress, in front of state and federal investigative and administrative agencies, and with
which they would seek to scare and mislead Chevron shareholders and investors. All of this was
done in furtherance of their scheme to coerce Chevron into making a massive payoff to the
criminal enterprise. As part of this scheme, the conspirators keep “jack[ing] up,” in Donziger’s
words, their demand. In 2003, they thought $6 billion was an aggressive number. In 2008, they
raised the stakes to $16 billion, then to $27 billion, and finally, to an outrageous $113 billion,
before ultimately obtaining an $18.2 billion judgment in Lago Agrio.

69. The RICO Defendants’ criminal scheme has three main lines of attack: One,
intimidate or corrupt the Lago Agrio court and obtain a fraudulent judgment against Chevron

based on manufactured evidence of liability. Two, collude with the Republic of Ecuador to

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procure sham criminal charges against Chevron’s attorneys. Three, conduct a massive public
pressure campaign designed to spread false and misleading information about Chevron and the
Lago Agrio Litigation. These lines of attack are related but nonetheless distinct attempts to
pressure Chevron into paying the RICO Defendants. Donziger has even admitted that the
criminal charges and the pressure campaign were not simply means of supporting the Lago Agrio
Litigation, but “other things in play outside of the legal case.” The ultimate objective, in
Donziger’s words, is to cause “damage to [Chevron’s] reputation,” to put “personal
psychological pressure [on] their top executives” through threats and attacks through the media
and force Chevron into a payoff.

70. Donziger has explained how the conspirators work to increase costs for Chevron

on all fronts until it gives in to their extortionate demands:

The work doesn’t let up just because I’m in the U.S., at all. I mean, it’s still really
intense, you know, so it’s always looking for ways to increase the leverage and
increase the cost to Chevron for not doing anything. So, what’s the cost? The
cost is, right now, it’s the cost of the risk of getting a huge multi-billion dollar
judgment at trial, .. . it’s the cost of all the hassle they have to put up with from
the environmental groups, . . . it’s the cost of their sullied reputation, you know, in
the media.

71. The RICO Defendants and their co-conspirators have shown no signs of
stopping their attack. Indeed, Donziger has threatened to try to enforce the fraudulent judgment
obtained in the Lago Agrio Litigation in the United States and in other foreign jurisdictions,
observing that “Chevron operates in more than 100 countries and has numerous oil tankers that
troll the world’s waterways and dock in any number of ports ....” In a recent speech, Donziger
asserted that the conspirators are assembling a legal team to “seize assets, seize boats,” wherever
Chevron’s subsidiaries operate around the world—even though the Lago Agrio Plaintiffs
previously told this Court that Chevron’s defense against any Lago Agrio judgment should be
restricted to New York’s recognition act. Fajardo has likewise warned that the RICO Defendants
plan to confiscate Chevron’s assets in the United States in order to enforce the judgment. And

Donziger has also stated that the conspirators’ plan is to move on from Chevron and Ecuador and

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reprise their criminal scheme again and again: “take legal fees we can earn from this case and do

more cases like this in different places. With, you know, the same team, if possible.”

1. Pressuring the Lago Agrio Court and Manufacturing Evidence

a. Implementing Pressure Tactics and Colluding With
Ecuadorian Government Officials

72. Central to the RICO Defendants’ and their co-conspirators’ scheme to defraud
and extort Chevron is the fact that Ecuador’s judiciary has developed systemic weakness and
corruption, in addition to other significant flaws and shortcomings. The conspirators are aware
of this fact, and have sought to exploit it. According to Donziger, “[T]he court is now in play, up
for grabs, and accessible.” Donziger has boasted that, unlike in the United States, the “game” is
“dirty” and there are “almost no rules” in Ecuador. Donziger and his co-conspirators have
sought repeatedly to capitalize on the Ecuadorian judiciary’s weakness, threatening violence,
bullying judges, and using political connections to obtain rulings in their favor based on the
judges’ fear of repercussions rather than the facts or law. Indeed, Donziger instructed one of his
co-conspirators to “prepare a detailed plan with the necessary steps to attack the judge through
legal, institutional channels and through any other channel you can think of.” Attacking the
judge was necessary, because, as Donziger put it: “[T]he only way the court will respect us is if
they fear us—and ... the only way they will fear us is if they think we have [s]ome control over
their careers, their jobs, their reputations—that is to say, their ability to earn a livelihood.” This
fear and “constant pressure on the judge and the court” is essential to the RICO Defendants’ and
their co-conspirators’ plan to obtain “a fast decision.” With assistance from the highest levels of
the Ecuadorian government, the RICO Defendants and their co-conspirators ensured that the
Lago Agrio court would rule against Chevron, as it ultimately did.

73. The RICO Defendants and their co-conspirators do not view the enterprise in
which they are engaged as a lawsuit. As Donziger has explained, the litigation “is not a legal
case,” but a “political battle that’s being played out through a legal case.” In other words,

Donziger and his co-conspirators knew that what “we need to do is to get the politics in order...

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[because] the only way we’re going to succeed, in my opinion, is [i}f the country gets excited
about getting this kind of money out of Texaco .... So you have to play to those . . . themes,
[with] those feelings these people have.” Consistent with this strategy, Donziger and the other
RICO Defendants know that their “success” will have nothing to do with pursuing the Lago
Agrio Litigation on the merits, but rather will depend on using that “litigation” as a vehicle or
pretense with which to attack Chevron in the media and before U.S. governmental bodies and
shareholders and force it into paying them off. In Donziger’s own words, the conspirators have
conducted the Lago Agrio Litigation as a “flat-out street brawl, extreme fighting through
litigation” in which he and his co-conspirators are seemingly “only a short step away from
smashing the faces of our counterparts with a closed fist, or taking out guns[.]”

74, Donziger has acknowledged the RICO Defendants’ and their co-conspirators’
use of “pressure tactics” to influence and intimidate the Ecuadorian judiciary. Donziger admitted
that such tactics are “something you would never do in the United States. ... But Ecuador, you
know ... this is how the game is played, it’s dirty.” Donziger further declared that “there’s
almost no rules here” and that “the only language that I believe, this judge is gonna understand is
one of pressure, intimidation and humiliation. And that’s what we’re doin’ today. We’re gonna
let him know what time it is.... We’re going to scare the judge, I think today.” These fear
tactics are effective, according to Donziger, because Ecuadorian judges “‘are really not very
bright” and “make decisions based on who they fear the most, not based on what the laws should
dictate.” In fact, when an associate suggested to Donziger that no judge would rule against them
because “[h]Je’ll be killed,” Donziger replied that, although the judge might not actually be killed
if he ruled against them, “he thinks he will be.... Which is just as good.” Asa colleague told
Donziger, “The only way we will win this case is if the judge thinks he will be doused with
gasoline and burned if he rules against us.” Donziger stated that this comment did not shock
him. Donziger further asserted: “[The judges] don’t have to be intelligent enough to understand
the law, just as long as they understand the politics.” And according to Donziger, “no judge can

rule against us and feel like he can get away with it in terms of his career.” These threats are

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made all the more real given the prevalence of violence in the Oriente region of Ecuador.
Indeed, Fajardo has acknowledged that paid assassins in the Oriente will kill someone for as little
as $60, and the region is known to harbor elements of the terrorist group FARC.

75. As part of their strategy to intimidate and coerce the Lago Agrio court, the RICO
Defendants and their co-conspirators plotted to raise what they called their own “private army,” a
“specialized group” detailed “to watch over the court,” for which, “if we need weapons, we can
provide weapons.” According to Fajardo, it was “necessary” for the RICO Defendants and their
co-conspirators to “organize pressure demonstrations at the court” that will be a “little bit
aggressive” in order to “teach the court a lesson.” During one meeting in which the “private
army” was discussed, Defendants Donziger and Yanza along with Amazon Watch founder
Soltani and Kevin Koenig, Amazon Watch’s Northern Amazon Program Coordinator, discussed
their plans to organize and finance attempts “to control the court, to pressure the court.”
Donziger elaborated that the conspirators “want to send a message to the court that, ‘don’t f[**]k
with us anymore—not now, and not—not later, and never.’” He observed that, “no one fears us
right now. And, until they fear us, we’re not gonna win this case. I’m convinced.” Accordingly,
the conspirators planned to “take over the court with a massive protest,” with the goal of
“shut[ting]} the court down for a day.” According to Donziger, “[O]nly after that should we talk
to the judge about what he needs to do. The judge needs to fear us for this to move how it needs
to move, and right now there is no fear, no price to pay for not making these key decisions.”
Realizing the ramifications of this plan, Soltani asked if the videotapes of the discussion could be
subpoenaed, advising: “I just want you to know that it’s—it’s illegal to conspire to break the
law.”

76. Ignoring these qualms, the RICO Defendants and their co-conspirators put their
plan into effect, organizing their “army” in demonstrations at inspection sites and at the
courthouse itself, intending to confront and instill fear into the court. Donziger described one
action to Joe Berlinger, the director of the film Crude: “[O]ur private ‘army’... has been very

effective. Yesterday they followed a Texaco lawyer into the judge’s chambers and had a

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confrontation. This is a critical part of our strategy that is allowing the case to go forward.”
Over the ensuing months, the conspirators’ private army would make numerous appearances at
judicial inspections of environmental sites, at the courthouse, and in the streets of Lago Agrio,
always seeking to remind the judiciary that this was not litigation, but a “flat-out street brawl.”
At one such protest at a judicial inspection of the Sacha Sur Station, the RICO Defendants and
their co-conspirators amassed their “army” of protesters who the judge would not permit to enter
the Station due to the risk that such a large mob would pose to the Station’s operation. When
Donziger saw that what he described as his “army” would not be able to enter, he demanded that
the “f[**]kin’ judge” come to the gate to deal with the mob himself and warned that “they’re
provoking a violent incident.” Although the RICO Defendants’ and their co-conspirators’
“army” was rebuffed at this inspection, the RICO Defendants and their co-conspirators achieved
their purpose of letting the judiciary know that it was being watched by a potentially violent
group. In another incident, the conspirators organized a protest at the judge’s office after a
canceled judicial inspection. The intimidation was successful, causing the judge to “sweat” and
“promis[e] to make a decision” on a new date by the following day.

77. The RICO Defendants also employed extortion to get what they wanted. For
example, the RICO Defendants “wrote up a complaint against [Judge] Yanez, but never filed it,
while letting him know [they] might file it if he does not adhere to the law and what [they]
need.” And ona task list he prepared in February 2006, Donziger wrote: “accuse [Judge] of
being involved in corruption with Chevron; ask for recusal.”

78. The RICO Defendants’ and their co-conspirators’ plan to instill fear in the
judiciary was only one approach to illegally obtaining a favorable ruling. Another approach
involved numerous attempts to personally influence, intimidate or negotiate with the judge in the
Lago Agrio Litigation, often through ex parte meetings. Donziger described such actions as
“lobbying.” Donziger, for example, has held numerous meetings with presiding judges, often
over lunch at the judges’ homes, during which he has “t[aken] advantage of the situation to

explain [the RICO Defendants’] theory of the case.” During one such meeting, Donziger pressed

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upon the judge the false assertion that ““Texaco’s sampling is full of s[**]t.”. Donziger has also
asked his co-conspirators to meet with the judge in secret and press their case. And indeed,
Fajardo and the Front—the organization that stands to receive a windfall from the judgment—
have met directly with the judge, pressing the conspirators’ interests and obtaining promises of
cooperation from the judge.

79, The RICO Defendants did all this because they believed that it worked. On one
occasion, one of Donziger’s co-conspirators suggested that in order to get the court to rule in
their favor on an important legal point, “Maybe Pablo [Fajardo] can have one of his backroom
conversations.” In August 2006, co-conspirator Joseph Mutti updated Donziger that, “Luis
[Yanza] reported that the judge appears to be backing down from his position regarding the
cancellation of the inspections and that pressure must be brought to bear on him. Thus, it was
resolved that two members of the coalition will be traveling to Lago next week to meet with the
judge. Esperanza already met with him twice this week—once with an accompanying
declaration—so he’s already feeling the pressure.” The RICO Defendants are not the only
observers to note the impact that these tactics have had. The Economist, for example, observed:
“The judge in Lago Agrio, Juan Nufiez, . .. has made no secret of his sympathy for the
plaintiffs.”

80. Not content merely to apply pressure themselves, and as part of their previous
arrangement with the Ecuadorian government (see paragraphs 60-63, supra), the RICO
Defendants and their co-conspirators have also enlisted Ecuadorian officials to pressure and
intimidate the judiciary to rule against Chevron. As Donziger has explained the strategy, “We
can have the best proof in the world, and if we don’t have a political plan we will surely /ose.

On the other hand, we can [have] mediocre proof and a good political plan and stand a good
chance of winning.” Donziger understood that to get what the co-conspirators wanted, he had to
do “political work at the highest level to make things happen, like get the government, for
example, to take a position in a case that affects your clients.” This was facilitated by the fact

that, according to Donziger, the conspirators had “close ties” to “high-ranking Ecuadorian

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government officials” in addition to the Front’s “wide influence in Ecuador” and “ab[ility] to
command meetings with government ministers and even the President.”

81, The collaboration between the RICO Defendants and Republic of Ecuador is so
close that one U.S. District Court has concluded that it was “an established fact” that the
Republic of Ecuador was supporting the Lago Agrio Plaintiffs. The Republic of Ecuador
recently asserted in court filings that it has had a formal “common interest agreement” with
representatives of the Lago Agrio Plaintiffs since 2006. In pursuit of that alleged common
interest, the RICO Defendants and the Republic of Ecuador have coordinated their legal and
public relations strategies, both directly and through Ecuador’s U.S. legal counsel. As part of
this cooperation, the RICO Defendants have received assistance from the highest levels of
government in Ecuador, from “allies [who were] firmly entrenched at the top.” For example,
Donziger himself ghostwrote a letter from Ecuador’s ambassador to the United States, Dr. Luis
Gallegos, to The Wall Street Journal.

82. The RICO Defendants have also worked with Winston & Strawn LLP (“Winston
& Strawn”), the U.S. law firm hired by Ecuador to represent it against Chevron in proceedings in
the United States. The RICO Defendants have provided information and other assistance to
Winston & Strawn, including having Stratus provide scientific analysis and Donziger help with
the drafting of legal documents. Donziger, aware that this level of cooperation crossed the line,
was concerned it might lead Chevron to believe the RICO Defendants and the Ecuadorian
government were “in bed” together. Thus, upon realizing he had been photographed alongside a
Winston & Strawn attorney for a newspaper article, Donziger vowed to deny that the man in the
photograph was him. However, Donziger recognizes that the RICO Defendants and the
Republic of Ecuador have been “really helping each other.”

83. The RICO Defendants have also turned to the government to shut down
Petroecuador’s remediation, because of the negative impact it would have on their scheme. For
example, in 2009, in an email to Donziger and other conspirators with the subject line

“WORRISOME,” Fajardo warned them that a newspaper was reporting that the government was

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assuming responsibility for remediation, and, worse, that it believed it would cost an “extremely
low” $96 million. Fearful that Chevron would “say that the State finally assumed its duty and is
going to clean up what it ought to,” Fajardo called on his co-conspirators to act. Donziger
responded in an email to Juan Saenz, “You have to go to Correa to put an end to this s[**]t once
and for all.”

84. Other members of the Ecuadorian government have also signaled to the Lago
Agrio court the government’s demand that Chevron be found liable. As the Ecuadorian Attorney
General Diego Garcia Carrion told a reporter in August 2008, the Correa administration’s
position in this case is clear: “The pollution is [the] result of Chevron’s actions and not of
Petroecuador.” Again, in May 2010, Attorney General Garcia “dismissed any responsibility on
the part of the Ecuadorian State for the environmental damage caused in the Amazon region by
the U.S.-based oil company Chevron-Texaco.” And in September 2009, Ombudsman Fernando
Gutiérrez announced: (i) the Lago Agrio Litigation “has absolute priority and the judgment must
be rendered as soon as possible”; (ii) the case concerns “an assault on the entire country”; and
(iii) in a direct signal to the Lago Agrio court, Chevron, rather than the State, bears full
responsibility for any harm.

85. This support was not arrived at independently, but through collusion between the
RICO Defendants and the Republic of Ecuador. Ana Alban, then Ecuador’s Minister of the
Environment, communicated with Donziger directly, assuring him that the government was
“giving the support that we can do” to the Lago Agrio Plaintiffs, reminding him that “we brought
the President to the zone,” and assuring him that she had a “very close” “friend of the Frente de
Amazonia working with me doing all this.”

86. The fact that President Correa and other members of the government have sided
with the Defendants and against Chevron sends a clear message to the Ecuadorian judiciary that
it must find Chevron liable. And it sends a message to Chevron that it must pay money to the
conspirators in the form of a “settlement” or face the fraudulent, politically influenced judgment

that the RICO Defendants intend to try to enforce in U.S. courts or elsewhere.

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b. Taking Advantage of a Weakened and Increasingly Corrupt
Ecuadorian Judiciary

87. The RICO Defendants have been able to influence the proceedings because the
independence and integrity of the Ecuadorian judiciary has eroded to where it is now greatly
susceptible to these tactics, and to pressure from outside and through the executive branch.
Indeed, the Ecuadorian presidency now wields de facto control and near-autocratic power over
all Ecuadorian institutions.

88. Various sources confirm the political branches’ domination over Ecuador’s
judiciary in recent years and the judiciary’s system-wide corruption. For example, the World
Bank’s Worldwide Governance Indicators for 2009, compiled from 21 independent sources,
ranked Ecuador below the 10th percentile of all countries surveyed with respect to the “rule of
law”-—down from the 31st percentile in 2003. Ecuador’s negative score is -1.28, which places it
below North Korea (-1.25).

89. The U.S. Department of State’s annual Human Rights Report published in
March 2010 also noted that “there continued to be serious problems” in Ecuador with respect to
“corruption and denial of due process within the judicial system” and that the judiciary was
“susceptible to outside pressure and corruption.” Similarly, as recently as July 15, 2010, the UN
Special Rapporteur on extrajudicial executions described Ecuador’s judicial system as “almost
universally condemned for its inefficiency and mismanagement.”

90. Among the means by which President Correa has established his control over the
judiciary is a policy whereby he has caused the issuance of a memorandum instructing all of his
ministers that should any Ecuadorian court enjoin their ministry, and if the ministry is able to
overturn the injunction on appeal, the ministry is to immediately sue the judge who entered the
injunction personally for damages.

91. There are numerous examples of this corruption and undue influence on display
in the Lago Agrio Litigation. While he was presiding over the trial, Judge Nufiez publicly stated

that the Lago Agrio Litigation had “taken too long” immediately after a two-hour luncheon with

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President Correa, at which the President complained about delays and demanded “expedited
treatment of cases that are of interest to Ecuador.” Judge Nufiez was ultimately forced to excuse
himself from the case, not because of his apparent bias, but because of a bribery solicitation
scandal where he was caught on video expressing his prejudgment against Chevron.

92. Just after this bribery solicitation story broke and the videos become public, on
September 2, 2009, co-conspirator Juan Pablo Saenz wrote to Donziger and assured him that the
Front’s “sources at the government tell us they’re actively looking for [Ecuadorians involved in
the scandal], to cut their heads off. We should focu[s] on [the Americans involved], since
they’re the Chevron stooges. Correa and his cronies will take care of the rest.”

93. On the following day, September 3, 2009, Judge Nufiez filed a motion to excuse
himself from the Lago Agrio Litigation. The next day, Prosecutor General Pesdntez publicly
declared that he had asked Judge Nufiez to excuse himself “to prevent any delay of the trial.”
Pesantez then added that Chevron had “probably caused serious environmental damages for
decades and also caused illnesses” and confirmed that the government of Ecuador expected to
receive 90% of the prospective judgment against Chevron.

94. Although Chevron filed a petition to annul all of Judge Nujfiez’s biased and
politically influenced rulings in the Lago Agrio Litigation, that petition was denied by Judge
Nijfiez’s replacement. Thus, Judge Nufiez’s improper and bad-faith judicial decisions continued
to taint the Lago Agrio Litigation and undermine Chevron’s rights, just as the RICO Defendants
hoped they would. After all, the conspirators’ underlying strategy has been that the more
Chevron fears an unfair ruling in the sham Lago Agrio Litigation, the better target for an extorted
payment it becomes.

95, Against this backdrop of collusion and corruption, the RICO Defendants have
obtained a judgment in their favor and against Chevron by playing the “game” “dirty” and
currying favor from the Ecuadorian government. And this is all part of the conspirators’ scheme
to convince Chevron to pay up—or else. Chevron has initiated international arbitration under the

Bilateral Investment Treaty, seeking relief from the Republic of Ecuador’s violations of

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international law and treaty obligations in connection with its failure to honor its contractual
agreements, The Lago Agrio Plaintiffs and other parties named in this Amended Complaint are
not and cannot be parties to the Treaty Arbitration, and Ecuador has asserted sovereign immunity

against claims filed in courts of the United States.

c. Manipulating and Falsifying Their Own Experts’ Findings
to Corrupt the Judicial Inspection Process

96. At the outset of the litigation, the Lago Agrio court ordered a process known as a
judicial inspection to assess the 122 former consortium oil production sites. In a process agreed
to by both parties and the court, experts were nominated by each side and appointed by the court
to investigate and report on conditions at the sites. The court nominated a third set of “settling
experts” to resolve any differences between the experts nominated by the parties.

97. The RICO Defendants and their co-conspirators believed they could use and
corrupt the judicial inspection process to their advantage. To this end, they designed a strategy
to “choreograp[h]” the judicial inspections and to “create conflict, invit{ing] the press” to “entrap
[Chevron] in the conflict.” As Donziger put it, “The goal of the inspections [was] to win the
legal case, not to produce an independent scientific report.” From his perspective, the judicial
inspection process was “all about politics and arguing and bulls[**]t and show.” Part of that
show was to organize a number of demonstrations at the judicial inspection sites—some
threatened to become violent (see paragraph 76, supra)—to showcase the strength and will of the
RICO Defendants’ and their co-conspirators’ “army” and to send a message to the judiciary that
it was being watched.

98. The RICO Defendants and their co-conspirators have also sought and obtained a
court order prohibiting Petroecuador from conducting any remediation of the former consortium
area. Fajardo spelled out to his colleagues, “{Petroecuador is] altering the evidence and it is
possible that when our technicians go to the PG to take samples that they will find most of the
waste has been removed. This could complicate things for us a bit.” Fajardo explained that it

was “urgent” that the RICO Defendants “coordinate” with Petroecuador “so they will desist

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[remediating] until we’ve had a chance to extract the evidence we need.” In response, Donziger
cautioned Fajardo to “[bje careful with written letters—informal and oral meetings are better|. |
[W]e don’t want Texaco to use some letter to say we are obstructing remediation.” In another
email to Donziger and other conspirators, Fajardo expressed concern that the government was
assuming responsibility for remediation, and that it would cost an “extremely low” $96 million.
The RICO Defendants then turned to the government for assistance in shutting down the
remediation.

99, Ultimately, the judicial inspection process was short-lived. The first and only
time settling experts issued a report for one of the judicial inspection sites was in February 2006,
at which point they agreed with Chevron’s expert’s findings and concluded that TexPet’s
remediation met the standards agreed to with Ecuador. They further agreed that there was no
evidence of contamination posing a risk to either human health or the environment.

100. When it became apparent to the conspirators that the judicial inspection process
was not going to provide them with the record they needed to extort a payment from Chevron,
they abandoned that process and set about developing their own false history and factual record,
entirely under their control. Using a series of paid experts whom they pressured, misled or
recruited to their scheme, the conspirators created an increasingly extreme and distorted record,
and'then manipulated the Lago Agrio court into accepting that false history as the product of
independent analysis.

(i) Inducing an Expert to Report Biased and False Results

101. Tocreate their first false data point, the RICO Defendants pressured their U.S.
expert David Russell to develop an exaggerated damages estimate and continued to “use it to put
out a figure that will scare Chevron and investors,” long after Russell sent Donziger a cease-and-
desist letter demanding that he stop using the estimate.

102. In 2003, Russell, who was retained by the RICO Defendants to oversee the
judicial inspection process for the Lago Agrio Plaintiffs and prepare a damages analysis, initially

estimated the cost of remediation to be approximately $6 billion. In Russell’s own words, that

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estimate was prepared in “a very short time, with only a week of review time in the jungle, and
heavily influenced by [Donziger] in the writing.” At Donziger’s insistence, and as evidence of
his heavy influence on Russell’s initial calculation, Russell used the most expensive remedial
option available, because Donziger wanted a “large” damages estimate. Even so, Russell made
clear to Donziger and others that the quantitative data “ha[d] not [been] reliably established” and
that he and his team were “still at the guessing stage.”

103. As Russell continued his work, he realized that the evidence on the ground did
not support his damages estimate. By December 2004, he told Donziger “that Texaco may be
right when they indicate that the remediation is performing as designed, and degrading the
petroleum.” Two months later he provided an update to Donziger in which he explained, “From
the data I have seen so far, we are not finding any of the highly carcinogenic compounds one
would hope to see when investigating the oil pits.”

104. After Russell prepared his estimate, he learned that the remediation work he
considered appropriate could be completed at a substantially lower cost and wrote Donziger in
February 2006 to demand that he stop using the unsupported and exaggerated $6 billion estimate.
In his letter, Russell informed Donziger that the information he had since learned “would cause

me to state that the 2003 cost estimate is too high by a substantial margin, perhaps by a factor of

 

ten, or more.” (Emphasis in original.) And indeed, a year later, another of the co-conspirators,
Charles Champ, estimated that a remediation and related social and development projects could
be done for $1 billion, an estimate that itself is wildly exaggerated and calculated using fictional
cost assumptions. Nonetheless, the RICO Defendants have never publicly disclosed this
exaggerated figure because it is too low for their illicit purposes.

105. In that same cease-and-desist letter, Russell objected to Donziger’s and Amazon
Watch’s use of the $6 billion estimate in their request to the U.S. Securities and Exchange
Commission (“SEC”) for the SEC to “investigate Chevron under Sarbanes-Oxley” for allegedly

“underreporting their liabilities.” Russell made clear that the “estimate is no longer valid and if

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subpoenaed to testify, I will state that the costs are much lower based upon the knowledge
available to me at the time I was released from the project.”

106. Russell also emphasized in the letter that he wanted nothing more to do with
Donziger and the RICO Defendants’ and their co-conspirators’ pursuit of the litigation against

Chevron:

I do not want to get into the courts in the US, and do not want to be involved in
your case against Texaco/Chevron!

I have not prepared any other cost estimate, nor do I intend to do so. It is no
longer any of my concern, except to see that the name of my company and my
reputation are not abused by continued association with the Aguinda vs. Texaco
lawsuit. If subpoenaed, I will tell the truth about what I know about the existing
costs, how the cost estimate was prepared, and what the differences in unit costs
might be to cleanup contamination in Ecuador.

I am trying to stay out of your way and out of your case, but by using and abusing
the outdated cost estimate to flail Chevron, you keep dragging me back in to [sic]
it! The Ecuador project has been a sorry chapter in my life and I do not want to
get re-involved with you or it on any basis.

Several recent press releases using the 2003 cost estimate plus the most recent
demand by Amazon Watch abuses me and my company.

Get a new cost estimate generated in Ecuador. You will have to do that under the
terms of the Global Inspection as required by the Court in Ecuador. That 2003
cost estimate is a ticking time bomb which will come back to bite you, and very
badly if anyone attempts due diligence on it.

(Emphasis in original.)

107. Donziger did not mince words in response: “I don’t care what the f]**]k that
guy says.” In a conversation with co-conspirator Soltani of Amazon Watch, Donziger
acknowledged that the “[p]rice tag” for remediation “would only be a guess” and that Russell’s
$6 billion “very rough estimate” significantly overstated the true costs of remediation: “[The]
six billion dollar thing is out there. The reality is, based on what this guy is telling me, [it] would
cost less than that. Significantly less than that... .” And in an email to his co-conspirators,
Donziger recognized that the “fact [Russell] sent this letter has a certain amt of danger for us.”

Nonetheless, in a subsequent conversation with Defendants Fajardo and Yanza and others,

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Donziger discussed requesting a higher amount than $6 billion so a judgment of a lower amount
could be portrayed as favorable to Chevron: “But as a concept, I ask, do we ask for much more
than we really want as a strategy? Do we ask for eight and expect three, so that [the judge] says,
‘Look, Texaco, I cut down the largest part.’”

108. And despite Russell telling Donziger that his estimate was inaccurate and that he
did “not want to be involved in” the Lago Agrio Litigation and despite Donziger’s assurance to
Russell that he would stop using Russell’s work, the RICO Defendants and their co-conspirators
continued to use the exaggerated and disavowed $6 billion estimate. As Donziger explained it,
“{G]iven that [the RICO Defendants] ha[d] worked with Russell’s number all of these years,” not
continuing to use the $6 billion number “would make [them] look like fools.” For example,
Amazon Watch, exhibiting the same disregard of the facts as Donziger, continued to tout the $6
billion figure well after Russell sent Donziger his cease-and-desist letter. Amazon Watch’s press
releases asserted that Russell’s company, Global Environmental Operations, endorsed the $6
billion damages estimate even though Russell implored Donziger to stop “abusing” the “name of
[Russell’s] company” by associating it with the Lago Agrio Litigation. For example, a March
20, 2007 press release entitled “Ecuador Court Speeds Up Chevron’s $6 Billion Amazon Trial
Over Rainforest Contamination” issued by Amazon Watch states: “The only independent
damage assessment, by the U.S. firm Global Environmental Operations, puts clean-up costs at
$6.14 billion, exclusive of personal damages to thousands of residents of the area.” In issuing
this press release, the conspirators lied about having an expert estimate of $6 billion when they
knew that Russell repudiated the $6 billion figure as “no longer valid” and “a ticking time bomb”
well over a year earlier. Donziger has subsequently admitted that he had no other basis for the
$6 billion figure when that press release was issued.

(ii) Filing Falsified Expert Reports
109. — Not only did the RICO Defendants and their co-conspirators pressure Russell to

come up with a large, unsupported damages assessment, but they also submitted falsified expert

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reports under the name of another of their U.S. experts, Dr. Charles Calmbacher, that
contradicted his conclusions that he had found no evidence of harm.

110. In 2004, the conspirators selected Dr. Calmbacher to be the expert in charge of
their inspection and to act as the Lago Agrio Plaintiffs’ testifying expert for four of the sites that
were being inspected.

111. Shortly after Dr. Calmbacher began his work in the field, Donziger informed
him and the other members of the technical team that “[t]he goal is to win the legal case, not to
produce an independent scientific report.” Much to the RICO Defendants’ dismay,

Dr. Calmbacher did not abide by this admonition when he informed the RICO Defendants and
their co-conspirators that, in his professional opinion, the sites he inspected did not require
further remediation and did not pose a risk to human health or the environment. This, of course,
was not what the RICO Defendants and their co-conspirators wanted to hear. Indeed, Donziger
had instructed Dr. Calmbacher to find contamination during his site inspections.

112. Dr. Calmbacher was uneasy with Donziger’s instructions and the level of control
the RICO Defendants tried to exert over his work. He was concerned regarding the methods and
scope of analysis that the RICO Defendants and their co-conspirators planned to perform on the
samples they collected. In his opinion, the analysis was insufficient to test all the aspects of the
oil that he felt should be tested. When Dr. Calmbacher informed Donziger of his concerns,
however, Donziger brushed them aside and decided to proceed with the limited and inadequate
analysis he already had planned.

113. When it became clear that Dr. Calmbacher’s conclusions were unsatisfactory to
the RICO Defendants and their co-conspirators, they submitted to the Lago Agrio Court judicial
inspection samples bearing the name “Selva Viva Laboratory” on the chain of custody forms.
But there is no Selva Viva Laboratory; rather, the “analysis” was performed—if it was
performed at all—in the RICO Defendants’ and their co-conspirators’ team hotel room, and they
borrowed the name “Selva Viva”—the same name as the RICO Defendant who was “created”

“simply as a pass thru mechanism to administer funds for the litigation” in Ecuador—to lend

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false authenticity to their sham inspection. The conspirators knew such activity was not without
risk, and they worried that Dr. Calmbacher would “inform the court that the Selva Viva project is
a fraud.”

114. Ultimately, the RICO Defendants and their co-conspirators decided that they did
not need Dr. Calmbacher to agree with their position, and that if the facts did not support their
case, they would manufacture new ones. Thus, after Dr. Calmbacher communicated his negative
findings to the RICO Defendants and their co-conspirators, he was “terminated without warning
or explanation” and Donziger ordered him to return to the United States. At the time, Donziger
believed that “[Dr. Calmbacher] will still sign the perito [expert] reports, but we might have to
write them in Quito.”

115. Dr. Calmbacher, however, was adamant that he would still be the one to “write
the Perito reports,” despite his differences with Donziger, because he needed “to comply with
[his] obligation to the court and to maintain [his] professional integrity with the Ecuadorian
court.” In an email to Donziger, Dr. Calmbacher made clear that the RICO Defendants were not

to alter any of the conclusions in his report:

It also has been stressed to me that it is highly unusual for a perito [expert] to
allow others to contribute to the writing of a report. Comments or review is
acceptable, but the perito’s opinion and findings are final. I therefore have and
feel no obligation to allow your team of textile engineers and associated cron[iJes
to review or edit my reports. I am assured, as perito of the court, that I am
completely within my rights to write and submit my report independent of those
who have nominated me for appointment as perito. My sole obligation is to tell
the truth, as I see it, to the court, no matter the consequences for either party.

116. After Dr. Calmbacher’s rebuke, Donziger threatened to withhold payment from
him in order to pressure Dr. Calmbacher to draft the reports in a manner that would back up the
Lago Agrio Plaintiffs’ assertions. Donziger described this strategy to Wray, Kohn and Bonifaz,
but also noted that, if the problem was not resolved, “we are developing a Plan B that will be
explained in person.”

117. Plan B put into play Donziger’s view that “[s]cience has to serve the law

practice; the law practice doesn’t serve science.” The RICO Defendants and their co-

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conspirators cast aside Dr. Calmbacher’s actual conclusions and set about manufacturing
reports to be filed under Dr. Calmbacher’s name, a fact that Chevron only learned for the first
time at Dr. Calmbacher’s March 2010 deposition that Chevron subpoenaed pursuant to 28
USS.C. § 1782.

118. The difficulty for the RICO Defendants was how to obtain Dr. Calmbacher’s
signature on the false conclusions they wanted to submit as “expert” findings. Their solution
was to send Dr. Calmbacher initial drafts of the report, which correctly characterized his
conclusions, for his review. Because the drafts appeared to accurately reflect his opinions,

Dr. Calmbacher authorized the reports to be filed.

119. Next, the conspirators prevailed upon Dr. Calmbacher to provide signature
pages, along with several blank pages bearing his initials, which he did, based on the lie that
these extra pages would be used to file the reports he had already authorized to be filed. At the
conspirators’ request, Dr. Calmbacher sent by overnight delivery service one set of these signed
and initialed pages to Ecuador and the second set directly to Donziger in New York.

120. The reports that the RICO Defendants and their co-conspirators filed under
Dr. Calmbacher’s name, however, are not the same as the reports that he authorized to be filed.
Instead, as part of their Plan B, the RICO Defendants and their co-conspirators prepared
different, fraudulent reports that misstated the evidence and concluded that the inspected sites
presented a danger to the environment and required additional remediation. The conspirators
printed their fraudulent reports on the pages that Dr. Calmbacher had initialed, used the signature
pages that he had provided, and filed the forged reports with the court in Lago Agrio.

121. Although Chevron has since informed the Lago Agrio court about the falsified
Calmbacher reports, to date the court has refused to remove his reports from the record or take

any corrective measures.

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d. Arranging Cabrera’s Appointment as Global Assessment
Expert and Secretly Writing His Supposedly “Independent”
Report
122. | When Dr. Calmbacher refused to cooperate in the scheme to defraud and extort

Chevron and when the Lago Agrio court’s settling experts began to confirm the RICO
Defendants’ and their co-conspirators’ lack of evidence, the conspirators changed tactics.
Realizing that neutral settling experts would not accept their fraudulent claims, the RICO
Defendants and their co-conspirators requested that the Lago Agrio court abandon the judicial
inspection process that had been agreed to by the parties. In its place, the conspirators arranged
for the Lago Agrio court to create a new “global assessment” process and secured the
appointment of a co-conspirator to the position of the purportedly neutral “global assessment
expert” with whom they would work in secret to ghostwrite his report. Until Chevron uncovered
the RICO Defendants’ and their co-conspirators’ underlying fraudulent behavior, their plan
seemed to be working.

123. To the Lago Agrio court, the conspirators proposed that a single expert be
appointed, and that he and his team conduct a global assessment of the former concession area.

124. To execute their scheme, the RICO Defendants assembled a team handpicked by
the conspirators of U.S. scientists, Ecuadorians, engineers, and other experts, who would do the
actual work charged to Cabrera. And after the report was filed, some of these individuals were
disclosed as members of Cabrera’s fictional team.

125. In December 2006, more than two months before Cabrera was appointed by the
court, Donziger discussed the RICO Defendants’ and their co-conspirators’ plan to ghostwrite
the “independent” report with co-conspirator Soltani: “The judge is going to appoint a guy in
Ecuador, um, to be the expert, but really, you know, we’ II be supporting him with the work—our
people, E-Tech, whoever we choose to use.” As Donziger saw it, the expert would “ha[ve] to
totally play ball with us and let us take the lead while projecting the image that he is working for
the court.” Indeed, the driving question for the plaintiffs during this period, was, as Donziger

mused, “how can we control this perito?”

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(i) Weeks Before the Court Appointed Cabrera, the RICO
Defendants Meet With Him to Plan His “Independent”
Expert Report

126. | The RICO Defendants and their co-conspirators put their expanded scheme to
defraud and extort Chevron in motion in early 2007. The first order of business was to ensure
that the court adopt the new “global assessment” process proposed by the RICO Defendants and
their co-conspirators and appoint Cabrera as the global assessment expert.

127. On January 16, 2007, Fajardo reported that he had been in contact with the Lago
Agrio judge in person and had sent him an email message regarding who to appoint as the global
assessment expert. Fajardo then set about persuading Cabrera to join them in their extortionate
scheme in a series of secret meetings during February 2007. The RICO Defendants and their co-
conspirators first appealed to Cabrera emotionally, impressing upon him “the importance of the
case, what it means for history, how we can do something that we will always be remembered
for, what this would mean for the country and world, etc.” They also made it clear that he would
be rewarded financially. Not only would Cabrera be paid a substantial sum for his “work,” an
amount that eventually totaled at least $263,000, but Donziger or one of his co-conspirators
likely told Cabrera what Donziger had told another potential expert: “if he served as the global
court expert and the plaintiffs won the case that he would have a job the rest of his life being
involved in the remediation.”

128. Having convinced Cabrera to join their conspiracy and secure in the knowledge
that the court would select Cabrera, the conspirators set to work with him to plan the writing of
the report by the covert U.S. team the RICO Defendants and their co-conspirators had
assembled. This report would develop into an essentially fictional description of the region that
alleged massive harms with little or no valid data or analysis in support. And Cabrera would act
as the RICO Defendants’ and their co-conspirators’ puppet.

129. On March 3, 2007—two weeks before the court appointed Cabrera—Donziger,
Fajardo and Yanza met with Cabrera to plan the report. Also present at this meeting were

members of the U.S. team working with the conspirators to ghostwrite the Cabrera Report,

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including Defendant Ann Maest, Richard Kamp of E-Tech International and Charles Champ of
Champ Science and Engineering.

130. In the morning session of the March 3rd meeting, Fajardo gave a PowerPoint
presentation outlining the plan for Cabrera’s Global Expert Assessment. As part of that plan,
Fajardo stated: “Our legal theory is that Texaco is liable for all of the existing damage, even that
caused by Petroecuador.” Fajardo then outlined a plan for dealing with Chevron: “Chevron’s
main problem right now is that it doesn’t know what the hell is going to happen in the global
expert examination. In other words, they don’t know that. I hope none of you tell them, please.
[laughter] .... [I]t’s Chevron’s problem.” Next, Fajardo identified six steps that the RICO
Defendants must take, specifically: (1) the team must “[k]eep up the pressure and constant
oversight in the court”; (2) the team must “[m]Jake certain that the expert constantly coordinates
with the [Lago Agrio] plaintiffs’ technical and legal team”; (3) “[t]he [Lago Agrio] plaintiffs’
technical coordinator must be [involved] in the process fulltime” and “[a]ccompany the expert in
the field”; (4) “an attorney . . . will always be in the field to also protect the activity being
performed”; (5) the team must “provide the facilities and necessary support to the field team”;
and (6) the team must “support the expert in writing the report.”

31. Fajardo made clear that they were the ones who would actually be writing
Cabrera’s report, explaining: “And here is where we do want the support of our entire technical
team ... of experts, scientists, attorneys, political scientists, so that all of us will contribute to
that report—in other words—you see . . . the work isn’t going to be the expert’s. All of us bear
the burden.” Someone asked whether the final report was going to be prepared only by the
expert Cabrera. Fajardo responded that the expert will “sign the report and review it. But all of
us... have to contribute to that report.” Then Defendant Ann Maest of Stratus added, with a
smile, “But not Chevron,” and everyone laughed.

132. Later that day, the conspirators discussed the “work plan,” a document that was
prepared by the conspirators and subsequently submitted to the Ecuadorian court by Cabrera as

the independent court expert. Donziger proposed that he and the U.S.-based consultants form a

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“work committee” to present a “draft plan,” with a goal of being “more or less eighty percent,
ninety percent from achieving a plan” in a few days. Looking at Cabrera, Donziger then said,
“and Richard, of course you really have to be comfortable with all that. And we’ {I also def—
define the support the expert needs.” Donziger has admitted under oath that this work plan was
drafted by his co-conspirators and that Cabrera did not disclose its true authors.

133. The recording of the March 3rd meeting ended with Donziger commenting, they
could “jack this thing up to thirty billion in one day.” Donziger went on to say that he was
exaggerating—it would really take 90 days. And in the end, the RICO Defendants and their co-
conspirators “jacked up” the damages estimate in Cabrera’s Report to $27 billion. Their plan of
submitting their liability and damages theories under the guise of an “independent” expert report
whose content was dictated by the very persons who stood to profit from an extorted payment
from Chevron was thus well under way.

134. The next day, March 4th, Donziger explained how he would accomplish the
conspiracy’s goal, despite the absence of supporting evidence. When Defendant Maest and the
other consultants hired by the RICO Defendants and their co-conspirators to write Cabrera’s
report told Donziger that there was no evidence that contamination from the pits had spread into
the surrounding groundwater, Donziger responded: “Hold on a second, you know, this is
Ecuador, okay, ... You can say whatever you want and at the end of the day, there’s a thousand
people around the courthouse, you’ re going to get what you want” and “[t]herefore, if we take
our existing evidence on groundwater contamination, which admittedly is right below the source
... [a]nd wanted to extrapolate based on nothing other than our, um, theory,” then “[w]e can do
it. And we can get money for it.” He continued: “Because at the end of the day, this is all for
the Court just a bunch of smoke and mirrors and bullshit.’ And when Champ argued that “there
is not enough information on that groundwater” and that “the one hole in the remediation, is the
water,” Donziger instructed the camera crew capturing his conversation to stop filming, stating,

“(T]here’s another point. I got to make . . . to these guys, but | can’t get this on camera.”

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135. The RICO Defendants’ and their co-conspirators’ strategy all along, as first
evidenced in Donziger’s discussion with Fajardo about whether to request an even higher
amount than Russell’s disavowed $6 billion damages estimate to make it appear as though a
judgment of a lower amount was reasonable or even somehow favorable to Chevron (see
paragraph 107, supra), was to provide an absurd damages number to convince the judge to award
a lower but still outrageous amount. Donziger described the goal to his consultants: “If we have
a legitimate fifty billion dollar damages claim, and they end up—the judge says, well, | can’t
give them less than five billion.” He explained that an inflated damages number would allow the
judge to say that “Tex had a huge victory. They knocked out ninety percent of the damages
claim.”

136. Donziger brushed off other comments from consultants Champ and Kamp
expressing concern about meeting with Cabrera. First, Champ told Donziger, “I know we have
to be totally transparent with Chevron in showing them what we’re doing.” Donziger responded,
“No, no,” and stated, “because they will find out everything we do.” He continued: “Our goal is
that they don’t know shit .. . and that’s why they’re so panicked.” Then, Kamp expressed
unease about the process and commented to Donziger that “[h]aving the perito [Cabrera] there
yesterday in retrospect ... That was bizarre.” In response, Donziger instructed Kamp: “Don’t
talk about it,” and, “that’s the way it works.” Donziger told the camera crew, “[T]hat is off the
record.”

137. | The RICO Defendants’ and their co-conspirators’ close relationship with
Cabrera also raised questions in the minds of the Crude filmmakers, who became “confused
about why Chevron is saying that the Court Appointed expert is biased.” The filmmakers asked
Fajardo why he was paying Cabrera, “[w]hy is Chevron not also paying for the expert and why
do they not have their own expert[?]” Even to sympathetic individuals untrained in legal
matters, something about the RICO Defendants’ and their co-conspirators relationship with

Cabrera seemed wrong.

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(ii) The Court Appointed Cabrera as Its “Independent”
“Global Assessment Expert”

138. In late February, to cover up the fact that the judge planned to appoint the
“olobal assessment expert” championed by the RICO Defendants, the judge called Cabrera and
purported to ask him for a recommendation for the expert. But by this point Cabrera’s
appointment had already been secretly secured by the RICO Defendants. Indeed, in their internal
correspondence they discussed the steps they had taken to make “100% sure the judge would
appt Richard,” including threatening the judge with a complaint against him that they showed
him, but never filed. Thus, when Donziger feared the judge’s call to Cabrera meant the
appointment of the RICO Defendants’ handpicked “expert” was in jeopardy, Fajardo reassured
him that the call was just “part of the judge’s complicated plan to protect himself.” On March
19, 2007, the Lago Agrio court did indeed appoint Cabrera as its global assessment expert,
ordering that Cabrera would be “responsible for the entire report, the methodology used, for the
work done by his assistants, etc.”

139. Cabrera, the RICO Defendants, and their co-conspirators had violated the terms
of Cabrera’s appointment before he had been appointed, and they would continue to do so
throughout his service. They did this even though the RICO Defendants knew, as Donziger has
since admitted, that the Lago Agrio court ordered Cabrera to “act with absolute objectivity and
independence” and to “‘act independent of the parties.” The RICO Defendants, however, knew
that they had to maintain a fagade of independence. To do so, shortly after Cabrera was
appointed, they plotted “something that Richard [Cabrera] could do AGAINST us in order to
prove his independence.”

140, When the Lago Agrio court officially swore in Cabrera as the global assessment

expert on June 13, 2007, Donziger exclaimed that “the perito just got sworn in. . . this is a huge

victory!!!!!!1? He further elaborated that the development was good for the Lago Agrio
Plaintiffs’ case: “We have to keep pushing on all fronts at all times. ... [AJll this bullshit about
the law and facts ... but in the end of the day it is about brute force... . [Cabrera’s

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appointment] took five months . . . five months of delay .. . and [the judge] never would have
done [it] had we not really pushed him.” And he noted, “that visit to the judge last week was a
huge help.”

141. Consistent with Cabrera’s unique and central status as the court’s sole expert for
damages issues, including liability, the Lago Agrio court repeatedly issued orders that Cabrera
was required to be independent from the parties. For example, when the court administered the
oath to Cabrera in June 2007, Cabrera had to promise that he would perform his duties “with
complete impartiality and independence vis-a-vis the parties.” And on October 3, 2007, the
Lago Agrio court ordered Cabrera to “work in an impartial manner and independently with
respect to the parties.” The court further explained that “the role of the expert is one of complete
impartiality and transparency with respect to the parties and their attorneys” and required
Cabrera to “observe and ensure .. . the impartiality of his work, and the transparency of his
activities.” By then, the conspirators were already well into planning the drafting of Cabrera’s
purportedly independent report, and indeed the court itself may have been participating in the
scheme by this point, and merely issuing these orders for the sake of appearances.

142, In November 2007, the Lago Agrio court ordered that “all the documents that
serve as support or a source of information for the work performed by the Expert must be
presented together with the report. ... [I]n his report the Expert is required to cite all of the

scientific sources, and analytical and legal documents that he uses to perform his work.”

(iii) | While Cabrera Staged Mock Inspections, the RICO
Defendants and Their Co-Conspirators Secretly
Ghostwrote His Report

143. In public, the RICO Defendants and their co-conspirators and Cabrera worked to
maintain the illusion that Cabrera was an independent expert. At one inspection, in an exchange
included in the film Crude, Cabrera and Fajardo made a show of rejecting a suggestion from
Chevron’s lawyer Diego Larrea that counsel for the parties be permitted to make suggestions to

Cabrera as to what samples he might take on his inspections (translations are taken from Crude):

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Cabrera:

Larrea:

Fajardo:
Larrea:
Fajardo:

Larrea:

Fajardo:

Cabrera:

144,

(Addressing the public) [ have been named the expert for the global
assessment report. At this juncture, I am the highest authority at this
examination. The samples taken and the analyses done today will be
the only ones valid for this report.

2k ok

(To Cabrera) We would like you to consider the possibility of letting
us know what kind of sample will be taken at each location so that
eventually we can suggest that other samples be taken—

(Raising his hands in protest) Wait, wait, wait... .
In the same terms that Pablo says —
You can’t do that.

The expert can check the equipment to verify if it’s visible. (To
Fajardo) It’s a request. He can deny it or accept it.

What we agreed on was that the expert has the authority to say what is
and what isn’t going to be. We can’t say “take samples here and
there.” Excuse me, but that is something he has to decide.

ae Ke

(To Larrea) You can make a suggestion, but [ can’t work under your
criteria. I decide where to take samples, and that’s it, counselor.

Of course, while Fajardo’s duet with Cabrera at the inspection site was featured

in the theatrical release of Crude, the outtakes show that Fajardo was doing far more than merely

inspecting Cabrera’s equipment. At their all-day session weeks earlier, Fajardo told Cabrera

exactly what “criteria” he would be working under, and how Fajardo’s associates would secretly

write Cabrera’s report for him. And when Cabrera did go into the field to conduct testing,

Donziger laid down further “criteria” under which he expected Cabrera to work in an email to

Yanza and Fajardo: “When [ get there, we’ll re analyze the work and the budget with Richard.

And we’! adjust with a much smaller team. My tendency is to stop Richard from working much

more in the field...

or, if he continues doing it, he should continue under the most strict control

with an extremely limited number of samples. And we’ll change the focus of the data at our

offices.” The RICO Defendants have also admitted that they selected the sites that Cabrera

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would sample. Indeed, as Donziger has admitted, Fajardo was in “regular contact” with
Cabrera—unbeknownst to Chevron—while Cabrera was supposedly serving as the
“independent” court expert.

145. Back in the United States, preparations were well underway for drafting
Cabrera’s Report. Just after the March meeting with Cabrera, David Chapman, a principal at
Stratus, emailed Donziger, proposing that “the way this would work best is that if Stratus did
much of the work, putting the pieces together and writing the report.” Shortly thereafter, on
April 27, 2007, the conspirators assembled at Stratus’s offices in Boulder, Colorado to discuss
how they were going to “jack this thing up to thirty billion,” as Donziger had put it. Present at
the meeting from Stratus were President Joshua Lipton, David Chapman, Preston Sowell, and
Defendants Beltman and Maest. The conspirators ultimately went with Chapman’s suggested
approach, permitting Stratus to take the lead on the drafting of the report. As Donziger later
admitted, Beltman, the Stratus project leader, had “a fair amount of discretion,” including the
authority to eliminate sections of the report if Stratus could not complete them on time.

146. The participants in this meeting also discussed how they could leverage the
Cabrera Report, once it was filed in the Lago Agrio court, as a supposedly independent
endorsement of their position. Donziger talked up how important and far-reaching he thought
the report should be: “We also see this case as having a larger meaning. ... [W]e think that,
Uhm, this is the kind of thing people will be interested in reading. You know, like this damages
report[—]academics, people in your field, other lawyers.” Lipton responded, “we loved the
whole package.” As a result, Stratus entered into a contract with Kohn Swift to provide technical
assistance, including the production of reports and support in discussions with the media, in
furtherance of the conspiracy. The initial contract for $125,000 was modified multiple times to
accommodate Stratus’s increasing involvement and fees. Indeed, by the fall of 2009, Stratus
received at least $1.1 million in payment for their role in the criminal scheme. Donziger also

offered Stratus a piece of the action, suggesting that it could obtain contracts to oversee the

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actual remediation work once the RICO Defendants obtained a fraudulent judgment against
Chevron.

147. Meetings and communications continued between the conspirators as they
prepared Cabrera’s report. Leading up to the April 2008 filing of Cabrera’s first report, Stratus,
Donziger, Kohn, and environmental consultants exchanged hundreds of emails regarding draft
outlines of the Cabrera report and proposed annexes, schedules for completion of various
annexes, and discussing review, analysis, and translation of the annexes including
“Te]nvironmental standards,” “[e]co impacts from contamination,” “[p]it (plus) cleanup costs,”
“Tvjalue of human life losses,” “[h]abitat losses at wells and stations,” “TexPet [r]emediation
summary,” “[h]istorical data summary,” “[d]ata extrapolation” and “[t]oxicity of site chemicals
to humans.” (Additional details concerning the emails exchanged in furtherance of the
conspiracy’s scheme to defraud Chevron are included in Appendix B, which is incorporated by
reference as if set forth herein in its entirety.)

148. During this period, Donziger continued to press for higher and higher damages
numbers, explaining at one point that an estimate for unjust enrichment “sound[ed] awfully low”
and implored that the Stratus consultants not “say or even suggest anything that backs away from
the [Lago Agrio plaintiffs’] figures.” And as another means of getting the high numbers he
wanted—and getting the most impact from the “independent” expert—-Donziger during this
period suggested to Stratus that they “define the norms of clean-up” and then “propose these
norms to the Ministry of Energy which governs these norms[,] and whose Minister is a good
friend of ours, so that the Ministry issues them as an official decree before the trial ends.”

149. The numerous emails among the Stratus team and between Stratus and Donziger
were necessary because, as Beltman explained in a February 22, 2008 email urging his Stratus
colleagues’ support: “We have to write, over the next 2 to 3 weeks, probably the single most
important technical document for the case. The document will pull together all of the work over
the last 15 or so years on the case and make recommendations for the court to consider in making

its judgment.” And that “single most important technical document for the case” was the

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Cabrera Report itself. As Donziger has now admitted, “[T]he general idea” was “that Stratus
would draft the report in a form that it could be submitted directly to the Ecuadorian court by
Mr. Cabrera.” The RICO Defendants and their co-conspirators took care to make it appear that
Cabrera had actually prepared the report. For example, Kohn corrected Beltman at one point,
telling him to use “1,000ppm instead of 100” because “Cabrera exclusively uses 1000.”

150. As Beltman, Donziger and others made decisions about the contents of
appendices to the report and which appendices to include, Beltman also turned his focus to
completing the draft of the report itself, writing to Maest and other colleagues on March 10,
2008: “Now that the annexes are out of the way, there’s the little problem of the report itself.
Unfortunately, I’ve been too busy on annex stuff to work much on it, and it has to go to the court
in [two] weeks and get translated. It’s a problem.” Indeed, Beltman himself was responsible for
drafting the majority of the report, while the various annexes were parceled out among the
various Stratus employees and contractors and others hired by the RICO Defendants. When he
had an initial draft of the Cabrera Report written, Beltman sent it to Donziger, asking whether he
was “on track in terms of tone, language level, and content.”

151. While Stratus was the primary coordinator of the work that went into the
Cabrera Report, other members of the U.S.-based team of experts the conspirators assembled,
including E-Tech, Uhl, Baron, Rana & Associates, Inc., and 3TM Consulting, also contributed to
the report without attribution in the report or disclosure to Chevron. Annex S of the Cabrera
Report, for example, was drafted by co-conspirator William Powers, who worked for E-Tech and
was a subcontractor for Stratus, and his calculations were used in Annex T. And Richard Clapp,
another consultant hired by Donziger and his co-conspirators, drafted one of the annexes to the
Cabrera Report. And Stratus retained contractors to prepare a large database of sampling data,
known to the RICO Defendants as the “Selva Viva Database,” which was reviewed and further
revised by the RICO Defendants and their co-conspirators in Ecuador.

152. As the various consultants finished their portions of the Cabrera Report, Beltman

took on the delicate task of translating the report, written in English by U.S. consultants, into

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Spanish. As Beltman would later put it, they would treat “our original English version as if it’s a
translated version” of Cabrera’s work. In March 2008, Beltman corresponded with several
translation firms, ultimately working mainly with Translating Spanish, Inc. On March 12, 2008,
Beltman sent, via email with a copy to Maest, the actual Cabrera Report—which contained an
introduction falsely stating that “[t]his report was written by Richard Cabrera, ING to provide
expert technical assistance to the Court”—to be translated into Spanish for filing with the Lago
Agrio court. And as Beltman and other Stratus Consultants revised their work, they forwarded
new annexes of the report for translation as well. In addition, the critical annexes to the Cabrera
Report covering alleged remediation costs, excess cancer deaths, and other building blocks of
what would ultimately be a $27 billion fraud were also translated into Spanish at Beltman’s
direction days before they were fraudulently submitted to the Lago Agrio court as the work of
Cabrera and the other Spanish-speaking personnel to whom the report would be attributed. In
order to facilitate the final preparations, the RICO Defendants discussed renting office space in
Ecuador as well, but Donziger stressed that it had to be “isolated,” and could not be space shared
with those known to be affiliated with the RICO Defendants.

153. Prior to the Cabrera Report’s submission, Beltman followed up to ensure that
those consultants who had actually written certain annexes had their “name[s] taken off” the
documents that Cabrera would actually submit to the court. The RICO Defendants and their co-
conspirators determined “to whom Richard [Cabrera would] attribute each of the annexes,” and it
was not to their actual authors. All of these contributions were orchestrated by the conspirators,
who maintained a master schedule identifying each portion of the report, which of their team
members would do the actual work, and to whom they could publicly and fraudulently
“attribute[e] each in the filed Cabrera Report.”

154. The conspirators did not entirely ignore Cabrera during this period of heavy
drafting. In January 2008, Donziger, Beltman, Maest, Fajardo and others met with Cabrera as
the conspirators were in the homestretch of drafting his report. Notably, this meeting was held at

a private home, and not at the conspirators’ offices in Quito, in order to keep the meeting a

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secret. The RICO Defendants also delegated various aspects of the report to nominal authors
who had not been publicly identified as working with the Lago Agrio Plaintiffs, but who in fact
were close associates of the RICO Defendants. The RICO Defendants kept a close eye and a
firm hand on their work. For example, Luis Miguel Garcia Aragon, who was later disclosed to
be a member of Cabrera’s team, engaged in ongoing email communication with Beltman and
Maest regarding the drafting of extensive portions of the Cabrera Report. On January 22, 2008,
Aragon emailed Beltman, “We’re moving forward with our model thanks to your help. Now [’m
maling [sic] you after the doccuments [sic] you told me about. Do you remember, about the
discount rate and so? I’d appreciate you sending me those.” The RICO Defendants and their co-
conspirators also retained and worked with another consultant, Juan Cristobal Villao Yepez, who
was also later identified in the filed Cabrera Report as a member of Cabrera’s “independent”
team, and the technical reports on water issues that he wrote as a paid consultant for the RICO
Defendants ultimately appeared in the Cabrera Report. Another supposed member of Cabrera’s
“independent” team is Ximena Echeverria who has since been revealed to be an employee of
Defendant Selva Viva and who was actively working with Stratus, a fact never disclosed to
Chevron or the Lago Agrio court until it was revealed in Chevron’s U.S. discovery efforts.
Accordingly, the RICO Defendants and their co-conspirators and “Cabrera’s team” were one and
the same.

155. And it was the RICO Defendants and their agents who finalized the Cabrera
Report, down to the last comma. At most, Cabrera had a few hours to skim the report and the
4,000 pages of supporting material, but he made no changes, and could not have given it a
substantive review—that is, if he reviewed it at all. The bulk of the report was drafted in
English—a language Cabrera does not speak—-and was not complete until the middle of March.
After the translation was finished on or around March 18, 2008, the RICO Defendants still had
work to do on the Cabrera Report, prompting Beltman to complain that they were in a “tight
bind” with so little time left. The RICO Defendants and their co-conspirators continued to

maintain control of the document during this time, revising the Spanish text directly, until the

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morning of March 31, the day before it was filed. On that morning, they printed the report and
its voluminous supporting material, which were then to be submitted to the Lago Agrio court the
next day by Cabrera—its author in name only.

156. Nonetheless, Cabrera, the RICO Defendants, and their co-conspirators intended
to spread the lie that the report was Cabrera’s own. To this end, they made every effort to
conceal the huge amount of work performed by Stratus and others, despite the Lago Agrio
court’s order that Cabrera present “all the documents that serve as support or a source of
information” and “cite all of the scientific sources, and analytical and legal documents that he
use[d].” Donziger has admitted that “there was a general feeling on our team that we wanted” to
“ke[ep] confidential” the “fact that plaintiffs had written” “[p]ortions of what became the
Cabrera report.” Concealing this fact was partly driven by the concern of some of the RICO
Defendants and their co-conspirators about being criminally charged in Ecuador if they had
admitted that they had ghostwritten portions of the report filed under Cabrera’s name.

157. The RICO Defendants and their co-conspirators have never disclosed, and have
still not admitted, the relationship between Cabrera and the Lago Agrio Plaintiffs to the Lago
Agrio court. Indeed, they have failed to disclose this fact even though as early as May 2010, one
of the conspirators, Ilann Maazel of Emery Celli, conceded in internal correspondence that
“neither Cabrera nor plaintiffs disclosed a submission from plaintiffs that contained drafts of part
of the expert report written by Stratus” and another, Jonathan Abady of the same firm, described
the relationship as the “wholesale adoption of Stratus work product w/o attribution.” And
Donziger himself has now conceded that he “do[es|n’t think” the Cabrera Report’s statement of
authorship—*[t}his report was written by expert engineer Richard Stalin Cabrera Vega”—“is
accurate” and that Stratus ultimately gave Cabrera “a substantial amount of material,” including
“an actual report with annexes in Cabrera’s name.” Yet the RICO Defendants still have not
acknowledged the truth. As recently as January 2011, the RICO Defendants filed a brief in the

Third Circuit stating that “[t]he Ecuadorian court was and is well aware of the Ecuadorian

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Plaintiffs’ ex parte contacts with Cabrera and submission of materials to him—and indeed,
invited such contacts and submission.”

158. | The RICO Defendants and their co-conspirators, in attempting to conceal the
true authorship of the Cabrera Report and its annexes, encountered some close calls. On
May 14, 2008, for example, Beltman wrote to Defendant Donziger regarding an “[u]rgent issue”
that arose when Karen Hinton, spokeswoman for the Amazon Defense Front, wanted to give
Richard Clapp’s report—the same report the RICO Defendants submitted as an annex to the
Cabrera Report—to a reporter. To have done so would have exposed the truth that the RICO
Defendants and their co-conspirators and their consultants actually wrote the Cabrera Report.
And so, Beltman told Hinton not to use the Clapp report, giving the false reason that he was “not
sure of its pedigree” instead of telling her the real reason it could not be made public: that it was
used “as an Annex” to the Cabrera Report. Concerned about covering their tracks, Beltman
warned Donziger that they “need to be careful about this.” And later, when the RICO
Defendants and their co-conspirators feared that Clapp himself would inadvertently disclose the
true authorship of the Cabrera Report during a congressional hearing, Donziger explained the
steps necessary to prevent exposure: “We have to talk to Clapp about that 5-pager, and how we
have to limit its distribution. It CANNOT go into the Congressional Record as being authored
by [Clapp].”

159, In their rush to finish the Cabrera Report and then the supplemental report, the
RICO Defendants and their co-conspirators were not careful enough. After the Cabrera Report
had already been submitted, Beltman realized that an annex to the Cabrera Report may have
cited a report written by Clapp. The problem, according to Beltman, was that the cited report
had then itself been used verbatim in Cabrera’s report. Beltman lamented in an email to a
colleague, “[o]h what a tangled web .. .” omitting the rest of the quotation, “when first we
practice to deceive.”

160. In another effort to prevent Stratus’s role in drafting the Cabrera Report from

coming to light, Beltman attempted to influence the testimony of Stratus employees who might

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be called to testify in United States court. After Chevron filed an action pursuant to 28 U.S.C.

§ 1782 seeking discovery from Stratus, Stratus held staff meetings attended by all staff available
at that time, including some personnel who had been subpoenaed to testify. The staff members
were provided with information about Chevron’s subpoenas and the Cabrera Report, and
Beltman, taking the opportunity to create a consistent but misleading story, misrepresented to the
meeting attendees that Cabrera was an “independent expert who submitted his own report to the
court.” During this and other staff meetings, Beltman also misrepresented Stratus’s role to
Stratus staff. He explained that Stratus had “prepared a series of technical analyses” that were
given to Cabrera “to help in his preparation of his report” and failed to disclose the fact that
Beltman and other Stratus consultants had authored the report that Cabrera submitted as his own.

161. Fajardo and Donziger also discussed how they would respond to any accusations
that “Cabrera used exactly, or almost exactly, the same words we put in our motions.” Fajardo
offered the “[s]imple” solution of concocting a story that the RICO Defendants submitted
material to Cabrera after they noticed some errors in the calculations and figures in the report and
that Cabrera then adopted their submission. As Fajardo put it, “There is no substantive problem,
we just have to explain it.”

162. Fajardo and Donziger also devised ways to hide their misconduct by creating
special email addresses and code names to be used in planning and discussing their scheme.
Fajardo, for instance, instructed Donziger not to use his own email account to send comments
about the report that Stratus was ghostwriting, and not to send the comments to Fajardo’s regular
email address but to direct them to a new, specially created email address. Fajardo instructed
Donziger, “do not insert any names in the document,” and told him to use code names; Fajardo
went by Lagarto 2, and Donziger by Lagarto 3. (“Lagarto” is Spanish for “lizard.”) This was
done, as Donziger has admitted, because they did not want others to know that Stratus had
drafted the final report for Cabrera to submit to the court.

163. In addition, the conspirators sought otherwise to cover their tracks in the United

States. E-Tech, for example, failed to report income received for doing its work to the Internal

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Revenue Service, characterizing payments to consultants as charitable contributions, and routed
payments, inside the United States and abroad, in order to hide the fact that these payments were
being used to fund unlawful activity. E-Tech has also subsequently failed to file required reports
in its home state of New Mexico, resulting in the cancellation of its Certificate of Incorporation.
And as the RICO Defendants and their co-conspirators continue to obstruct Chevron’s
investigation into their conduct in front of many U.S. federal courts, they have kept up a constant
public pressure campaign attacking every suggestion that the Cabrera Report was not neutral and
independent. See paragraphs 229-39, infra. This defense of the Cabrera Report is necessary
because, among other things, without it the RICO Defendants would be left with no evidence of

either liability or damages.

(iv) The “Cabrera Report”: The RICO Defendants’
Repeated Fraud

164. | On April 1, 2008, accompanied by armed guards, Cabrera filed his first report
with the Lago Agrio court. Despite the fact that Cabrera still had more time to file his report and
had not made any public statement that he would be filing it early, the RICO Defendants knew
when he would file the report, and had prepared detailed press releases and alerted the Crude
team to be on hand to film the event. Relying on misstatements, conclusions not supported by
evidence, and bad science, the “Cabrera” Report—the culmination of the clandestine work that
the conspirators had begun more than a year earlier—concluded that Chevron was liable for
more than $16 billion. The RICO Defendants knew that the Cabrera Report falsely attributed
liability to Chevron, and that it would be accepted only if it appeared to have come from an
“independent” court expert. This was why they prepared the document in secret, and actively
sought to keep Chevron from knowing who had really written it. And the conspirators were not
done ghostwriting material for Cabrera to falsely present as his own.

165. In September 2008, the parties submitted to the Lago Agrio court questions and
comments on the Cabrera Report. The RICO Defendants’ and their co-conspirators’ submission

filed on behalf of the Lago Agrio Plaintiffs was in all respects intended to perpetuate the false

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appearance that Cabrera was neutral and independent and that the RICO Defendants and their co-
conspirators were not the report’s true authors. This submission purported to urge Cabrera to
consider various documents and third-party reports, criticized his legal analysis of liability, and
gave suggestions as to how he might support his existing findings and introduce new ones. But it
had been the RICO Defendants and their co-conspirators themselves who had decided which
documents to review, how to present the legal case, and what findings and support to put forward
in Cabrera’s report. Thus, the RICO Defendants and their co-conspirators wrote their
“questions” to further the false appearance of independence from Cabrera.

166. Cabrera filed a response to the Lago Agrio Plaintiffs’ comments on November
17, 2008 in a supplemental report. Ignoring Chevron’s objections, the comments put forward by
the Lago Agrio Plaintiffs are reflected (at times word for word, including errors) in Cabrera’s
supplemental report, which increased the damage recommendation to $27 billion, with little
explanation and no legally or scientifically valid support. As Donziger had planned, the RICO
Defendants and their co-conspirators were indeed able to “jack this thing up to thirty billion.”

167. The RICO Defendants and their co-conspirators also dictated other portions of
Cabrera’s response by secretly drafting his “answers” to their own comments and questions.
Some of the “questions to the Perito [Cabrera],” according to an internal Stratus email, were
“assigned to us.” In an email dated August 1, 2008, Beltman outlined for his colleagues what
“we need to do for the comments on the Cabrera report.” His email listed the various answers
that needed to be prepared, and what they should say. Beltman repeatedly referred to the Lago
Agrio Plaintiffs’ questions in the first person and to their own work as that of “Mr. Cabrera.”
For example, he says that “[w]e comment on the lack of consideration given to cleanup of rivers
and streams,” and “[w]e comment that Cabrera does not consider metal contamination in his
cleanup costs.” He then suggests possible responses to those comments. Beltman likewise
expressed his desire that work performed by U.S. consultant 3TM “be in a form that someone in

Ecuador could have written,” and another Stratus employee noted that Stratus needed to revise

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their work to “clean up the language so it [would] sound[] more like [Cabrera] and less like a
comment.”

168. | The RICO Defendants accomplished their ruse in part by asking Powers, the
same Stratus contractor who ghostwrote portions of Cabrera’s initial report (see paragraph 151,
supra), to respond to questions that had been raised in connection with the Cabrera Report.
Defendant Maest provided Powers the questions to be answered—-questions that were the very
same ones posed by the Lago Agrio Plaintiffs in their September 2008 filing. Powers then
supplied Maest with the answers that are the same as those that are included in Cabrera’s
November 2008 report.

169, In addition, the RICO Defendants and their co-conspirators incorporated into
Cabrera’s response a second report written by Richard Clapp, another one of their hired
consultants. Just as the RICO Defendants and their co-conspirators had been concerned that
Hinton or Clapp himself would inadvertently disclose the fact that Clapp’s first report had been
incorporated “as is” in the form of an annex to the Cabrera Report, they likewise became
concerned that the use of Clapp’s second report in Cabrera’s response would accidentally be
made public. Beltman warned Donziger, “I don’t think we should hand out either [report] as
Clapp’s, thereby distributing proof.”

170. | Beyond the misrepresentations concerning Cabrera’s independence and the
authorship of “his” report, the Cabrera Report—without which the RICO Defendants cannot
demonstrate liability or damages—suffers from substantial flaws and fundamental problems.
Determined to “jack up” the damages estimate to $27 billion, the conspirators, among other
egregious defects, attributed all alleged environmental impact from oil operations in the former
consortium area to TexPet and none to Petroecuador, the sole owner of operations in the former
consortium area for the past nearly 20 years and the one responsible for well over 1,400 oil spills
during that time. The report includes millions of dollars of damages for remediation of disposal
pits that do not exist and are, in fact, shadows and other dark objects on aerial photographs. In

addition, the report relies on U.S.-derived cost baselines, standards, and methodologies which do

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not reflect substantial differences in costs between the U.S. and Ecuador, and are often
meaningless outside the larger U.S. regulatory context. For example, the report asserts that the
cost of remediating the pits—including the imaginary ones—would be $2.2 million per pit. This
is 25 times greater than Petroecuador’s average actual cost of ongoing pit remediation at $85,000
per pit.

171. Other intentional errors abound. Even though Cabrera did not take a single
sample of drinking water and despite the existence of literally dozens of public drinking water
systems in the concession area, the report assesses $428 million in damages for potable water
systems. The conspirators also included $8.4 billion in damages for “unfair profits” TexPet
allegedly earned, a penal levy that the Lago Agrio Plaintiffs never requested in their complaint,
and included allocations such as millions of dollars to create a husbandry farm to produce
hunting game for local residents.

172. Finally, the RICO Defendants relied on unreliable, manipulated sampling data
that they selected in order to maximize their damages claims. While claiming to use independent
laboratories, the RICO Defendants actually processed much of the material themselves, often at a
makeshift lab in a hotel room, which they referred to as “Selva Viva Labs.” This work was so
shoddy, however, that they sometimes had to simply “lose” reports that would not stand up to
any review. They would also change their analysis when the results were not coming out the
way they wanted. For example, in 2004 they stopped analyzing for certain contaminants because
they realized that the presence of those contaminants in the samples would “show that the
contamination is much more recent than we would desire,” thus indicating that the source was
Petroecuador activity after TexPet ceased operations.

173. The Cabrera Report also unilaterally expanded the scope of Cabrera’s mandate
and went far beyond the expertise of his publicly disclosed team by addressing additional issues
unrelated to the Lago Agrio Plaintiffs’ claims for environmental remediation and medical
monitoring. Despite the failure to identify a single individual with cancer or produce a single

medical report, the report initially assessed $2.9 billion for “excessive cancer deaths” and then

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increased that to $9.5 billion in the November 2008 filing, ostensibly based on just over a page
of additional discussion. The report did not use any scientifically accepted method to link cancer
to the consortium’s operations; instead of using official data, the “excessive” cancer deaths were
“assessed” on the basis of self-reporting at group meetings with undisclosed members of the
local population conducted by purported member of the Cabrera team Carlos Beristain, who was
in fact working at the direction of the RICO Defendants and their co-conspirators.

174. The Cabrera Report and its subsequent supplement were not the only documents
filed under Cabrera’s name which were secretly written by the RICO Defendants. On November
5, 2007, Cabrera filed a statement with the Lago Agrio court alleging that he had been subjected
to threats and harassment, and that he was constantly under surveillance by unknown parties.

But while this notice was signed by Cabrera, it was prepared for him by the RICO Defendants.
Donziger has admitted, however, that he had no concrete evidence for the allegations in the

notice that Cabrera was in “‘serious danger.”

(Vv) The RICO Defendants’ Fraudulent Endorsements of
Their “Cabrera Report” and Procurement of Other
Endorsements Through Misrepresentations

175. | The RICO Defendants and their co-conspirators sought almost immediately after
filing the Cabrera Report to bolster it through the publication of endorsements of the report by
Stratus itself—the report’s secret author—and by third-party experts.

176. After the conspirators filed their report under the name of court expert Cabrera,
Donziger, Beltman, Maest, Fajardo, Yanza, and Hinton assembled again in Boulder, Colorado to
discuss and manage the “[s]cientific and public relation response to [the] Cabrera report.”
During this meeting, they developed their plan to obtain multiple levels of endorsement of the
report for use in the Lago Agrio court and the U.S. media. They also strategized about how to
increase the already unfounded damages number contained in the Cabrera Report, developed a
plan for responding to Chevron’s criticisms of the report, and outlined a plan of attack on the
media front. As Beltman later acknowledged in an email to Amazon Watch about the progress

of their plan to procure fraudulent endorsements, “a big part of this will be for media.”

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177. The first level of endorsement the RICO Defendants and their co-conspirators
put into play was the promotion of the Cabrera Report and the trumpeting of its “independence”
by Stratus, the report’s secret author. On December 1, 2008, Stratus released a fifteen-page
document purporting to analyze and defend the Cabrera Report. In this document, which bears
on its front page the signatures of Beltman and Maest, as well as other Stratus employees, Stratus
claimed, “Mr. Cabrera is thus acting in the capacity of a neutral ‘expert’ to the Court, and his
role is to assist the Court in evaluating the scientific and technical information that was collected
and compiled for the case. In the U.S. Court system, Mr. Cabrera would be called a Technical
Special Master.”

178. Stratus’s December 2008 review of the Cabrera Report is written to give the
impression that its authors had no connection to the Cabrera Report or the supplement to his
report, and were providing a neutral, third-party review. For example, the RICO Defendants and
their co-conspirators described the writing of the report as follows: “After reviewing the
extensive record of environmental data and information that was collected during the trial, and
collecting some of his own data, Mr. Cabrera has concluded that Texpet’s operations severely
contaminated a large area of the Ecuadorian Amazon, and that the contamination has caused
extensive damages to the environment and its inhabitants.” Once completed, Stratus’s “review”
of the Cabrera Report was knowingly distributed by the conspirators using physical and
electronic mail and remains available on a co-conspirator’s website at http://amazonwatch.org.
Yet Maest, who signed the review, has admitted that she did not know if Cabrera or any
disclosed member of his team actually wrote any portion of the report, and that she has never
seen anything suggesting that Cabrera actually considered or even read the report she and her
colleagues wrote for him.

179, Stratus’s “review” was intended to deceive, as one of the lawyers retained by the
RICO Defendants who reviewed the submission in 2010 recognized. Responding to an ongoing

discussion about the RICO Defendants’ plan to accuse Chevron of fraud on the theory that it

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knew Stratus had written the Cabrera report all along, the lawyer wrote the following to

Donziger and other conspirators:

This document might end the discussion. These “comments” are written in a
manner to give the impression that Cabrera was entirely independent and
conducted his own research and came up with his own findings. There is no
indication in this document that Stratus, ostensibly the company of experts
independent from Cabrera, was itself involved in “ghosting” the Cabrera report.
This might not be dispositive if there were other evidence showing that Chevron
had actual or constructive knowledge that Stratus had been involved in the

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creation of the Cabrera report. In such a case Stratus’s “comments” may have
been a rather crude and awkward spin by a biased expert - but it would not have
been a “fraud” upon Chevron. But, in the absence of such evidence, then it
appears not only that Cabrera and [the Lago Agrio] plaintiffs can be charged
with a “fraud” respecting the former’s report, but that Stratus was an active
conspirator.

This statement admitting that Stratus was involved in “ghosting” the Cabrera Report and
expressing concerns regarding Stratus’s “endorsement” of the report was from one of the Lago
Agrio Plaintiffs’ attorneys purportedly retained by Donziger.

180. The second level of endorsement envisioned by the RICO Defendants and their
co-conspirators and discussed during their June 2008 meeting in Boulder involved soliciting the
endorsement of credible experts by deceiving them about the Cabrera Report’s authors and the
collusion between the RICO Defendants and their co-conspirators and Cabrera. During the
meeting, the RICO Defendants and their co-conspirators discussed the fact that experts who had
already been approached for endorsement had questioned their “relationship to Cabrera,” and the
RICO Defendants and their co-conspirators acknowledged that they “need[ed] to be able to give
them answers.” What they ended up doing, in fact, was concealing that relationship entirely.

181. In seeking the sham “endorsements” of the Cabrera Report, Stratus falsely
represented to numerous third parties that the report was written by Cabrera. For example, on
June 12, 2008, David Mills of Stratus emailed a representative of California’s Office of Spill
Prevention and Response, describing the Cabrera Report as follows: “As part of the trial, the
Ecuadorian judge currently directing the case appointed a technical expert to summarize[] and

analyze the technical data and information about the case and draw conclusions about the

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environmental and human impacts of the oil exploration and production activities. This expert
report was recently submitted to the court.” Stratus asked the representative to review the
Cabrera Report for a fee and provide comments via telephone conversation—comments that, if
favorable, could later be submitted by the RICO Defendants and their co-conspirators to the
court.

182. Similarly, on June 26, 2009, Beltman emailed a representative of Brazil’s Aggeu
Magalhdes (Haggai Magellan) Research Center seeking an endorsement of the Cabrera Report.
In that communication, Beltman referred to “the Court Expert report in which [Cabrera] presents
the results of his studies and makes recommendations to the judge about the damages caused by
Texaco and what needs to be done as reparation for those damages.” Beltman asked the Haggai
Magellan Research Center to “please review the Court Expert report and read our evaluation of
it, and think about how you could provide support. Our first choice is for you to sign the
evaluation that we drafted (1 can provide you with a blank signature page for you to sign and
return).”

183. The RICO Defendants’ and their co-conspirators’ goal of obtaining fifteen or
twenty endorsements from academics in addition to consultants, however, proved difficult given
what Beltman called the “weaknesses” of the Cabrera Report. As Beltman explained to
Donziger in an email: “Our original concerns about this have come to pass .... [Academics]
are trained and they function to be critical, not accepting. [Additionally], they know that signing
their names onto some kind of endorsement of the Cabrera report is setting them up for public
attack from Chevron (and perhaps attack within their academic circles as well) .... And finally,
some of the underlying work in the Cabrera report has weaknesses that an academic would
probably have a hard time defending.” Beltman explained, “[w]e’re having better success with
consultants being willing to sign endorsements than academics (something I am not proud of).”

184. | The RICO Defendants and their co-conspirators did, however, ultimately
succeed in convincing third parties to review the Cabrera Report that Stratus held out as having

been drafted by a “Technical Special Master.” For example, on July 15, 2008, Stratus executed a

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contract with Dr. Peter N. Jones of Bauu Institute whereby he agreed to review the Cabrera
Report and provide comments in a conversation with Stratus. Such fraudulently obtained
endorsements, along with Stratus’s own evaluation—falsely touted as “independent”—-served to
further enhance the value of the Cabrera Report in the RICO Defendants’ and their co-

conspirators’ media pressure campaign targeted at forcing Chevron to pay them off.

(vi) The RICO Defendants’ Payments to Cabrera for Work
He Did Not Perform

185. The perceived independence of the Cabrera Report was essential to the RICO
Defendants’ plan. Independence was the key to its credibility with the press, the public, and the
other parties whose endorsements the RICO Defendants and their co-conspirators needed. Of
course, the perception of independence would be lost if it was known that the RICO Defendants
and their co-conspirators wrote the report themselves, and keeping this secret required Cabrera’s
cooperation. And if the Cabrera Report were perceived as untrustworthy, the RICO Defendants
would be at a loss to demonstrate Chevron’s liability, not to mention the “damages” they hoped
to recover. Accordingly, when the RICO Defendants arranged for the court to abandon the
judicial inspection process and appoint Cabrera as a “global” expert, they also insisted that the
parties should pay for this process, and directly paid Cabrera over $263,000, despite the fact that
Chevron objected throughout to the improper new process and refused to fund it. These
payments began immediately. Just weeks after Cabrera’s appointment had been publicly
announced, but before he was officially sworn in to commence his work, Yanza wrote to
Donziger and told him, “We have met with Richard and everything is under control. We gave
him some money in advance.” Some payments were made through a “secret account,” through
which Kohn funneled tens of thousands of dollars to Cabrera, apparently in excess of the
$263,000 paid to Cabrera through Selva Viva. As it is now clear that Cabrera did not write the
report, the only purpose for these payments, which were made by Defendant Selva Viva and
funded by Kohn or Kohn Swift, must have been to buy Cabrera’s cooperation and silence

regarding the true authorship of the report.

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186. | Cabrera earned his money by repeatedly perjuring himself in the Lago Agrio
court. For example, on July 23, 2007, four months after an all-day PowerPoint session with
Donziger and Fajardo, Cabrera declared to the court: “I should clarify that I do not have any
relation or agreements with the plaintiff, and it seems to me to be an insult against me that I
should be linked with the attorneys of the plaintiffs.”

187, When Chevron raised questions with the Lago Agrio court as to the authorship
of the Cabrera Report and Cabrera’s relationship with the Lago Agrio Plaintiffs, Cabrera
represented in multiple filings with the Lago Agrio court that he had worked independently and
transparently despite evidence to the contrary. On October 7, 2008, for example, Cabrera
declared in a filing that he is an “honest man with nothing to hide, and [his] conduct as an expert
in this case has been as professional, impartial and objective as possible, as can be seen from
[his] expert report.” In that same filing, Cabrera asserted that he does “not take orders from
either of the parties to the lawsuit” and that he is “not, nor will [he] be, subject to the views or
whims of either of the parties.” In a subsequent February 5, 2009 filing, Cabrera claimed that the
“entire expert investigation procedure was completed by [him] personally.” He later declared
that “[a]ll the work was planned, directed, and approved by [him], as the person responsible for
the expert examination.”

188. The RICO Defendants have also denied a relationship with Cabrera in filings
with the Lago Agrio court. For example, in an April 4, 2008 filing, Fajardo asserted that the
notion that there was a “common interest relationship between the expert Mr. Cabrera and the
plaintiff’ and that Cabrera “works for us” was “simply ridiculous.” Then on April 25, 2008, the
RICO Defendants and their co-conspirators characterized Chevron’s claim that a close
relationship existed between them and Cabrera as “[a]nother infamy,” “childish and absurd.”

189, Despite these protestations of Cabrera’s independence to the Lago Agrio court,
Donziger himself has now admitted that Cabrera’s statements were “not accurate” because

“certainly the [Lago Agrio] plaintiffs provided materials for his consideration.”

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(vii) The RICO Defendants’ Attempt to Launder the
“Cabrera Report”

190. Despite the RICO Defendants’ concerted efforts to conceal the true authorship of
the Cabrera Report, Chevron has uncovered significant elements of the nature and extent of their
pervasive fraud, through discovery in U.S. courts pursuant to 28 U.S.C. § 1782. See paragraphs
270-323 infra. This partial picture of the truth coming to light, however, has not stopped the
RICO Defendants from seeking and obtaining a massive judgment based on “Cabrera’s” report.
Instead, they have sought to whitewash the Cabrera Report by, for all intents and purposes,
submitting it—again—to the Lago Agrio court, only this time with new names attached. On
September 16, 2010, the RICO Defendants filed seven new “expert” reports with the Lago Agrio
court, through which they now demanded $113 billion in damages.

191. These seven new expert reports purport to be independent. In reality, however,
they are a repackaging of Cabrera’s flawed and fraudulent report. Donziger discussed this plan
with his co-conspirators at Patton Boggs, expressing his concern that they were not moving
quickly enough to file the new expert reports. As Donziger reported, “The Ecuador team is
getting nervous that there is an increasing risk that our ‘cleansing’ process is going to be outrun
by the judge and we will end up with a decision based entirely on Cabrera. Absent our
intervention ASAP, they believe the judge could issue autos para sentencia in about 3-4 weeks,
which would in effect bar our remedy to the Cabrera problem.” In another conversation, one of
the co-conspirators at Patton Boggs, Adlai Small, told Donziger, “One overarching theme to
think about throughout this process is how we want the new expert to address the Cabrera report
and its conclusion. While our new expert will most likely rely on some of the same data as
Cabrera (and come to the same conclusions as Cabrera), [d]o we think the expert should make
specific mention of such consistencies?” Small went on to explain to Donziger that he thought
they should attempt to structure the new expert reports in such a way that they might rehabilitate
the tainted Cabrera Report to some degree, so that someone presented with the new reports

“might feel comfortable concluding that certain parts of Cabrera are a valid basis for damages.”

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Donziger has also admitted that the new expert reports were intended to give the RICO
Defendants “an argument” allowing them to “attempt to shut down Chevron’s 1782 efforts in the
US”

192. The link between the fraudulent Cabrera Report and the work of the “new”
experts is made explicit in the retention agreement signed by the Weinberg Group, a consulting
firm, which, in turn, retained the “new” experts. The Weinberg Group’s retention agreement
provides that it was retained for the purpose of “conduct[ing] a comprehensive review of selected
sections of an expert report prepared by Richard Stalin Cabrera Vega,’-——not to produce a new,
independent scientific report. As one co-conspirator has described it, the role of the Weinberg
Group is merely to “provid[e] a submission with their name on it.”

193. The Weinberg Group provided copies of the Cabrera Report to the experts it
retained for use in their own reports. According to Donziger and his co-conspirators, all the
“new expert[s]” needed was the “Cabrera report in and of itself” along with the data that Cabrera
relied upon. As the RICO Defendants and their co-conspirators intended, these “new” experts
then relied heavily on the Cabrera Report. According to Donziger, none of these “new” experts
had “go[ne] to Ecuador,” “did any kind of new site inspection,” “did any kind of new sampling,”
or indeed, did “environmental testing of any kind.”

194. One of the “new” experts, Douglas Allen, for example, made no independent
evaluation of the evidence, instead relying on the unsubstantiated findings contained in the
Cabrera Report. Indeed, the conspirators instructed Allen to use the Cabrera Report as his
“starting point.” He relied entirely on the Cabrera Report for, among other items, the number of
pits requiring remediation. Despite the fact that he “[did]n’t know if there are in fact 917 pits
that require remediation,” he relied on that number anyway—drawn from the fraudulent Cabrera
Report—in developing his own estimate. He relied on the Cabrera Report despite his opinion
that the conclusions in the Cabrera Report are unreliable and that that the report lacked

appropriate citations and references. Allen has admitted, however, that had he known that the

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RICO Defendants and their co-conspirators actually wrote the Cabrera Report, that would have
“bother[ed]” him and affected his expert opinions.

195. Similarly, another “new” expert, Dr. Lawrence Barnthouse, relied on the
standards contained in the Cabrera Report, and “assume[d] [Cabrera] was correctly
characterizing what they were.” Indeed, he has admitted that he was not retained to create a new,
independent report, and further acknowledged that he “couldn’t be completely independent” and
he had not “independently performed all the [necessary] calculations” in his own report because
most of the information he needed was “only available from the Cabrera Report.” Like Allen,
Barnthouse has admitted that he relied on the Cabrera Report despite the fact that he had reached
the conclusion that Cabrera’s numbers were “uncertain” and that methodology he adopted from
Cabrera was an “an unreliable indicator” and was “‘[s]uboptimal, [and] inadequate.”

196. Jonathan Shefftz, another of these experts, did no independent work and
repackaged portions of the fraudulent Cabrera Report. For example, Shefftz assumed without
doing any independent research or analysis that TexPet was required to incur costs and to
remediate pits based solely on the Cabrera Report’s assertion that these costs were necessary.
Shefftz admitted that his report as a whole depends upon “data and cost figures from the Cabrera
Report” and that he had “simply taken [Cabrera’s] volume figures and . . . cost figures and used
those as inputs to [his] calculations.” He explained that he “was not engaging in any exercise to
verify [Cabrera’s] data series or his cost figures. [Sheffiz] was just using them in [his] report.”
Shefftz also conceded that his reliance on the Cabrera Report and its flawed numbers could “lend
an upward bias” to his own results. Furthermore, an annex of Shefftz’s draft report relies heavily
on annex T to the Cabrera report—an annex that was drafted by Stratus, the consultants who
ghostwrote the Cabrera Report.

197. The reports of other experts, such as Carlos Picone, Robert Paolo Scardina, and
Daniel Rourke were written “in collaboration with the Weinberg Group,” the group that had been
hired not to create new reports but rather to repackage the Cabrera Report. Sections of Picone’s

report were written entirely by the Weinberg Group, with only “minimal” editing by Picone.

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Scardina’s report was written largely by a person at the Weinberg Group whose identity and
qualifications are unknown to Scardina himself. Scardina, like the other experts, also relied
exclusively on the Cabrera Report and the Weinberg Group for information central to his report.
198. In summary, the “new” expert reports submitted by the RICO Defendants are
new only in two aspects. First, they bear new names, despite being nothing more than another
repackaging of the Stratus report that was originally submitted as the Cabrera Report. And
second, they purport to support a new damages figure, a remarkable $113 billion, which is a

nearly $90 billion increase over Stratus’s figure, despite offering no new analysis or evidence.

2. Colluding With the Republic of Ecuador to Bring Sham Charges
Against Chevron’s Attorneys

199. As part of their scheme to defraud and extort Chevron, the RICO Defendants and
their co-conspirators conspired with officials from the Republic of Ecuador to advance baseless
criminal prosecutions against Ricardo Reis Veiga and Rodrigo Pérez Pallares, lawyers
responsible for executing the 1998 Final Release that precludes Defendants’ claims against
Chevron in the Lago Agrio Litigation. As co-conspirator Bonifaz explained the strategy to

Donziger and Kohn in 2005:

The day ChevronTexaco’s management becomes convinced that Reiss Veiga [sic]
sold them a bill of goods with his promises that got [rid] of our case, that is the
day on which ChevronTexaco will want to talk. That is also the day that will see

the end of Reiss Veiga’s [sic] corporate career.... Thus we have to destroy his
reputation with ChevronTexaco as an incompetent any way we can to see our case
settled.

200. With criminal convictions in hand, the RICO Defendants and their co-
conspirators and Ecuador could then seek to nullify the release, and “fully leverage the criminal
investigation”—in the media and otherwise—to force Chevron to “settle” the Lago Agrio
Litigation or face a massive judgment. According to Donziger, “[I]f this penal case is brought,
this will be on the wires all over the world and it will really raise the cost to [Chevron].” Indeed,
footage from Crude shows the conspirators admitting that the criminal prosecutions are a means

to exert “personal psychological pressure [on Chevron’s] top executives,” and Donziger’s own

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personal notes make clear that the criminal prosecutions were meant “to keep the hammer over
[Chevron’s] head” and “force [Chevron] to the table for a possible settlement.”

201. The RICO Defendants’ and their co-conspirators’ collusion with the Republic of
Ecuador to procure the criminal indictments has been long in the works. In an email exchange in
August 2005 (which appears to be an excerpt from an ongoing correspondence) among
conspirators Alberto Wray, Bonifaz, Fajardo, Yanza, the Front, and Ecuador’s Attorney
General’s office, Wray wrote, “if at some point we want the Government and the Attorney
General to play for our side, we must give them some ability to maneuver.” Martha Escobar, a
deputy of the Attorney General, responded that both the office and “all of us working on the
State’s defense were searching for a way to nullify or undermine the value of the remediation
contract and the final acta [7.e., the 1998 Final Release]... .”

202. In that same email exchange, Escobar confirmed that the Attorney General was
still determined to prosecute “those who executed” the 1995 Settlement Agreement and the 1998
Final Release, despite the absence of evidence of any wrongdoing: “The Attorney General
remains resolved to have the Comptroller’s Office conduct another audit (that also seems
unlikely to me given the time); he wants to criminally try those who executed the contract (that
also seems unlikely to me, since the evidence of criminal liability established by the
Comptroller’s Office was rejected by the prosecutor... .” The Attorney General later informed
one of the RICO Defendants’ colleagues that “he want[ed] [them] to work together on this
matter” and that, at least initially, “he [did] not want [their] meetings to be made public.”

203. After working together for some time, the RICO Defendants were successful in
getting the Republic of Ecuador to pursue fraud charges related to the remediation against
Chevron in litigation in the United States. When Donziger learned of this, he reveled in their
success: “The Attorney General of Ecuador is now suing Chevron for fraud on the remediation!!
We have been pushing this for over a year, we finally did it !!! This is huge, huge.”

204. | The RICO Defendants and their co-conspirators went to great lengths to hide

their collusion with the Republic of Ecuador, despite the existence of, as the co-conspirators

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themselves described it, “pretty much irrefutable evidence of us collaborating with the
[government] to get Reis Veiga and Perez convicted.” In an email to Donziger and others, one
of the conspirators reminded them that they “had to resort to very sophisticated methods to
disassociate ourselves from the case (Amicus Curiae submitted by third parties etc),” and urged
Donziger and others not to undo this work by associating themselves publicly with the
prosecutions. In an email to the Republic of Ecuador’s U.S. counsel discussing the potential
prosecution, Donziger assured him that an Ecuadorian colleague working on the matter,
“understands the need to keep his contacts with your client’s office totally confidential and non-
public.” Martha Escobar—the deputy Attorney General with whom Wray exchanged emails—
even perjured herself in a deposition taken in an action pending in the Southern District of New
York on November 21, 2006 and denied that she ever had any communications with the
conspirators concerning the Lago Agrio Litigation. But when confronted with her own 2005
email with Wray proving otherwise, she confirmed that she had been acting in that
correspondence at the direction of the Attorney General.

205. The collusion with the Republic of Ecuador to obtain sham criminal charges, and
the extortionate purpose of that collusion, is documented in the film Crude and its outtakes. Ina
January 2007 meeting between Donziger and Kohn captured in the Crude outtakes, in which
they are reviewing materials the RICO Defendants provided to the Ecuadorian Attorney General
in support of criminal prosecutions, Kohn discussed the RICO Defendants’ extortion plan: “So,
again, that may be something that we could facilitate going away at the right time . . . . if they
wanted it to go away.” Donziger replied, “Precisely.” Donziger told Kohn that Chevron ts
alleging a “conspiracy” between them and the Ecuadorian government, to which Kohn
responded, “If only they knew.”

206. On April 26, 2007, President Correa toured the Lago Agrio oil fields with the
RICO Defendants and their co-conspirators. That same day, he issued a press release demanding
the criminal prosecution of the Ecuadorian officials who had signed the 1998 Final Release. On

the following day after hearing this news, Donziger mused as to whether the time might be right

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to “ask for the head of [Chevron’s lawyer Rodrigo] Pérez Pallares—given what the President
said.” Donziger explained: “[H]e’s totally with us.” The next day, on April 28, 2007, in a
national radio address, President Correa echoed the RICO Defendants’ rhetoric, calling
Chevron’s Ecuadorian lawyers traitors and demanding that they, along with the Petroecuador
officials who signed the 1998 Final Release, be criminally prosecuted. In the movie Crude,
Donziger is shown stating that “Correa just said that anyone in the Ecuadorian Government who
approved the so-called remediation is now going to be subject to litigation in Ecuador,” and
adding that those persons who signed the 1998 Final Release “are shittin’ in their pants right
now.”

207. The fact that President Correa called for the criminal indictment of those who
signed the Final Release did not come as a surprise to the RICO Defendants and their co-
conspirators. A month prior to President Correa’s tour of the Oriente, Fajardo met with
Ecuadorian government officials, including Alexis Mera, a Judicial Secretary and chief legal
advisor to President Correa, in which Fajardo asked for Mera’s assistance in providing the
President with a “basis” for “reopen[ing]” the “investigation for . . . the responsible parties.” The
conspirators explained to Mera that, while they could mobilize the public in an effort to overturn
the 1995 Settlement Agreement and the 1998 Final Release, “the official nature of the President
could do much more in this case . . . [and] interest by the Executive Branch[] and pressure on the
Public Prosecutor’s Office ... could do a lot on this subject.” Mera, in response, proceeded to
outline various ways of nullifying the settlement and release. Remarkably, the RICO Defendants
managed to procure Mera’s assistance, and thus collude with the government, despite Mera’s
admission that there was no “sustainable” path to nullification.

208. The RICO Defendants and their co-conspirators made significant efforts to enlist
the support of President Correa and other Ecuadorian governmental officials, holding private
lunch meetings and conferences. Donziger personally met with President Correa on more than
one occasion, and Fajardo and Yanza also met with Correa repeatedly without Donziger in

attendance. After one such meeting with the President, Fajardo reported: “So, the President

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thinks that if we put in a little effort, before getting the public involved, the Prosecutor will yield,
and will re-open that investigation into the fraud of, of the contract between Texaco and the
Ecuadorian Government.” By seeking assistance from Ecuadorian government representatives,
this is precisely the “strategic development” the RICO Defendants ultimately achieved.

209. The plan to procure the criminal prosecution of Chevron’s attorneys included
more than obtaining President Correa’s support. The RICO Defendants and their co-conspirators
also aimed, as called by one of their associates, their “troops [and] artillery” against Chevron’s
attorneys through a series of demonstrations, and they publicly pressured Ecuadorian officials.
As Defendant Yanza proclaimed during a July 31, 2008 press conference, in order to ensure
prosecution, the RICO Defendants and their co-conspirators would “have to take legal actions
against these officials .. . make public denunciations . . . put pressure through the people, all
these mechanisms... .” Yanza warned that “nothing is ruled out.” According to Donziger, this
was part of the conspirators’ strategy of conducting a “guerrilla campaign” against Veiga and
Pallares.

210. And this campaign was successful. As Donziger boasted, “[W]e are kicking
some ass, and it feels awfully good.” Donziger was elated not only because criminal charges
would be useful to the RICO Defendants’ and their co-conspirators’ extortionate scheme, but
also because it would satisfy a personal vendetta. As Donziger described his feelings toward Mr.
Veiga, “Some days, I fantasize about putting my strong hands around Reis Veiga’s neck and
squeezing until he begs for mercy. [ want him to know how it feels to suffer... .”

211. The RICO Defendants’ and their co-conspirators’ objective was finally achieved
on August 26, 2008 when the Ecuadorian government announced criminal charges for fraud
against Ricardo Reis Veiga and Rodrigo Pérez Pallares, the two Chevron attorneys who signed
the 1995 Settlement Agreement and the 1998 Final Release. The charges were issued after two
previous Prosecutors General had determined that there was no evidence of fraud and had

requested that the case be closed. But that was before the RICO Defendants manufactured the

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allegedly “independent” Cabrera Report upon which the Prosecutor General expressly relied
when he filed the charges against Veiga and Pallares.

212. After the sham criminal charges were procured, the RICO Defendants reprised
their “private army” and engaged in direct threats against Veiga and Pérez. On October 5, 2009,
Defendant Yanza, among others, enlisted the help of local citizens in parading crude effigies of
Veiga, Pérez, and other Chevron executives in front of the courthouse in Ecuador. At the
concluding rally, Yanza and others gave speeches and threatened to “kick [Pérez’s] ass” and
“bury [Chevron’s lawyers] in the . . . pit.” The protestors announced the “crimes” of each
Chevron executive and a man dressed as the Grim Reaper mimed beheading each of the effigies
with his scythe before placing the “bodies” in a coffin. The protesters then carried the coffin into
the jungle, dug a shallow grave, and buried the Chevron executives in effigy.

213.  Thecriminal charges against two of Chevron’s attorneys are a direct result of the
collusion between the RICO Defendants and their co-conspirators and the Republic of Ecuador.
The issuance of these baseless charges and the threats of violence against Chevron’s attorneys
were firm but also a thinly veiled extortionate threat to Chevron: If you do not settle the Lago
Agrio Litigation on our terms we will have your employees imprisoned—or worse. Indeed, as
Judge Kaplan of the Southern District of New York noted, evidence shows that Donziger and his
colleagues have “attempt[ed] to procure criminal prosecutions for the purpose of extracting a
settlement [from Chevron],” and that the prosecutions “appear[] to have been instigated by
Donziger and others working with him for the base purposes of coercing Chevron to settle and
undermining a significant element of its defense in Ecuador, the release it obtained from the
[Republic of Ecuador].” Likewise, in 2010, the U.S. State Department reported that “[c]riminal
complaints and arrest warrants against foreign company officials” are used in Ecuador “to

pressure companies involved in commercial disputes.” That is exactly what has occurred here.

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3. Launching Public Attacks on Chevron Based on Misleading
Statements and Lies to Force Chevron to Pay Up

214. Through their own efforts and those of their collaborators, the RICO Defendants
have conspired to manufacture a wave of public criticism of Chevron based on deliberate
falsehoods and misleading statements. Since at least 2006, but with increased intensity since
manufacturing the fraudulent Cabrera Report, they have saturated the public domain with their
false propaganda—using the Internet, radio, television, and film, as well as print media,
including books, newspapers, and magazines. And they have taken this pressure campaign to
U.S. state and federal agencies, seeking their falsely induced assistance in this racketeering
scheme. As conspirator Amazon Watch has explained, the strategy is to “turn up the heat on
Chevron through various means, shareholder resolutions, major media coverage and major
investigations through, for example, the Securities and Exchange Commission.” And Donziger
has proposed that the conspirators use the slogan “Always attacking.” According to Donziger,
the “strategy” is to “increase the cost to Chevron” including the “cost of their sullied reputation,
you know, in the media.” As he explained to one of his associates in preparing for a mediation
with Chevron, “[w]e need to get more press and increase the pressure b/w now and then, to get
the price up.” As one federal judge put it, the “object of the whole game, according to Donziger,
is to make this so uncomfortable and so unpleasant for Chevron that they’ ll write a check and be

done with it.”

a. The Fraudulent Media Blitz

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215. Donziger outlined the RICO Defendants’ and their co-conspirators’ “strategy” of
increasing costs to Chevron by “sull[ying] their reputation” to reporter Peter Maass. In an article
published in Outside magazine, Maass called Donziger’s strategy “attrition warfare: death by
lawsuit.” Donziger told Maass, “This case has to be won both in and out of the courtroom ....
If you had the case without the pressure, you would never get a result.” Maass observed,

“Donziger wants to keep the public pressure on, to make the company so miserable that it throws

in the towel and settles.” This is “guerrilla PR,” and “[rJabble rousing is a vintage Donziger

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tactic.” Increasing the pressure involves maximizing publicity, and Donziger always “does his
best to arrange a good show.”

216. To that end, Donziger recruited Karen Hinton, a public relations specialist, to
create and manage the RICO Defendants’ and their co-conspirators’ campaign of false and
misleading public statements, and to coordinate the efforts to co-opt the media and well-meaning
private citizens in the conspirators’ pressure campaign. Stratus contributed to the effort as well,
developing what Stratus referred to as a “comprehensive press kit.” And political and
communications consultant Chris Lehane was brought on board to help the RICO Defendants
“leverage the criminal investigation of the Chevron executives” through extensive public
relations efforts. In addition to recruiting reporters to cover the story, Lehane and the
conspirators planned to “[b]uild{] off the initial activity, we will want to consider several
targeted specific mini-campaigns all designed to create pressure points on Chevron’s
economics.” These “mini-campaigns” included filing a shareholder lawsuit against Chevron “for
failure to disclose information,” contacting the New York Attorney General “to see whether we
can get Spitzer into the game,” and manipulating students at a “major university that is invested
in Chevron for a divestment campaign.” In an email about hiring a new team member in
Ecuador, Donziger described the ideal candidate as someone who would “raise some hell in
Ecuador,” and that the “job entails f[**]king up every machine you see that has
ChevronTexaco’s name on it.... Being able to manufacture reality a plus.”

217. The conspirators also maintain relationships, in part through the provision of
financial support, with various organizations that distribute false and misleading public
statements to increase the public pressure on Chevron. Some of these organizations are
dedicated to the fraud while others have broader functions, but all are knowing or unknowing
accomplices of the RICO Defendants and their co-conspirators. Foremost among these are
Amazon Watch, RAN, and Defendant the Front, organizations that knowingly operate and
control significant aspects of the pressure campaign and overarching conspiracy to extort a

payment from Chevron.

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218. | The RICO Defendants and their co-conspirators funnel a substantial portion of
their public attacks on Chevron through Amazon Watch, which presents itself to the public as an
independent organization. Donziger has explained the crucial role of this element of the pressure
campaign:

[They have] played an absolutely critical role in this... [[fit weren’t for them,
we would just be a legal case, but because of the work of people who care, you
know, especially Amazon Watch, we’re a campaign that has a legal case. And I
think... that, um, the pain Amazon Watch can cause Chevron in many respects Is
greater than the pain we can cause....

The RICO Defendants coordinate their efforts with Rainforest Action Network, whose “direct
action” campaigns Donziger describes as “[b]rutally personal.”

219. Amazon Watch dutifully plays its role, fully understanding that “the target of
many of the... campaign releases is Chevron itself rather than the media” and working to “get
under Chevron management’s skin” as much as possible. In a proposal seeking $1 million in
funding from the RICO Defendants and their co-conspirators, Amazon Watch described the
Lago Agrio Litigation as nothing less than a chance to “change how the oil industry operates,”
and offered to join what it saw as “an existing and well-developed campaign structure based in
the U.S.” Amazon Watch described its goal as putting Chevron’s management and board, “in a
position where, to survive intact in American society as a reputable company with a competitive
edge, they will be forced to settle the lawsuit.” It then set forth how they would “threaten” the
“personal comfort levels” of Chevron management, who currently “live in the Bay Area with
impunity,” how Chevron’s directors “are particularly vulnerable to direct pressure and pressure
via secondary targets,” and how Amazon Watch would create a “task force” that will be “a
constant and daily source of friction for Chevron[.]” Amazon Watch also prepared a visual
representation of their strategy, a chart describing various pressure tactics, including the use of
government agencies, all in a circle surrounding “Chevron.”

220. | Amazon Watch’s proposal is in line with Donziger’s strategy to “keep attacking,
keep pressure on, etc.” Donziger has further explained his “cost-benefit” calculation of the

pressure campaign: “I also think that if you run... the costs in terms of the hassle, the

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management time, reputational . . . [hJarm, dealing with the board, looking bad, having your kids
...in school, have friends who say, hey, what’d your daddy do in Ecuador? .... [ think all of
that factors into it in an af—extremely significant way, much more than th—the hard-core costs,
... out-of-pocket expenses and stuff—I think that’s where they’re most vulnerable.”

221. The RICO Defendants rely on Amazon Watch to carry out many of the public
attacks against Chevron, and the RICO Defendants closely monitor, frequently revise, and
sometimes entirely ghostwrite, the press releases and letters that Amazon Watch issues. When
an Amazon Watch representative complained to Donziger that Amazon Watch was “not here to
simply rubber-stamp press releases,” and dared to tell him that prior experience showed that
Amazon Watch “needs to carefully fact-check your press releases in order to safeguard our own
credibility,” Donziger replied sharply. He stated that he and the other lawyers were “the final
authority,” and that, “We can be collaborators, but we are not equal partners.” The issue that set
off Donziger’s tirade is particularly telling: Amazon Watch had wanted to provide Cabrera’s
educational credentials in a press release about him. Donziger’s response: “The issue about
Cabrera’s qualifications is a good example. He doesn’t have a doctorate. I don’t want to
highlight that. So I don’t mention what degree he has in the press release. Obviously if he had a
doctorate it would be in there, don’t u think?” In response, the Amazon Watch representative
called Donziger’s tactic an “unsubtle and unnecessary obfuscation” and “[b]ombast and
hoodwink.”

222. By using Amazon Watch as their proxy, the RICO Defendants and their co-
conspirators can also deliver their extortionate threats to Chevron using more direct language
than they are willing to use themselves—at least publicly. In “turn[ing] up the heat on Chevron,”
the RICO Defendants and their co-conspirators have made their extortionate demands explicit in
direct communications with Chevron. For example, on December 17, 2009, Soltani wrote a
letter “on behalf of Amazon Watch” to then-incoming Chief Executive Officer John Watson in
which she cited the fraudulent $27 billion damages assessment from the Cabrera Report, and

threatened, “Until Chevron takes meaningful steps to resolve this case, it will continue to play

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out in the courts of Ecuador, as well as in the global court of opinion.” She went on to state,
“We don’t make these suggestions lightly or symbolically.”

223. | The RICO Defendants and their co-conspirators use all available means to
publish their lies and half-truths in the “global court of opinion.” They regularly disseminate
press releases over the Internet, through electronic mail, and on newswires. They appear on
television and radio broadcasts. Through various organizations they fund, the conspirators
operate or cause to be operated websites that attack Chevron at www.chevrontoxico.com,
www.texacotoxico.org, www.amazonwatch.org, www.chevroninecuador.com,
truecostofchevron.com, thechevronpit.blogspot.com, and www.changechevron.org. The
conspirators also promote their scheme through social media tools, sending messages to
supporters through Twitter (@changechevron) and Facebook, and by posting defamatory
comments and false statements (frequently using pseudonyms) in response to articles written on
the websites of newspapers, blogs and other commentators. They have helped fund at least one
book of photography and a documentary film, promoting misleading images of environmental
impact and poverty. And the conspirators’ attacks on Chevron have not been limited to words
and pictures: They have arranged or threatened marches and demonstrations at Chevron
shareholder meetings, places of business, and in front of the homes of individual Chevron
employees and board members.

224. The RICO Defendants’ false statements are made in support of appeals for
funding, including through a link to make payments directly on their websites, at
http://chevrontoxico.com/take-action/donate.html and at
https://www.gifttool.com/donations/Donate?ID=38& VER=1& LNG=EN (via a link from
http://www.amazonwatch.org). Again, however, the RICO Defendants are careful to use the
supposedly independent Amazon Watch as a front for their efforts. At chevrontoxico.com, the
statements soliciting donations by mail request that they be sent to Amazon Watch at its address
in San Francisco, California. Kohn and Kohn Swift have made substantial donations to Amazon

Watch. In 2009, for example, Kohn reported that Kohn Swift had contributed over $184,000 to

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Amazon Watch and that sum did not include the donations he had personally made to Amazon
Watch. On information and belief, the conspirators use funds received in this manner to
continue to prosecute their unlawful scheme to defraud Chevron. In fact, Amazon Watch’s tax
returns reveal that it has directed at least $90,000 in donations to the Front since 2002.

225. | The RICO Defendants and their co-conspirators use other proxies besides
Amazon Watch to peddle their propoganda. For example, when one documentary filmmaker
came to Ecuador to shoot a movie about Lago Agrio, Donziger made sure that the RICO
Defendants had a say in how it was made and how it was marketed, telling the filmmaker, “It is
critically important I be brought into the strategy because it could affect the legal case.” The
filmmaker subsequently gave Donziger access to the production plans. The RICO Defendants
recruited another filmmaker, Joseph Berlinger, to make Crude, a purported documentary about
the Lago Agrio Litigation that was released in 2009. The film, according to Donziger, shows
how he “manipulate[d] the trial.” While Berlinger has claimed that he intended his film to be
“fair,” he and his team worked closely with Donziger and others in the planning, shooting,
editing and distribution of the film, and assured Donziger that he would be favorably presented
in the final product, stating, “We will live up to our end of the bargain.”

226. Berlinger altered the film before release, at the RICO Defendants’ and their co-
conspirators’ request, to hide the relationship between the conspirators and Carlos Beristain, who
was publicly disclosed as the author of a major portion of the Cabrera Report, as discussed in
paragraph 305, infra. This was a critical change, because public disclosure of the prior
relationship between the RICO Defendants and Beristain could have been the visible tip that
would alert Chevron and the public to the mammoth iceberg of collusion between the RICO
Defendants and Cabrera. Well aware of this risk, Fajardo told the filmmakers that disclosure of
that relationship was, “so serious that we could lose everything,” and that “the way it is, the
entire case will simply fall apart on us.”” He thus had the changes made even though they were

“costly.”

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227. A few months later, when Fajardo visited the University of Oregon, he expressed
alarm at his discovery that students there had obtained copies of the version showing Beristain,
and told Donziger that they had a “serious problem,” although he assured Donziger that nobody
at Oregon knew that there was a “conflict.” And when the RICO Defendants learned that CNN
intended to show clips from Crude, they and the filmmaker engaged in a scramble to ensure that
the Beristain scenes were not shown, obliquely instructing CNN, “Please do NOT include any
footage during Trudie’s visit to the Cofan community that features a man wearing a white t-
shirt.” Berlinger has also stated that he expected—as did the RICO Defendants—that the
documentary Crude could “have some real-life impact on a decision or a potential settlement.”
Through Section 1782 discovery proceedings authorized by this Court, Chevron has obtained a
substantial volume of outtakes from Crude, outtakes that make clear the scope of the RICO
Defendants’ lies and stonewalling, and from which many of the direct quotations in this
Amended Complaint are taken.

228. Although Donziger and his conspirators were involved in the making of the film
Crude, they knew that the film would be far more useful to their cause if it appeared
independent. Donziger emphasized to Berlinger during filming, “I do not want to been seen as
helping [you] .. . in front of the Chevron lawyers.” But behind the scenes, one of Crude’s major
financial backers was Russell Deleon, a law school friend of Donziger who has also been a major
financial supporter of the Lago Agrio Litigation. Upon Crude’s completion, the conspirators
promoted and relied upon the released version of the film in their pressure campaign against
Chevron, and to raise money for that campaign. At http://chevrontoxico.com/take-action/crude-
house-party.html, they urge readers to hold Crude “screening parties” and to ask for donations
(for the RICO Defendants) at those events. On that web page, the RICO Defendants assert, “[i]n
order to change Chevron, one of the largest and dirtiest oil companies on the planet, we need to
build a movement a million times more powerful than them. Crude will educate and inspire

thousands of people to commit to changing Chevron in the coming weeks and months.”

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b. Misrepresenting the “Independent” and “Neutral” Cabrera
Report
229, In all of these communications media, the conspirators have repeated their false

claims that Cabrera offers an “independent” and scientific perspective which “proves” Chevron’s
liability. And in doing so, the conspirators have sought to increase pressure on Chevron and
thereby extort a payment from it. For instance, there is a lengthy summary of the Cabrera Report
on chevrontoxico.com, which never discloses the RICO Defendants’ role in writing the report,
and concludes with the following: “A final decision on Chevron’s liability and damages will be
made by the trial judge. However, courts in Ecuador generally give wide deference to reports
prepared by independent experts.”

230. When challenged, the RICO Defendants have repeated their claim that Cabrera
is independent. For example, on April 3, 2008, Fajardo stated, in a press release issued by
Amazon Watch, “Chevron’s claim that Professor Cabrera is cooperating with the plaintiffs is
completely false,” and “Chevron is frightened by Cabrera precisely because he is an independent
and credible expert.” The RICO Defendants’ guiding principle, as Donziger wrote to Fajardo, is:
“If you repeat a lie a thousand times it becomes the truth.”

231. On or about May 31, 2008, shortly after the RICO Defendants caused their own
secretly written report to be filed as Cabrera’s, Kohn appeared on Fox News, touting Cabrera’s
independence. He not only claimed that Cabrera was an “independent expert appointed by the
judge,” but then falsely stated that Cabrera “analyzed all of the evidence from all of the parties
from both sides,” to come up with the damages estimate of “between eight and sixteen billion.”
Kohn did not reveal that his co-conspirators ghostwrote Cabrera’s report.

232. After the conspirators drafted the update to the Cabrera Report in November
2008, increasing the total damages assessed to $27 billion, the Front issued a press release on
December |, 2008, falsely extolling the Cabrera Report as an “independent” assessment by the
“Special Master’ based on the review of the “trial evidence—the vast majority of it provided by

Chevron.” Once again, no mention was made of the fact that Cabrera’s report and its update had

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actually been written by the RICO Defendants, or that the majority of materials upon which it
was based were not “trial evidence” at all, but that enterprise’s files.

233. The RICO Defendants and their co-conspirators, in addition to portraying
Cabrera’s report as independent to the media, also used the fraudulent “evaluation” drafted by
Stratus to enhance the credibility of the Cabrera Report in the media. For instance, on December
1, 2008, Hinton and Amazon Watch issued a press release about the Stratus report entitled
“Chevron’s $27 Billion Liability in Ecuador’s Amazon Confirmed by Team of Independent
Scientists.” That press release states that “[t]he independent expert report was prepared by
Richard Cabrera, an Ecuadorian environmental scientist appointed by the court as a Special
Master who has worked mostly for oil companies in preparing environmental damage
assessments,” and quotes an endorsement from Defendant “Douglas Beltman, a scientist at
Stratus Consulting who, along with a team of scientists, reviewed the expert’s report on behalf of
the [Lago Agrio] plaintiffs.” It is unsurprising that Stratus employees “endorsed” the report,
given that they wrote it.

234, Stratus’s involvement in the media campaign was envisioned as early as the
initial August 2007 contract between Kohn Swift and Stratus contemplating that Stratus would
engage in “discussions with the media” in addition to performing other tasks to further the
conspiracy. As an example, Defendants Beltman and Stratus were involved in orchestrating the
RICO Defendants’ response to Chevron’s allegations that Cabrera’s supplemental report showed
evidence of collusion between Cabrera and the Lago Agrio Plaintiffs. Indeed, Beltman sent
Donziger draft language denying that the Lago Agrio Plaintiffs were in collusion with Cabrera
and claiming that “Cabrera’s November response to the plaintiffs is clearly his own.” This
response became part of the RICO Defendants’ overall efforts to portray the Cabrera Report as
independent.

235. Now, despite the unequivocal evidence that the RICO Defendants’ and their co-
conspirators’ own team of experts ghostwrote Cabrera’s report and its update, the conspirators

continue to spread the lie that Cabrera is independent. In May 2010, in response to a court filing

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by Chevron alleging collusion between the RICO Defendants and Cabrera, Fajardo again denied
any wrongdoing, claiming that Cabrera had worked independently. When asked about the
involvement of Stratus, Fajardo told the media, “They are our technical advisers in the United
States, and they have worked with us for some years, but they have never interfered in the trial.”
Yet the day before he made that statement, he had written a review of Chevron’s filing for his
co-conspirators in which he conceded that it was “true” that “plaintiffs (that is, us) have worked
in collusion with expert Cabrera.” The RICO Defendants and their co-conspirators still continue
to use the Cabrera Report as a jumping off point for their most recent claim for $113 billion in
damages.

236. | The RICO Defendants’ and their co-conspirators’ far-reaching campaign to
portray the fraudulent Cabrera Report as that of an independent court expert has been largely
successful, and numerous unsuspecting media outlets have repeated uncritically the RICO
Defendants’ false refrain about Cabrera’s independence. An April 3, 2008 Reuters article, for
example, stated: “An independent environmental expert told a court in Ecuador that the oil
company Chevron should pay $7 billion to $16 billion in compensation for environmental
damage in the country.” And in a May 2009 broadcast, the television show 60 Minutes reported
on the Lago Agrio Litigation, discussing the Cabrera report in detail, but never suggesting that
the RICO Defendants had actually secured Cabrera’s appointment and written his report. This
was undoubtedly because the RICO Defendants had never disclosed this to 60 Minutes. To this
day, the RICO Defendants and their co-conspirators maintain a link to the 60 Minutes broadcast
of this misleading report on one of their websites. As the conspirators had hoped, then, the
mainstream media has bought the propaganda and played the role the conspirators hoped and
intended in the scheme to extort a payment from Chevron. And in fact, their hoodwinking of the
mainstream press benefits the conspirators doubly in that it allows them to republish—without
correction—the media outlet’s false statements about the Cabrera Report, as they did with the

Reuters story described above.

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237. | The RICO Defendants’ and their co-conspirators’ deception of the national and
international media has gone beyond prompting the republication of lies about Cabrera’s
independence. For example, Defendants Fajardo and Yanza were awarded the Goldman
Environmental Prize, “the world’s largest prize program for grassroots environmental activists,”
and Fajardo was awarded the CNN “Heroes” award. The press release announcing the Goldman
Prize echoed the RICO Defendants’ misstatements and half-truths, including those regarding

Cabrera’s independence.

c. The RICO Defendants Make False Statements to U.S. State
and Federal Government Officials

238. | The conspirators have sought to open as many fronts as possible in their
offensive against Chevron, pursuant to their strategy to generate maximum pressure on Chevron
to drive it into a coerced settlement. The RICO Defendants and their collaborators have made
false and misleading statements in the United States to state and federal officials, seeking to
enlist their (unknowing) aid in the fraudulent scheme through investigations and other official
acts. Since 2008, the RICO Defendants have continuously touted the findings in the so-called
“independent” Cabrera Report as evidence in support of their demands for official action.

239. The conspirators have engaged in a long-running campaign to convince the SEC
to investigate Chevron for allegedly violating disclosure obligations. They have attempted to
obscure their role in this campaign by using Amazon Watch as their front, but Donziger has
admitted that he wrote several of the letters which purportedly came from Amazon Watch. On
January 30, 2006, at the RICO Defendants’ behest, Amazon Watch wrote Christopher Cox, then
Chairman of the SEC, requesting that he “open an investigation into the Chevron Corporation
(CVX) for violating SEC regulations governing disclosure obligations to shareholders in
reference to litigation against the company over an oil-related environmental catastrophe in
Ecuador.” Relying on David Russell’s $6 billion damages assessment (which he had already
disavowed), Amazon Watch accused Chevron of failing to inform its shareholders of its

“staggering potential liability.” The letter went on to mischaracterize the lawsuit as a “class

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action,” and falsely claimed that Chevron had “been forced to admit at trial that Texaco...
dumped over 18 billion gallons of toxic water into the rainforest... .” Although Donziger
personally informed Amazon Watch Executive Director Soltani that the Russell report was
grossly excessive (see paragraph 107, supra), Amazon Watch never corrected its false statements
to the SEC or Chevron shareholders. In fact, the next month, Soltani and Amazon Watch sent a
follow-up letter, accusing Chevron of distorting the report of the “settlement experts” from the
then-ongoing “judicial inspection” process—the same proceeding in which the conspirators
submitted the false expert report with Dr. Calmbacher’s fraudulently obtained signature. Shortly
thereafter, Donziger reported to Lehane that, “The SEC is actively investigating [Chevron’s]
failure to disclose this liability in its public filings—I know this for a fact, because I was just
interviewed by an SEC investigator last week[.]”

240. On March 18, 2008, Amazon Watch reprised this effort, writing another letter
signed by Soltani to the SEC. In this letter, written weeks before the fraudulent Cabrera Report
was filed but obviously well-aware of its secret contents, Soltani emphasized the forthcoming
report, and the independence of its purported author, “an independent special master” that had
prepared his report “mak[ing] use of all evidence collected” with “a large team of technical
experts under [his] supervision.” The letter demanded an investigation and “the imposition of a
penalty on Chevron for failing to comply with its obligations.” Soltani argued “that Cabrera is
being attacked by Chevron precisely because he is qualified to conduct a credible damages
assessment.” Soltani and Amazon Watch made these statements knowing that Cabrera’s report
was being ghostwritten by Stratus and the RICO Defendants’ other consultants. Indeed, despite
knowing that the Cabrera Report was a fraud, Soltani accused Chevron of “contriv[ing] claims of
procedural unfairness” and called Chevron’s position that the process had been unfair
“ludicrous.”

241. When Donziger heard that the SEC might actually be investigating Chevron, he
wrote that this was a “huge victory for AW [Amazon Watch].” He instructed his team to “keep

feeding them [the SEC] stuff,” even though, he wrote, “I sort of feel this is bogus.”

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242. The RICO Defendants and their co-conspirators have made these same false
statements to other federal agencies. Ina letter dated April 29, 2008, to the U.S. Trade
Representative, Defendants Yanza and Fajardo called Cabrera “an independent court-appointed
special master,” and misstated that “the bulk of the evidence relied on by the special master,
Professor Richard Cabrera, was provided by Chevron itself via its own sampling evidence.”

243. And in April 2009, Donziger made false statements concerning Cabrera’s
purported “independence” in a statement before the U.S. House of Representatives. Donziger
falsely stated that “[t]he best and most recent independent estimate available of the human health
impact of this contamination is provided by the expert appointed by the court, Richard Cabrera.”
(emphasis added). Donziger also testified that “[n]umerous qualified scientists have reviewed
this report and found its conclusions reasonable and the damages assessment consistent with the
costs of other large environmental cleanups.” At no time did Donziger disclose the fact that the
“qualified scientists” were his co-conspirators Stratus, Beltman, Maest, and Chapman, who
planned and secretly wrote the “Cabrera” Report.

244. The RICO Defendants have also made false statements to individual members of
Congress. On December 19, 2008, Defendant Beltman provided United States Congressman Jim
McGovern’s office “some talking points” for an interview with the Los Angeles Times, falsely
telling the Congressman’s staff that “[t]he Court Expert reviewed available scientific data and
concluded that people in the area suffer from many illnesses caused by the contamination,
including cancer.” On January 31, 2009, Beltman forwarded Cabrera’s reports, stating “[t]he
Court Expert’s March 2008 report summary is attached,” and that “[a]lso attached is the
November 2008 response to the [Lago Agrio] Plaintiffs questions that was written by the Court
Expert.” Beltman failed to disclose that Stratus and the other RICO Defendants actually
ghostwrote the responses to the Lago Agrio Plaintiffs along with Cabrera’s initial report.

245. In addition, the RICO Defendants have extended their campaign to state officials.
In 2009, the RICO Defendants made fraudulent allegations about Chevron to the New York

Attorney General, and provided that office with false information that Cabrera was a neutral

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“court-appointed expert” and that the RICO Defendants had played no part in creating the
exorbitant $27 billion figure. Their intention was to generate an official inquiry or investigation,
which would itself bring direct pressure on Chevron, and which the RICO Defendants could use
to reinforce their own pressure campaign. On May 4, 2009, in reliance upon the RICO
Defendants’ false statements, the New York Attorney General did just that, sending Chevron a
letter inquiring about Chevron’s disclosures related to the Lago Agrio Litigation and requesting a
“written response” to several questions within a week. In the letter’s first paragraph, the New
York Attorney General stated, “As I understand the allegations, a technical expert has estimated
that if the plaintiffs prevail in the litigation, damages assessed against Chevron may be as high as
$27 billion.” The RICO Defendants seized on this outcome, referring to the letter in multiple
press releases as an “investigation.” In a May 25, 2009 letter to Chevron shareholders ostensibly
from Atossa Soltani and other members of Amazon Watch, the conspirators claimed that “New
York State Attorney General Andrew Cuomo has opened a probe of the company,” and
“Chevron is now the target of an official fraud investigation by the New York State Attorney
General.” And, precisely as the RICO Defendants had intended, the New York Attorney
General’s letter was noted in the press, and it generated media coverage suggesting that Chevron
had “mishandled” the matter. Industry publication Oilgram news stated that the campaign was
having the intended effect, reporting, in reference to the May 4 letter: “Analysts seem mixed on
what the Ecuador fallout ultimately may mean to Chevron but appear to agree there will be at
least a short-term knock to the stock price.” It quoted an analyst with OppenheimerFunds, Inc.

stating, “I would settle and cut my losses.”

d. The Conspirators Attempt to Manipulate Chevron’s Stock
Price to Coerce a Favorable Settlement

246. To increase financial and public pressure on Chevron to pay off the RICO
Defendants through an extorted settlement of the Lago Agrio Litigation, the conspirators have
sought to manipulate and depress Chevron’s stock price by targeting Chevron’s shareholders,

potential investors, and stock analysts with their lies and half-truths. The objective, as expressed

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by Donziger, was to cause a “mass sell-off of billions in [Chevron] stock.” In furtherance of
their scheme, the conspirators have staged protests at Chevron’s shareholder meetings and at the
homes of members of Chevron’s Board of Directors, and have issued false and misleading
propaganda to Chevron’s shareholders about its liability in the Lago Agrio Litigation. In each
instance, they have argued that the $27 billion damages assessment is independent and
legitimate, and thus represents a major risk to Chevron’s share value. Donziger described these
pressure tactics on shareholders as one of the “key cards we can play.”

247. The RICO Defendants’ strategy of targeting Chevron’s shareholders is stated in
their public comments and on the websites they operate, which contain material aimed directly at
investors. At the website changechevron.org/for-investors, operated by co-conspirator RAN, the
conspirators claim “Chevron’s current brand of operations exposes the company (and its
investors) to great financial, reputational, and environmental risks.” In reference to the damages
assessed in Cabrera’s report, the conspirators refer to “staggering liabilities,” and suggest that
Chevron has not “adequately warned shareholders about the financial risks the company faces in
the Ecuador lawsuit.” The conspirators describe these activities on their website: “To pressure
Chevron to do the right thing in Ecuador, we engage in a variety of tactics. In the past few years
we have... [a]lerted Chevron’s shareholders to the company’s lies and omissions regarding the
case in Ecuador, a case in which a ruling against Chevron would dramatically threaten the value
of those shareholders’ investments.” And in August 2008, Donziger commissioned a detailed
analysis of “various options for a more proactive and engaged strategy to put pressure on
Chevron via public markets.”

248. For example, shortly after Cabrera filed his initial report, on or about May 31,
2008, Kohn appeared on a Fox News segment touting the “independent” Cabrera Report as a
reason for Chevron shareholders to be concerned. In that interview, Kohn insinuated that
Chevron was hiding information regarding Cabrera’s “independent” damage assessment, stating
“shareholders were [recently] informed for the first time of even the existence of the case

although the original case was filed in the U.S. in the 90s.” He then warned that “shareholders

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should be concerned about the image of Chevron.” At no point did Kohn explain that his co-
conspirators had actually ghostwritten Cabrera’s supposedly independent report.

249, In the face of allegations that the RICO Defendants colluded with Cabrera, in a
press release issued by the Front on February 13, 2009, Fajardo is quoted as saying that such

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allegations were “‘false and defamatory’” and claimed that it would “‘expose Chevron
shareholders to additional liability.” And in an April 2008 press release issued by the Amazon
Defense Front, Fajardo accused Chevron of failing to disclose to shareholders that Ecuador’s
Attorney General had filed a formal complaint to the U.S. Department of Justice, and that “[t]his
is part of [a] conscious strategy to try to discredit a trial process that Chevron knows it is losing
because of the evidence.” And as recently as December 21, 2010, the Front issued a press
release quoting Fajardo as saying, “Chevron’s Board of Directors cannot continue to ignore the
mounting evidence of illegal activity and fraud on the part of the company’s legal team in the
United States and in Ecuador.... We intend to seek full redress of the harm that has been done
in the name of Chevron’s shareholders and to hold accountable all individuals in Chevron who
have participated in this unlawful scheme.”

250. The conspirators have also communicated directly with Chevron shareholders
and influential analysts on numerous occasions. On May 25, 2009, Amazon Watch sent a letter
signed by Soltani to Chevron shareholders, asserting that Chevron had made “false, misleading,
or incomplete” filings with the SEC, and quoted analysts from Barclays and Potomac Research
stating that the litigation was hurting Chevron’s stock price. As with most of the conspirators’
public statements since April 2008, the letter relied upon an “independent court damages
assessment,” but did not disclose that the RICO Defendants and their co-conspirators themselves
had secretly written that “assessment.”

251. Donziger and his co-conspirators have also personally lobbied analysts,
including in personal meetings, and made fraudulent misrepresentations with the intent that their
misrepresentations would be reported as fact by these analysts, and that these reports would

decrease Chevron’s stock price. On May 11, 2009, for example, Donziger and his co-

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conspirators met in New York with the Managing Director of Oil & Gas Equity research at UBS,
and provided him with copies of the Cuomo letter, the Cabrera report and supplemental report,
and the fraudulent “review” of that report by Stratus, all intended to convey the impression that
Cabrera’s report was independent and valid. Also involved in this effort was co-conspirator
Daniel Orlow, described by the RICO Defendants as “an investment advisor who works with the
legal team that represents the Amazonian communities,” who made repeated public statements
shortly after the UBS meeting on behalf of the RICO Defendants such as: “The pressure is
increasing on Chevron’s management over the uncertainty surrounding a very significant
potential environmental liability in Ecuador,” and “Our team is being contacted repeatedly by
shareholders and analysts who are concerned that Chevron management is not fully and honestly
disclosing the company’s exposure in Ecuador .... There is a real concern that Chevron is not
playing it straight and that it might have overpaid for Texaco.”

252. In another effort to influence Chevron’s share price, the conspirators have
instituted a “Buy Freeze” campaign in which they have contacted investors directly and, relying
on false and misleading statements about the results of the site inspections and the criminal
prosecutions and government inquiries that the conspirators have instigated, urged the investors

not to buy Chevron stock. Amazon Watch describes the campaign as follows:

Amazon Watch is contacting institutional and individual shareholders — in
particular, socially responsible investment community (SRIs) and public
employees, teachers and university pension funds to urge them to join the buy
freeze. The trial court in Lago Agrio, Ecuador, has found shocking levels of life-
threatening toxins at dozens of former Chevron production sites in Ecuador....

Now Chevron is being accused of fraud in Ecuador for lying about the results ofa
limited remediation it did in the mid-1990s....

As aresult, Ecuador’s Attorney General has asked the U.S. Department of Justice
to investigate Chevron’s alleged fraud. The Securities and Exchange Commission
already is probing the company for failing to disclose the potential liability to
shareholders.

Amazon Watch concealed the fact that it was the RICO Defendants and their co-conspirators

who actually wrote the Ecuadorian Attorney General’s report.

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253. The conspirators have also staged protests at several of Chevron’s annual
shareholder meetings. As shown in the film Crude, these protests, while designed to appear to
be grassroots, community events, are actually carefully planned and literally scripted by
Donziger and his co-conspirators.

254. In addition, the conspirators have lobbied large institutional investors to support
Chevron shareholder resolutions designed to bring support for the conspirators’ lies and to add
additional pressure on Chevron. For example, Stratus and Amazon Watch were involved in
drafting a 2009 shareholder resolution, offered by the Office of the Comptroller of New York
City as the custodian and trustee of certain pension funds. On December 1, 2008, Mitchell
Anderson of Amazon Watch emailed Beltman of Stratus with the subject line “2009 Shareholder
Resolution — Urgent Update” and stated that “[w]e need to make some changes quickly to the
below paragraph, given the new figures released by the court appointed expert.” Beltman
provided the higher numbers from Cabrera’s revised report, which were then included verbatim
in the shareholder resolution proposed by the funds the next day. That resolution provides that a
“court-appointed expert in the Ecuadorian litigation has recommended that Chevron be held
liable for up to $27.3 billion in damages,” but fails to explain that Stratus and the other RICO

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Defendants and their co-conspirators secretly drafted the “‘court-appointed expert’s” report
finding Chevron liable.

255. The conspirators have promoted their involvement in drafting shareholder
resolutions that seek to draw attention to Cabrera’s finding of liability, but, again, without
disclosing the RICO Defendants’ and their co-conspirators’ roles in drafting his report. For
example, on April 8, 2009, after the SEC declined to issue a no-action letter to Chevron
regarding one of the conspirators’ shareholder resolutions, Hinton and Amazon Watch issued a
press release describing the resolution as, “a high-profile resolution that threatens to focus
attention on the company’s record-breaking $27 billion environmental liability in Ecuador.”

256. | The Wall Street Journal has reported that the RICO Defendants’ statements

about the Lago Agrio Litigation, and, specifically, Cabrera’s assessment of $27 billion in

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damages has had its desired effect on Chevron’s share price: “The possibility that a judge may
later this year demand damages as high as $27.5 billion, roughly one-fifth of Chevron’s market
capitalization, appears to have spooked some investors.”

257. | The Front and Hinton have touted negative analyst reports regarding Chevron on
the website, chevrontoxico.com. For example, on May 26, 2009, the conspirators published an
article stating that “Oppenheimer, in a report dated May 4th [2009], said the $27 billion claim
from Ecuador ‘could depress the stock until a settlement is reached . . . the sooner [the case] is
removed, the better off shareholders will be’” and that “Barclay’s called the Ecuador case a
‘drag’ on Chevron’s stock value.”

258. And on August 24, 2010, FOXBusiness reported that, “the oil company has lost
much of its gains over the past few weeks as it continues to fight a lawsuit in Ecuador that
alleges Texaco, acquired by Chevron in 2001, wrecked portions of a jungle while drilling for oil
in the 1970s and 1980s.” The conspirators published this article in its entirety the next day at the
chevronpit.blogspot.com.

259. Above all, however, the RICO Defendants’ and their co-conspirators’ false
statements, harassing conduct, and lobbying efforts with media, government, shareholders and
private individuals are all aimed at one ultimate objective—forcing Chevron to pay the RICO

Defendants and their co-conspirators billions of dollars to make them stop.

e. The RICO Defendants Falsely Accuse Chevron of Murder to
Generate Outrage and Force Chevron to Pay

260. | The conspirators have made numerous public statements stating or implying that
Chevron is guilty of murder. This claim is false and has been made intentionally and without
any basis whatsoever. The RICO Defendants and their co-conspirators’ intent in spreading this
lie is to generate great outrage and disgust among the public and activists and in the media, all in
furtherance of their extortionate conspiracy.

261. Defendant Fajardo and his co-conspirators have attempted to capitalize on the

violent murder of Fajardo’s brother, Wilson Fajardo. They have repeatedly implied that Chevron

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was responsible and claimed that there has been no police investigation into the crime. Yet
Fajardo knows this to be false. In a written statement made to the District Prosecutor as part of
the extensive investigation into his brother’s murder, Fajardo himself provided the names and
addresses of the men he believed to be his brother’s murderers, details concerning the place and
circumstances of the murder, and, most importantly, a detailed account of the prior bad blood
between the alleged murderers and Wilson Fajardo, including prior threats and an attempt by one
of the men to stab his brother a few days earlier. There is no mention in this statement of
Chevron or Texaco or any connection to the Lago Agrio Litigation.

262. Despite this statement concerning the details of Wilson Fajardo’s death and his
knowledge that Chevron had nothing to do with it, Fajardo has falsely and intentionally implied
that Chevron was responsible. For example, on April 22, 2008, Fajardo made the following
statement on Ecuadorian TV: “I can’t say that it was Texaco that did it, but I can’t say the
contrary. This sort of thing was never investigated. In other words, there’ve been many things, a
lot of pressure, a lot of persecution in this case, which leaves a lot to be seen.” And on August
24, 2009, Fajardo said to Publico, “I have been threatened many times and one of my brothers
was killed by hit men, but | don’t have evidence that Chevron was behind his killing.”

263.  Fajardo’s co-conspirator Hinton has perpetuated these falsehoods in comments
she posted on Politico.com on November 16, 2009, in which she stated that “no one knows who
murdered [Fajardo’s] brother,” and the death happened when Fajardo “and other members of the
[Lago Agrio] plaintiffs’ legal team had received a number of anonymous death threats connected
to the work on the case.” These statements are false and Fajardo and Hinton knew at the time
that they were false. Fajardo knew that his brother’s death had been investigated and he knew
that Texaco and Chevron had nothing to do with it. Yet he lied about it on television, and Hinton
spread that lie.

264, Even though he identified suspects in his brother’s murder and the murderers’
motives for killing his brother, Fajardo has falsely implied that the killers mistook Wilson

Fajardo for Defendant Fajardo himself to create the impression that Chevron had attempted to
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“assassinate” Fajardo. For example, in a May 2007 article in Vanity Fair magazine concerning
the case against Chevron, Fajardo claimed that he was being followed and that “the killers had
made a mistake.” Donziger has taken this outrageous claim all the way to the United States
Congress. In a statement before the Tom Lantos Human Rights Commission, Donziger asserted
that the “team of lawyers and advocates fighting Chevron in Ecuador’s courts over clean-up
responsibility have suffered harm in retaliation for exercising their legal rights{.]” And the first
“fe}xample of this retaliation” he offered the committee was: “The lead lawyer for the rainforest
communities, Pablo Fajardo, has been subjected to death threats. A brother of Mr. Fajardo was
murdered in 2004, about a year after the trial began, under mysterious circumstances that some
think was a case of mistaken identity.” Similarly, in a particularly offensive scene in Crude set
at Wilson Fajardo’s grave, Defendant Fajardo linked his brother’s “assassination” to the “first
judicial inspection of the Texaco case” and falsely said that the killers “were looking for me.” In
another scene, he “joked” that he kept a gun in his house “[flor when Texaco comes.” These
knowingly false statements are intended to leave the false impression that Chevron is not only
responsible for the murder of Wilson Fajardo, but seeks to kill Pablo Fajardo as well.

265, The outrageous attacks on Chevron linking it to murder are just more of the
RICO Defendants’ thinly veiled threats to Chevron: Pay up, or we will continue our campaign
of lies, fraud, and corruption.
C. The Conspirators’ Campaign of Lies and Obstruction in U.S, Courts

266. Determined to prevent their conspiracy to defraud and extort Chevron from
being exposed in the discovery and other proceedings Chevron commenced in U.S. federal
courts, the RICO Defendants embarked on a campaign of obstruction and lies, attempting to
conceal the true authorship of the Cabrera Report and the RICO Defendants’ and their co-
conspirators’ relationship with the supposedly “independent” Cabrera. Defendants went as far as
misrepresenting Cabrera’s independence in a complaint they filed in this Court in related

litigation seeking to stay an arbitration proceeding.

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267. These obstruction efforts have been managed by Patton Boggs, among others. In
2010, when it appeared to the RICO Defendants that Chevron was going to uncover clear
evidence of their collusion with Cabrera, attorneys from Patton Boggs participated in a series of
meetings with RICO Defendants and co-conspirators in the United States and in Ecuador, to
apprise themselves of the nature of that relationship. They also asserted control over the defense
against Chevron’s discovery actions behind the scenes, ghostwriting court papers and managing
lawyers at other firms. While their investigation was ongoing, and while by their own admission
they did not know “what there was to admit,” they drafted and caused to be filed briefs and
declarations containing false and misleading statements denying the extensive collusion with
Cabrera.

268. Once it was clear that the RICO Defendants’ earlier statements to U.S. courts
had been false and misleading, Patton Boggs doubled down, and not only repeated and reasserted
false statements about Cabrera, but also negotiated for itself a stake in the outcome of the Lago
Agrio Litigation in an agreement which gave it substantial influence over the future course of the
litigation.

269. Furthermore, Donziger, the ringleader of the enterprise, has himself personally
interfered with discovery proceedings in this Court and elsewhere, including repeated and
sustained violations of multiple orders issued by this Court. In this and other lies and
misconduct before various U.S. courts, the RICO Defendants and their co-conspirators, including
Patton Boggs and other law firms such as Emery Celli and Motley Rice, have brought their
pervasive fraud into the courts of this country and have attempted to hide their criminal scheme

from Chevron and the courts.

1. Attempting to Obstruct Chevron’s Discovery Proceedings by Making
False and Misleading Statements Before U.S. District Courts and
Courts of Appeals

270. Faced with denials from the conspirators in Ecuador about the authorship of
Cabrera’s report, Chevron turned to the United States to pursue discovery from the largely U.S.-

based enterprise directly through proceedings under 28 U.S.C. § 1782, which authorizes “[t]he

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district court of the district in which a person resides or is found [to] order him to give his
testimony or statement or to produce a document or other thing for use in a proceeding ina
foreign or international tribunal.” Several courts have granted Chevron’s applications for
discovery, resulting in the production of more evidence of fraud, collusion, and criminal
misconduct, and evidence establishing the RICO Defendants’ and their co-conspirators’ knowing
obstruction of Chevron’s Section 1782 applications. This evidence, and the condemnation by
numerous U.S. courts of the conduct it reveals, is detailed below. But co-conspirator Julio Prieto
perhaps captured the RICO Defendants’ and their co-conspirators clear knowledge of the
wrongfulness of their own conduct in an email to Donziger and Fajardo after Fajardo told him
that the RICO Defendants’ correspondence with Stratus was likely to be disclosed in a Section
1782 proceeding in Colorado: “[T]he effects are potentially devastating in Ecuador (apart from
destroying the proceeding, all of us, your attorneys, might go to jail)[.]”

271. Accordingly, the RICO Defendants adopted a strategy of obstruction and delay
in furtherance of their criminal scheme, seeking to hold off U.S. discovery until they could
obtain a judgment in Ecuador and begin their plan to use it to harass and attack Chevron and its
subsidiaries around the world. As co-conspirator Ilann Maazel of Emery Celli wrote to Donziger
and other co-conspirators, including attorneys at Patton Boggs and Motley Rice, “Unless we
want the Stratus/Cabrera revelation to come out in CO [Colorado], which seems like the worst
possible place, we need to make our submission in Ecuador and fast.... We’ve bought over a
month in CO and everywhere else but time is almost certainly about to run out.”

272. Throughout these Section 1782 proceedings, the first of which Chevron initiated
on December 18, 2009, the RICO Defendants have sought to impede Chevron’s discovery
through lies, procedural abuses, and obstructionist delaying tactics. These efforts
notwithstanding, Chevron has obtained additional evidence demonstrating that the conspirators
wrote the Cabrera Report and sought to use the so-called “independent” report to their
advantage. As this evidence has come to light, the RICO Defendants and their co-conspirators

have continued to make statements that are not only false, but inconsistent with their own prior

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representations, despite the fact that that this strategy made them look, “coy at best and silly or
untrustworthy at worst,” as Jonathan Abady of Emery Celli put it in an email to Donziger and

other Emery Celli and Patton Boggs attorneys.

a. The RICO Defendants’ Initial False Representations to U.S.
Courts That They Had No Relationship With Cabrera and
No Role in Preparing the “Cabrera Report”

273. In opposing Chevron’s discovery efforts, the RICO Defendants’ first tactic was
denial of any misconduct whatsoever, despite Prieto’s email making clear that what the RICO
Defendants did, if discovered, would “destroy” their case in Ecuador and that, “all of us, your
attorneys, might go to jail.” Indeed, as Donziger has recently admitted, even after he received
Prieto’s email, the substance of which he discussed with Patton Boggs and Emery Celli lawyers,
Emery Celli filed briefs in which it claimed that Cabrera was independent and, in Donziger’s
words, “[s]Jought to prevent Stratus’ role relative to the Cabrera report from coming out.” And as
early as January 2010, Donziger was preparing scripts about the relationship with Cabrera for
Stratus and others to rely on in depositions using a consistent, but false, story. By taking these
and other actions that served to stonewall the federal court, they hoped to avoid the discovery of
their extraordinary misconduct. In multiple filings in Section 1782 proceedings, the conspirators
have falsely asserted their lack of relation to Cabrera: “Mr. Cabrera is not even an expert for one
party, but a Court-appointed neutral...’ Additionally, in declarations filed throughout the
country, the RICO Defendants and their co-conspirators have perpetuated their false version of
events, hiding their relationship with Cabrera and claiming that he was “independent.”

274. | The RICO Defendants continued to spread their false version of events in
depositions. On April 23, 2010, for example, Chapman falsely testified that he had no reason to
think that Stratus had provided work product to Cabrera. The RICO Defendants and their co-
conspirators were proud of Chapman’s performance, but realized that the truth was bound to
come out. As co-conspirator Andrew Wilson of Emery Celli wrote to Donziger, “Chapman did
an excellent job of not remembering anything—but Chevron will be able to do side-by-side

comparisons of Stratus work product and [Cabrera’s] report to a judge that will smell bad.” In

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fact, as Stratus’s own documents make clear, Chapman, who is the head of Stratus’s natural
resource economics group, was personally involved in and knowledgeable of Stratus’s secret
authorship of Cabrera’s report. Indeed, it was Chapman who provided Donziger with the initial
outline and plan for Stratus to write the “damage estimate,” and asked Donziger “when a final
report would have to be delivered to the Judge” so that Stratus could plan its resources
accordingly. Chapman’s deposition misconduct, however, is not surprising given that Stratus
has remained actively involved in the conspiracy even after the evidence of wrongdoing was
made public. For example, Beltman held meetings for Stratus staff after Chevron filed for
discovery from Stratus in an attempt to mislead the employees and influence their potential
testimony regarding Stratus’s authorship of the Cabrera Report. At these meetings, Beltman
repeatedly misstated that Cabrera was an independent expert and misrepresented the role of
Stratus in ghostwriting the Cabrera Report. Beltman consistently omitted any discussion of
Stratus’s true involvement.

275. In another blanket denial, Stratus represented through counsel to the District of
Colorado on April 27, 2010 that Stratus was “astonish[ed]” to see “similarit[ies]” between their
own work product and the Cabrera Report. It assured the court that Stratus did not have “an
opportunity to review Cabrera’s report in draft form,” and that what they provided their co-
conspirators was, “intended to assist them in their analysis of data,” and in the “mediation,” not
“to assist Cabrera.” These were outright lies; Stratus ensured that its work product appeared in
the Cabrera Report, and Maest and Beltman both subsequently admitted that neither of them
were surprised by the presence of their work in the Cabrera Report, and that nobody at Stratus
would have been surprised by it. In a “Status Report” filed three weeks later, counsel for Stratus
informed the court that “continued inquiry suggests that there were communications between Mr.
Cabrera and two representatives of Stratus.”

276. Allegedly before a subpoena issued under the authority of the Southern District
of California, co-conspirator and Stratus subcontractor Powers threw out a computer hard drive

containing responsive documents and deleted responsive emails. Evidence obtained by Chevron

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in other Section 1782 proceedings demonstrated that Powers had been a key participant in the
RICO Defendants’ scheme. Indeed, one of the RICO Defendants’ own attorneys had written,
that “we are getting an indication from these documents how important a player Bill Powers was
in this whole thing. He has substantial knowledge and involvement in the Cabrera Report
drafting.” Ultimately, Powers confirmed in his deposition that he had drafted the annexes to the
initial Cabrera Report and substantial portions of the supplemental Cabrera Report.

277. |The RICO Defendants also falsely denied contact with other Cabrera team
members. The District of New Jersey granted Chevron’s application for discovery from another
of the conspirators, UBR, on the basis that while that firm was a paid consultant to the RICO
Defendants, one of its employees, Juan Cristobal Villao Yepez, was disclosed as one of the
authors of the Cabrera Report. On appeal, the RICO Defendants told the Third Circuit Court of
Appeals that it should reverse, because there was no evidence supporting Chevron’s claim that
Villao had any connection to Cabrera, or that he had worked for UBR when he was supposed to
have been working with Cabrera. But several months later, when this District ordered Defendant
Donziger to produce his own files, they revealed that Donziger and other RICO Defendants had
had direct communications with Villao regarding his contribution to the Cabrera Report. And
Donziger himself has now admitted that Villao worked for both Cabrera and the RICO
Defendants. Nonetheless, the RICO Defendants have taken no action to remedy their
misrepresentations to the Third Circuit. In internal correspondence, they have, however,
discussed the situation regarding Villao and whether to publicly acknowledge that the Cabrera
Report was ghostwritten by the RICO Defendants and their co-conspirators, commenting on their
concern at being accused of “perpetuation of the fraud.” Andrew Wilson of Emery Celli, for
example, warned Donziger to be “{cJareful” because it is “not clear our relationship with Villao
was disclosed.”

278. In their internal communications, the RICO Defendants and their co-conspirators
have recognized that their denials did not square with the facts. In May 2010, one of the Lago

Agrio Plaintiffs’ U.S. lawyers wrote that their characterization that Cabrera had “considered”

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Stratus’s work “seems like way too much of a stretch considering that Cabrera’s report, or
substantial annexes to it, are in fact the consultant’s work. This is far more than ‘circumstantial
evidence’; this is, indeed, a “hand in glove” showing.’” Co-conspirator Jonathan Abady of
Emery Celli described the relationship between the RICO Defendants and Cabrera as “wholesale
adoption of Stratus work product w/o attribution.” Co-conspirator Wilson admitted in an internal
email that “{t]he more we emphasisze [sic] [Cabrera’s] neutrality the less sense it makes that we
were talking to him outside of school.” And in an April 2010 letter from Donziger to his co-
conspirators, Donziger referred to the “Colorado 1782 action” as a “major contingency” and
warned that “if Chevron succeeds in obtaining discovery from Stratus and deposing the Stratus
principals ..., they will find that Stratus wrote the bulk of the report adopted by Cabrera and
submitted to the court.” Donziger also admitted that there was “significant back and forth
collaboration between local counsel and Cabrera, and separately, via local counsel and Stratus,”
and discussed the sorts of emails that would be produced, including “numerous emails between

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Stratus and local counsel documenting how this work was done,” “some emails between Stratus
and U.S. counsel that show U.S. counsel (relying on guidance of local counsel) approved of this
process, encouraged it, and was involved in it from a supervisory perspective,” and emails that
will “show some effort to keep the extent of this ex parte collaboration between our local counsel
and Cabrera from being disclosed.”

279. Additionally, in extensive correspondence in June 2010, among Donziger,
Motley Rice, Patton Boggs, Emery Celli, and other co-conspirators, Jason Rockwell at Patton
Boggs acknowledged that, “the Ann Maest notes suggest more coordination with Cabrera than
counsel simply dropping off two sets of documents,” and Jonathan Abady of Emery Celli
conceded that, “By refusing to admit this now obvious fact, we look coy at best and silly or
untrustworthy at worst.”

280. Because their position in these proceedings has been so divergent from the facts,

the RICO Defendants have had trouble retaining counsel willing to go along with this scheme of

falsehoods and obstruction. Donziger has admitted that when first one and then another of the

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U.S. law firms that the RICO Defendants retained to represent their interests in opposing
Chevron’s Section 1782 applications learned of the full scope of the RICO Defendants’
relationship with Cabrera, the firms withdrew from the representation.

281. In response to Chevron’s initial Section 1782 filings, the RICO Defendants
retained a respected New York firm to represent their interests. But when a senior partner with
that firm interviewed Stratus employees in Boulder, it was apparent to him that the RICO
Defendants’ relationship with Cabrera was improper and contrary to the representations made to
him by Donziger. His law firm withdrew the next day.

282. Around this time, Donziger prepared a memorandum which he addressed to
lawyers from a Colorado firm also retained by the RICO Defendants to block Chevron’s
discovery from Defendant Stratus. In that memorandum, Donziger misled those attorneys on
numerous material facts. For example, in a section of the memo titled “Role of Stratus
Consulting,” he listed such innocuous activities as “helping Ecuadorian counsel respond to
scientific questions,” and “giving media interviews,” but failed to inform the attorneys that
Stratus had in fact written the Cabrera Report, the central allegation of the pending court
proceeding. And he listed “Opinions in Cabrera’s report were taken directly from Stratus
materials,” as one of Chevron’s “inaccurate” factual assertions.

283. | When this second firm was unable to obtain confirmation of any of Donziger’s
false representations, and after learning from its predecessor about the results of the interviews
he had conducted with Stratus, that firm also withdrew. Simultaneously with its withdrawal, it
sent Donziger an email citing the “troubling information” that it had learned regarding Stratus’s
role in preparing the Cabrera Report, and that “we are concerned about our ability to satisfy our
obligations to Judge Kane and to the court if we continue in our representation of the Lago Agrio
plaintiffs in this case.” The attorney concluded, “I’m sorry it has come to this, but I feel if we
proceed I may be compromising this firm’s reputation and ethical stature and ! cannot do that.”

284. | The conspirators then turned to counsel that they thought “appear[ed] willing to

sign anything,” but their relationship with that counsel lasted only a month before that firm

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withdrew. And when the fourth firm retained by the RICO Defendants in the same Section 1782
proceeding reviewed the record, and not merely Donziger’s materially misleading memorandum,
it concluded that, “it appears not only that Cabrera and plaintiffs can be charged with a ‘fraud’
respecting the former’s report, but that Stratus was an active conspirator.” At this fourth
counsel’s request, the second firm retained by the RICO Defendants, who had previously
informed Donziger that the RICO Defendants’ position was “untenable,” prepared a brief
memorandum summarizing its bases for withdrawal. In that memorandum, that firm stated that
“we did not feel that we had a Rule 11 basis to file an opposition to Chevron’s subpoena.” Rule
11 of the Federal Rules of Civil Procedure requires that every filing submitted to a federal court
must be signed by an attorney who represents that the filing is not for “any improper purpose,”
that the “claims, defenses, and other legal contentions are warranted by existing law,” and that
“the factual contentions have evidentiary support.”

285. When another lawyer, Andrew Woods, who worked for Donziger, grew alarmed
that Donziger was using him to make possibly false claims in a declaration filed in federal court,
and asked to make a clarifying submission if any of his previous statements were false, Donziger
and his co-conspirators talked him into remaining silent. Despite their own recognition of their
misconduct, the RICO Defendants continue to deny this evidence and dissemble in sworn

statements, in court filings, and in deposition testimony.

b. The RICO Defendants’ Subsequent False and Misleading
Statements in an Attempt to Justify and Excuse Their
Emerging Misconduct

286. As their strategy of stonewalling and total denial became increasingly impossible
to square with the emerging factual record, including the video outtakes from Crude, the RICO
Defendants and their co-conspirators made a last-ditch effort to cover up their misconduct by
attempting to confuse and mislead federal courts regarding the Lago Agrio court orders
governing their association with Cabrera. The RICO Defendants distorted the record in several
ways as part of their attempt to impede federal court review of Chevron’s discovery applications

and thereby allow the Lago Agrio court to march towards judgment.

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287. In response to an inquiry from the District of Colorado seeking information
about the full relationship between Cabrera and Stratus, Wilson of Emery Celli, appearing as
counsel for the Lago Agrio Plaintiffs, assured the court that they would provide the “full picture”
in an upcoming filing. Indeed, Wilson assured the court nine times at the hearing that the
upcoming report would provide the “full picture.” When the conspirators caused that promised
“full picture” to be filed, however, it was incomplete and misleading. In a sworn declaration,
Defendant Fajardo provided a lengthy description of the relationship between the RICO
Defendants and Cabrera, but falsely attested that Cabrera was “independent” and omitted from
his declaration the substantial role he and other conspirators had played in securing Cabrera’s
appointment, his numerous personal meetings with Cabrera—including the March 2007 meeting
captured in the Crude outtakes—and the massive, U.S. project to write, translate and submit the
fraudulent Cabrera Report. Rather, Fajardo claimed that the RICO Defendants’ contact with
Cabrera was pursuant to orders issued by the Lago Agrio court in January and April 2008,
requesting that the parties make various submissions to Cabrera. The RICO Defendants and
their co-conspirators filed Fajardo’s false declaration not only in the District of Colorado, but
also in proceedings before this Court and at least six others courts throughout the country.

288. The RICO Defendants have repeatedly invoked these 2008 Lago Agrio orders,
even though much of their extensive recruitment, meeting, and collusion with Cabrera occurred
in 2007. They have also sought to explain Cabrera’s various fraudulent statements to the court
that he was independent from them, by asserting, in a federal court filing signed by Wilson of
Emery Celli, that those statements were “made before the [Lago Agrio] court order authorizing
him to get material from the parties,” and argued that “[w]hen the [Lago Agrio] Court ordered
Mr. Cabrera to consider whatever submissions were provided by the parties, the landscape
changed considerably. Nevertheless, Chevron conflates Mr. Cabrera’s 2007 statements with
conduct that occurred after Court authorization was given in 2008... .”

289. The RICO Defendants’ and their co-conspirators’ attempt to excuse their

conduct based on these orders is unavailing on its face. These orders were issued a year after

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their close relationship with Cabrera began, and they do not authorize anything like what
transpired. Indeed, when confronted with the evidence of the RICO Defendants’ prior
relationship with Cabrera, Donziger himself admitted that he and his co-conspirators “met with
and interacted with Mr. Cabrera both before and after” the Lago Agrio court issued its January
2008 order. Their defense is also incompatible with their statements to the Lago Agrio court
after those orders were issued. On April 25, 2008, Defendant Fajardo asserted in a filing in the
Lago Agro court that it was “[a]nother infamy” that the plaintiffs were “accused of having a
close relationship with Independent Expert Richard Cabrera.” “It is disappointing, your honor,
that professionals with such experience have fallen into such childish and absurd arguments.”
And this defense ignores the fact that the one submission the RICO Defendants made to Cabrera
pursuant to court order was expressly limited to documents from “public institutions in the
country,” which does not include the work of their own consultants—an inconsistency they have
conceded in private correspondence.

290. The RICO Defendants’ constant refrain, that “materials” were “submitted” to
Cabrera, who “reviewed” them, is contradicted by the RICO Defendants’ own records. As
detailed previously, Stratus was finalizing what would be adopted “whole cloth” by Cabrera just
before he filed it, and it is simply impossible that he gave it any meaningful review in the few
hours he could have had to do so. Nor is it credible that any revisions he might have made in
that brief period were material. The RICO Defendants knew exactly what he would file because
it was what they wrote. Indeed, the day before Cabrera filed the report, Donziger had in his
possession a table of damages amount that matched those in the Cabrera report to the penny for
numerous categories, including cancer deaths, ecosystem losses, unjust enrichment, and
remediation. In their total estimates, Donziger’s table and the Cabrera report differed by less
than one tenth of a percent.

291. Nonetheless, the RICO Defendants continue to assert in U.S. federal court that
their relationship with Cabrera was pursuant to those orders and fully disclosed to the Lago

Agrio court. Before the Third Circuit, for example, the RICO Defendants recently asserted that,

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“The Ecuadorian court was and is well aware of the Ecuadorian Plaintiffs’ ex parte contacts with
Cabrera and submission of materials to him—and indeed, invited such contacts and
submissions.” Of course, if the court was aware of the RICO Defendants’ collusion with
Cabrera, which was roundly denied by the RICO Defendants and Cabrera for years, that merely
implicates the court in the fraud. It does not excuse or justify it.

292. In depositions ordered by U.S. courts, the RICO Defendants have continued to
obstruct Chevron’s investigation, and maintained untenable positions in the face of
overwhelming evidence. For example, Defendant Ann Maest, despite her appearance in the
Crude outtakes participating in a meeting with Cabrera at which the Cabrera Report was planned,
denied under oath that she had “any contact with Mr. Cabrera in conjunction with [her] work[.]”
When asked about the meeting, she simply asserted, “I don’t recall that,” ignoring the fact that,
as she would admit just a few minutes later, she had watched the video of the meeting within the
past two weeks. Then, when the video was shown to her, and she was asked about Fajardo’s
statement that “the work isn’t going to be the expert’s,” she testified that she “didn’t know what
he meant,” and she denied understanding that Chevron would be excluded from that work,
despite clearly being shown commenting and laughing about that very subject on the video, and
the fact that her own handwritten notes from the meeting contain the following phrase, marked
by a large star: “Only plaintiffs are doing Peritaje Global, not Chevron.” Throughout her
deposition testimony, nearly every time she was shown evidence—often her own work
product—that Stratus had knowingly prepared the Cabrera Report and intended it to be
misperceived as independent, she claimed she did not remember, or did not understand, the
evidence. When confronted with Cabrera’s repeated denials of assistance from the RICO
Defendants, Maest testified that she had discussed this with Beltman, and that their conclusion
was simply that “in Latin culture, for men it’s not something that you want to admit, that you are
getting help[.]” Among the few things she would admit in her testimony was that the

conspirators understood that their meetings with Cabrera had to be kept secret.

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293. The RICO Defendants have also made the false claim, first before the District of
Colorado and then before other courts, that Cabrera disclosed his contacts with the conspirators
in his report. In support of this new position, they specifically referred to a citation in the
Cabrera Report which they quoted as, “Excerpts from... Selva Viva 2002-2006” (emphasis and
alteration in original). But the full citation, without the conspirators’ carefully placed ellipses,
plainly referred to a specific set of documents related to the judicial inspections, and does not
disclose anything resembling the wholesale ghostwriting that actually occurred.

294, The RICO Defendants and their co-conspirators also claimed that their
submissions to Cabrera were “privileged,” and that Ecuadorian law permitted parties secretly to
submit materials to court officials without disclosing those materials to other parties. In support
of this claim, the RICO Defendants and their co-conspirators submitted a declaration that cited
no legal authority whatsoever.

295. In another attempt to excuse their conduct, the RICO Defendants and their co-
conspirators have falsely asserted that their conduct was no different from Chevron’s relationship
with other court experts. But the RICO Defendants know that there is no “real comparison” to
be made and that any such comparison would not be “legitimate,” as Eric Westenberger, an
attorney at Patton Boggs, wrote to Donziger and others back in July 2010.

296. Indeed, the RICO Defendants’ internal correspondence is replete with
admissions that they were relying on unsupportable theories and distinctions to avoid disclosure.
In March 2010, Andrew Woods learned from Donziger of the circumstances surrounding the first
of several withdrawals by counsel representing the RICO Defendant in the Stratus Section 1782
proceedings. He immediately advised Donziger to seek outside counsel regarding his potential
personal liability for the manufacturing of the Cabrera Report. Donziger did so, and immediately
thereafter began creating a false record that tried to put the blame for the misconduct on his
Ecuadorian colleagues, writing a memo to “file” asserting that he had been misled.

297. But then in an April 2010 letter to his co-conspirators, Donziger bluntly

acknowledged that their relationship with Cabrera was “a violation of local court rules,” and

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“improper” under a “traditional Ecuadorian law perspective. By working so closely with our
local counsel and Stratus, Cabrera violated his duties to the court.” And on May 16, 2010,
attorney Ilann Maazel of Emery Celli, conceded in an email to co-counsel that, “the core basis
for the 1782 is nevertheless apparently correct: neither Cabrera nor plaintiffs disclosed a
submission from plaintiffs that contained drafts of part of the expert report written by Stratus.”
Yet the very next day, the RICO Defendants caused to be filed in federal court a brief containing
the claim that all contact between Cabrera and the RICO Defendants was disclosed.

298. In response to another suggested defense, in which the conspirators would argue
that the only fraud shown by the record was Donziger’s and not the “clients’” thus supposedly
protecting privilege, Donziger complained that, “you’re throwing me under the bus,” and noted
that there was substantial evidence that Yanza was involved in any fraud. Co-conspirator Ilann
Maazel of Emery Celli assured him that Yanza was not his client, but Donziger pointed out that
Yanza was associated with the Front, which stood to receive 10% of any judgment. These
concerns notwithstanding, the RICO Defendants and their co-conspirators have pressed this
argument in numerous U.S. courts.

299. | The RICO Defendants’ and their co-conspirators’ attempt to whitewash their
conduct was insupportable on its face, and Chevron’s subsequent discovery of their true conduct
has demonstrated how baseless these attempts were. The RICO Defendants and their co-
conspirators did not submit materials to Cabrera so that he could independently review them;
rather, they submitted materials for him to sign and submit to the court under his name. Nor did
they ever intend to disclose this to Chevron, or to anyone. As Donziger put it, their specific
intent with respect to Chevron’s knowledge of the RICO Defendants’ relationship with Cabrera
was to make sure “that they don’t know shit.”

300. The RICO Defendants offered these false statements in part because they hoped
to avoid discovery of their misconduct, but also in an effort to at least forestall disclosure as long
as possible through factual misrepresentations and the obstructive filing of meritless court

papers. Through this strategy, they would buy themselves time to allow the Lago Agrio court to

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issue its judgment against Chevron under which the only basis for liability would be the
fraudulent Cabrera Report. In May 2010, as the conspirators realized that the truth of their
relationship would start to come out, Donziger described their strategy: “I think we should
appeal on the theory that we gain a greater advantage by fighting them on everything, and tying
them up, than in conceding any one thing even if we expect to ultimately lose that one thing
down the road.” And another conspirator, Eric Westenberger of Patton Boggs, spelled it out in
more specific terms in an email to Donziger and co-conspirators at Emery Celli, Motley Rice,
and H5: “What about the following? Appeal; move for stay; if we win with [the District Court
Judge] great; if we lose, we produce whatever we want (narrow read); [Gibson Dunn] complains
and then we move for clarification. If we lose again, we think about another appeal.”

301. The RICO Defendants have also tried to distract attention from Chevron’s
discovery by concocting false allegations against Chevron as a diversionary tactic. For example,
they have sought to try to blame the Judge Nufiez bribery solicitation scandal on Chevron, even
though their own special counsel on the issue concluded that “Chevron is telling the truth” when
it claimed not to have “even known about these conversations” at the time they first occurred.
When news of the RICO Defendants’ improper relationship with court experts began to become
public in 2010, co-conspirator Prieto suggested that they use the bribery solicitation as an excuse
for “starting a new action on our own to mitigate and counteract the effects of what might
happen in Denver?” He also suggested that this could be a means of getting broader discovery
for their pressure campaign: “Chevron must have some skeletons in the closet. Let’s search.”
The RICO Defendants eventually followed Prieto’s suggestion, bringing just such an action in
federal court in California.

302. The evidence that Chevron has uncovered in the Section 1782 proceedings, in
spite of the RICO Defendants’ and their co-conspirators’ obstructive tactics, has inspired strong
language from several federal courts. For example, the District Court in the District of New
Jersey held that the conduct in furtherance of the conspiracy could not constitute “anything but a

fraud on the judicial proceeding.” And, regarding videotaped evidence of the criminal enterprise

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that Chevron has obtained, Judge Kaplan of the Southern District of New York found that “the
outtakes contain substantial evidence of misconduct in and relating to the Ecuadorian litigation.”
Specifically, Judge Kaplan noted that the outtakes “contain substantial evidence that Donziger
and others (1) were involved in ex parte contacts with the court to obtain appointment of the
expert, (2) met secretly with the supposedly neutral and impartial expert prior to his appointment
and outlined a detailed work plan for the plaintiffs’ own consultants, and (3) wrote some or all of
the expert’s final report that was submitted to the Lago Agrio court and the Prosecutor General’s
Office, supposedly as the neutral and independent product of the expert.” The Western District
of North Carolina court also found that “what has blatantly occurred in this matter would in fact
be considered fraud by any court,” while the District of New Mexico court concluded, “[t]he
release of many hours of the outtakes has sent shockwaves through the nation’s legal
communities, primarily because the footage shows, with unflattering frankness, inappropriate,
unethical and perhaps illegal conduct.” The District of New Mexico court also found that the
RICO Defendants have engaged in “corruption of the judicial process, fraud, attorney collusion
with the Special Master, inappropriate ex parte communications with the court, and fabrication
of reports and evidence.”

303. | Numerous courts have also found that the crime-fraud exception to the attorney-
client privilege applied and thus did not shield the RICO Defendants’ and their co-conspirators’
pervasive fraud from discovery. The District Court for the Southern District of California, for
example, reasoned that there “is ample evidence in the record that the Ecuadorian Plaintiffs
secretly provided information to Mr. Cabrera, who was supposedly a neutral court-appointed
expert, and colluded with Mr. Cabrera to make it look like the opinions were his own.” That
court subsequently found that the crime-fraud exception applied to discovery of co-conspirator
William Powers, finding that he was “deeply involved [in the fraud] in that his work product was
apparently adopted whole cloth by the allegedly neutral expert Cabrera.” Similarly, the District
Court of New Mexico noted that “exchanges” among the RICO Defendants “trigger the crime-

fraud exception, because they relate to corruption of the judicial process, the preparation of

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fraudulent reports,” and “the fabrication of evidence.” And the Southern District of New York
noted that “there is more than a little evidence” that the activities of the RICO Defendants “come

within the crime-fraud exception.”

2. Making False Statements to Deceive New York Courts in Connection
With Chevron’s Section 1782 Applications and Other Actions

304, The RICO Defendants’ and their co-conspirators’ deliberate misrepresentations
to federal courts have not been limited to lies about their relationship with Cabrera and the
authorship of the Cabrera Report. Rather, the RICO Defendants and their co-conspirators have
made, or caused to be made, a number of false statements before federal courts in New York in
connection with their attempt to prevent the discovery of certain Crude outtakes in a Section
1782 proceeding and in the case the Lago Agrio Plaintiffs filed, through co-conspirator Emery
Celli, to stop Chevron’s arbitration with Ecuador in a bilateral investment treaty proceeding.

305. Before the Southern District of New York, the RICO Defendants and their co-
conspirators made a series of false statements regarding Crude and the contents of the outtakes
from filming sought by Chevron pursuant to Section 1782. When Chevron discovered evidence
that a scene in Crude had been modified at the RICO Defendants’ request in order to suppress
evidence of meetings between the RICO Defendants and Cabrera team member Carlos Beristain,
the RICO Defendants told the court that the meeting was “innocuous” and “of no relevance to
anything.” Similarly, on appeal of the district court’s order requiring production of the Crude
outtakes, the RICO Defendants and their co-conspirators claimed that they had requested
Berlinger to delete the scene from the DVD version of the film only to “avoid the misimpression,
cynically fostered by Chevron below, that [the Lago Agrio] plaintiffs participated in one of Dr.
Beristain’s focus groups after he was a court expert” (emphasis in original). In fact, however,
the meeting from which Beristain was carefully edited out of the picture was a meeting arranged
and funded by the RICO Defendants and their co-conspirators as part of their scheme to control
the content of the Cabrera Report. Nor was that the only evidence of wrongdoing that disclosure

of the video would record. And the attorney who signed the brief in the Second Circuit, flann

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Maazel of Emery Celli, knew that the Beristain footage would turn out to be much less damaging
than what he knew the outtakes would contain: “a meeting with Steve, Pablo, Stratus, and
Cabrera,” as he informed his co-counsel when the Second Circuit’s order compelling production
was announced.

306. Judge Kaplan noted that Berlinger’s representations regarding the contents of
those outtakes, which were adopted by the RICO Defendants through their agent and co-
conspirator Emery Celli have “proved inaccurate.” Judge Kaplan observed that “[t]hese and
similar instances are worrisome in considering their present claims.”

307. In addition to the false statements concerning Crude, the conspirators have made
misrepresentations in two other cases before the Southern District of New York. One of those
cases was brought by the Republic of Ecuador and Petroecuador and the other was filed by the
RICO Defendants (ostensibly on behalf of the Lago Agrio Plaintiffs), through their agent and co-
conspirator Emery Celli, in an attempt to stay the Treaty Arbitration Chevron had commenced as
a result of Ecuador’s failure to abide by the terms of the 1998 Final Release. In making false
statements about Cabrera in both proceedings in related actions before this Court, the RICO
Defendants have attempted to deceive the Court.

308. On January 14, 2010, co-conspirator Emery Celli filed an action ostensibly on
behalf of the Lago Agrio Plaintiffs in the United States District Court for the Southern District of
New York, seeking a court order compelling Chevron to stay the bilateral investment treaty
proceeding. The complaint alleged that “[t]he best and most recent independent estimate
available of the human health impact of this contamination is provided by the neutral Special
Master [Cabrera] appointed by the [Lago Agrio] court to provide advice on damages.” (emphasis
added). It further stated that “Dr. Cabrera appointed a team of 14 technical officials,” and that
“the final report [was] produced by the Cabrera team... .” (emphasis added).

309. This complaint also alleged that “[e]nvironmental remediation experts from the
United States have reviewed the Cabrera report and found its conclusions reasonable and its

damages assessment consistent with the costs of other large environmental clean-ups around the

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world.” The “environmental remediation experts from the United States” were the RICO
Defendants themselves, a fact which was not disclosed by the RICO Defendants to this Court.
310. In previous litigation between Chevron and the Republic of Ecuador, the RICO
Defendants prevailed upon counsel for the Republic of Ecuador, Winston & Strawn, to amend
the Republic of Ecuador’s pleadings to include allegations that TexPet’s 1998 Release was
obtained through fraudulent misrepresentations. Defendant Donziger described the allegation as
a “hammer” that he could use in the Lago Agrio Litigation. Donziger was then called upon by
senior Ecuadorian officials to coach witness testimony in support of the allegation. But this
allegation was made in bad faith and without sufficient evidence, for the improper purpose of
gaining “leverage” over Chevron outside of the litigation in which it was asserted, and ultimately
could not be sustained. And two months later, the Republic of Ecuador insisted that the
allegation be withdrawn because no witness could be found to support a necessary element of the
fraud claim and sanctions could therefore be imposed. Donziger nevertheless convinced the
Republic of Ecuador to falsely state to the court that “it was being withdrawn not because it was
not valid, but for reasons of stringent scheduling set by [the Court].” With the lack of evidence
obscured, Donziger continued to represent to Chevron that “we will have a special witness from
the government who will testify about fraud during the examination,” a ruse intended to keep a
“hammer” over Chevron’s head, which he referred to as “misdirection.” As Donziger wrote,

“this backs up my litigation strategy of filing losing motions to create leverage.”

3. Obstructing Judicial Proceedings by Tampering With Witnesses,
Withholding Documents, and Making False Statements to This Court

311. Donziger, the mastermind of the RICO Defendants’ fraudulent scheme, has also
been a leading actor in the attempted cover-up of the criminal scheme in U.S. courts. He has
tampered with the testimony and sworn submissions of at least two other witnesses, Mark
Quarles and Dr. Charles Calmbacher, and he has defied multiple discovery orders from this
Court commanding him to produce his own documents, and lied to the Court repeatedly about

his noncompliance.

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312. Donziger has been working to prevent Chevron’s discovery of the RICO
Defendants’ scheme for years. On or before September 17, 2007, the RICO Defendants and their
co-conspirators induced one of their consultants, Mark Quarles, to sign a declaration, which was
submitted in an action pending in the Southern District of New York, stating that “Mr. Cabrera
and his team have acted independently from both the [Lago Agrio] plaintiffs and the defendant
....” During Quarles’s recent deposition in a Section 1782 proceeding, Quarles testified that the
statement concerning Cabrera’s independence in his declaration was based on several days of
observation of the global assessment process in 2007, and also on specific false representations
by Donziger that Cabrera had written the work plan upon which the Cabrera Report was based.
He further testified that Donziger paid him to conduct his observations and sign the declaration.
Quarles testified that had he known that Cabrera was working directly with the lawyers for the
Lago Agrio Plaintiffs (i.e., the RICO Defendants), he would not have signed the declaration.

313. Recent document productions from Donziger have further revealed that not only
did Donziger push Quarles to swear to Cabrera’s independence, he pressed for stronger
language, and asked Quarles to remove language that would have hurt the RICO Defendants if
the true facts were known. On September 16, 2007, Donziger sent Quarles an email attaching
Quarles’s draft declaration. Where Quarles had written a paragraph discussing the qualifications
of Cabrera’s team, Donziger requested that he replace that language with statements that
Donziger knew to be utterly false: “Mr. Cabrera has at all times acted independently from both
the plaintiffs and the defendant. At no time has Mr. Cabrera entertained suggestions or even met
with plaintiffs or their representatives regarding his current work plan.” Donziger then told
Quarles to delete language suggesting that if any such contacts had taken place, “a degree of
biasness would have been introduced into the sampling plan.” Quarles accepted Donziger’s
request to delete the “biasness” passage, and ultimately signed a version containing the core of
the false claim of independence.

314. More recently, when the conspirators learned that Chevron would be taking Dr.

Calmbacher’s deposition in a Section 1782 proceeding, the RICO Defendants attempted to stop

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Calmbacher from exposing the truth about the falsified reports that Defendants and their co-
conspirators filed in his name.

315. Under the guise of seeking to move to quash the subpoena, Donziger contacted
Dr. Calmbacher and attempted to convince him not to testify at his deposition, telling him that
testifying could pose “real problems” for him and could result in a “potential law case against”
him because “they’re going to go after [him] for unprofessional behavior.” Donziger had no
factual basis upon which to make these statements, which were false and misleading. When
asked at his deposition whether “Donziger [was] trying to convince [him] not to come and
testify,” Calmbacher testified: “Very much so. Very much so.”

316. Dr. Calmbacher disregarded Donziger’s threats and outrageous claims, and
testified pursuant to the court-authorized subpoena. Shown copies of the reports filed by
Defendants in the Lago Agrio court under his name, Dr. Calmbacher testified, “I did not reach
these conclusions and I did not write this report.’ Dr. Calmbacher proceeded to explain how the
conspirators sent him a version of his expert report that correctly stated his views and blank
pages for him to initial so that they could obtain his signature for the falsified reports filed with
the Lago Agrio court, as described in paragraphs 117-20, supra.

317. Inthe Section 1782 proceeding directed at Donziger himself, he has disregarded
the Federal Rules of Civil Procedure and this Court’s multiple express orders to produce all of
his responsive documents. With the approval of the Court, Chevron served a subpoena on
Donziger on August 9, 2010, seeking documents and testimony regarding many of the matters
described in this Amended Complaint. Donziger moved to quash the subpoena, and this Court
denied that motion on October 20, 2010 and ordered Donziger to comply with the subpoena
“forthwith.” Further, because Donziger had failed to produce a privilege log, the Court held
that any privilege claims over Donziger’s documents were waived. Nonetheless, the Court
noted that it would “relieve [Donziger] of the waiver,” if he “file[d] a complete privilege log on

or before October 29, 2010.”

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318. Donziger did not comply. Instead he produced a fraction of his documents, filed
meritless and conflicting papers with the Court, and then, nearly a month later, submitted a
facially defective “privilege log.” On November 29, the Court once again ordered Donziger to
produce his responsive documents, finding that Donziger’s conduct “was a deliberate attempt to
structure the response to the subpoenas in a way that would create the maximum possibility for
delay.” And Donziger once again failed to comply.

319. At Donziger’s deposition, his conduct was so improper that it prompted the
Special Master, appointed by this Court to oversee the deposition, to write to the Court: “From
virtually the first day of his deposition, Mr. Donziger gave many unresponsive, self serving
answers to questions that should have been answered directly, with no embellishment.” The
Special Master went on to describe how he had repeatedly cautioned Donziger and his counsel,
but that this “seemed to have little effect.”

320. On January 13, 2011, the Court yet again, in response to a motion to compel
filed by Chevron, ordered Donziger to produce the documents he had been under orders to
produce since October, and held in reserve the possibility of holding Donziger in contempt.
Over the next several days, Donziger, without explanation for his prior failure to do so,
produced over 87,000 documents, four times as many as he had produced before, the vast
majority of which were responsive to Chevron’s requests, and included many of the probative
documents that form the basis for this Amended Complaint. Yet, in deposition testimony
immediately following this production, Donziger admitted that he had yet more responsive
documents, such as those in email accounts that the RICO Defendants set up specifically to hide
sensitive communications about, among other topics, their authorship of the Cabrera Report.

321. Accordingly, on January 21, the Court ordered Donziger to turn over the
computer hard drives in his possession, so that Chevron could test the sufficiency of his
production. On these hard drives were thousands more documents that were responsive to
Chevron’s requests and highly relevant to Chevron’s defense of the Lago Agrio Litigation and

its prosecution of the BIT Arbitration but that Donziger had failed to produce. Many of the

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documents Donziger had withheld were highly probative and damning materials that revealed
the RICO Defendants’ scheme in even greater detail, including emails about meetings with the
judge in Lago Agrio and with President Correa, memos regarding the obstruction of Chevron’s
discovery efforts in the United States, and other documents revealing further falsehoods made
by the RICO Defendants to the press and to government agencies.

322. This hidden cache of documents is not the end of the story. Donziger produced
seven hard drive images in response to the Court’s order, and assured Chevron, through
counsel, that those were all that he had, and that he was “not aware of any use by him or others
of thumb drives or similar devices and, accordingly, does not have any.” But analysis of the
hard drive images provided by Donziger revealed that at least 79 unique external storage
devices, including 7 external hard drives, | zip drive, and 59 flash drives had been connected to
those hard drives at various times. The analysis also revealed that on August 4, 2010, two
different external storage devices were attached to Donziger’s computers—that was the day
after Chevron made its first public filing containing the outtakes from Crude that showed
Donziger’s March 3, 2007 meeting with Cabrera.

323. Confronted with this analysis, Donziger admitted that he “might have” used a
flash drive “once or twice,” and that he might have used one in the last six to eight weeks in
connection with the Lago Agrio Litigation, but that he does not have it anymore, and does not

know where it is or why he does not have it.

D. Chevron Has Suffered Substantial Damages as a Result of the RICO
Defendants’ Conspiracy, and Enforcement of the Corrupt Judgment in the
Lago Agrio Litigation Would Deepen the Harm

324. The RICO Defendants and their co-conspirators have used the corruption and
politicization endemic to the Ecuadorian judicial system to their advantage and by colluding with
the Ecuadorian government and corrupting the court and its “neutral” expert. Indeed, as Judge
Kaplan explained, “there is evidence to support Chevron’s claim that the ‘global assessment’ is a
fraud.... There is evidence too that other expert evidence submitted to the Ecuadorian courts

on behalf of those plaintiffs also was fraudulent. Chevron thus stands in jeopardy of a huge

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judgment that, if ultimately rendered, could be the result of a fraud practiced by the Lago Agrio
plaintiffs.”

325. On February 14, 2011, the Lago Agrio court did just that when it announced its
judgment, awarding $8.65 billion in supposed damages, another $865 million on top of the
damages to the Front as the Lago Agrio plaintiffs’ representative, and $8.65 billion in punitive
damages, all of which are unsupported by law or evidence. In accordance with the conspirators’
longstanding strategy, the award is lower than the amounts the RICO Defendants claimed, so as
to allow the RICO Defendants to argue that the judgment was supposedly fair because the court
“cut down the largest part.” On its face, the judgment confirms that it was not the product of
anything resembling a fair process and instead purports to impose record-breaking liability on
Chevron without even the pretense of a finding that Chevron actually caused any harm. While
disclaiming reliance on Cabrera, the judgment necessarily relied on Cabrera’s fraudulent report
(the only “evidence” of causation in the case) and on the reports of the RICO Defendants’ other
“new” experts, such as Allen, Shefftz and Barnthouse, whose reports were designed by the RICO
Defendants and their co-conspirators to “whitewash” the Cabrera Report and who themselves
have admitted to relying on the Cabrera Report, rather than conducting their own independent
analyses. The judgment further imposed another $8.65 billion as “punitive” damages, although
Ecuadorian law does not allow for punitive damages and the Lago Agrio Plaintiffs did not even
seek such damages in their complaint. The Lago Agrio court stated that it would relieve
Chevron of this “punitive penalty” only if Chevron issued a public “apology” in both the
Ecuadorian and United States press, effectively admitting liability, within fifteen days of the
judgment. The apparent purpose of this penalty was to coerce an unjustified admission of
liability from Chevron by making the cost of an appeal equal to $8.65 billion so that Chevron
could not possibly successfully appeal or challenge enforcement later. In addition, the judgment
all but ignored Chevron’s undisputed evidence of the RICO Defendants’ misconduct, including

the Calmbacher and Cabrera frauds.

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326. The RICO Defendants and/or their co-conspirators were also closely involved in
either the actual drafting of portions of the 188-page judgment or providing to Judge
Zambrano—or whoever actually wrote the judgment—on an ex parte basis material that is not
part of the public record in the Lago Agrio Litigation. For example, portions of the judgment
rely on information that was obtained from and exclusive to the “Selva Viva Database”-—the
same database controlled by the RICO Defendants and their co-conspirators and the source of at
least two annexes of the Cabrera Report. The Selva Viva Database, however, is not part of the
Lago Agrio Litigation public record. The judgment, for instance, uses an irregular naming
convention for samples that is otherwise unique to the Selva Viva Database. The judgment also
repeats data errors and other irregularities that are unique to the secret Selva Viva Database. For
example, the judgment treats samples that show that no mercury was detected as having detected
“alarming levels of mercury” at 7 mg/kg. The reason for this unambiguous error is the fact that
the “<” symbol indicating that there was “<7 mg/kg” detected—which was the detection limit for
the laboratory’s testing equipment—appears in a separate column in the Selva Viva Database.
And whoever wrote the judgment simply transposed the detection limit without the “<” symbol.
Another error is that the judgment claims that results for certain samples are in milligrams per
kilogram (mg/kg) when they are really in micrograms per kilograms (g/kg) to arrive at
contaminant levels a thousand times higher than the samples actually showed. Again, the source
of this error is mistakes in the Selva Viva Database in which the results were mislabeled. The
judgment contains some the same errors contained in the Cabrera Report, but it also contains
additional errors of the same types that are not included in the Cabrera Report but that are
included in the secret Selva Viva Database—proving that whoever wrote the judgment relied on
the secret Selva Viva database itself, and not the Cabrera Report. In addition, the judgment
relies on other internal, non-public documents prepared by the RICO Defendants and their co-
conspirators and repeats the exact same errors found in those documents, including citations to
the wrong page in the Lago Agrio record, grammatical errors, and errors in the description of

documents. There is no explanation as to how Judge Zambrano or whoever wrote the judgment

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would have had access to this non-public information without the clandestine assistance from the
RICO Defendants and their co-conspirators.

327. While both Chevron and the Lago Agrio Plaintiffs have appealed the fraudulent
judgment in Ecuador, the systemic weakness of the Ecuadorian judiciary, institutional failings,
and the manipulation of the appellate process in this case demonstrate that Judge Zambrano’s
ruling will not receive an independent and fair review. Instead, there is evidence that the very
judge who issued the decision—Judge Zambrano, along with Benjamin Cevallos, the President
of the Judicial Council—which has sole power to appoint and remove judges in Ecuador—
manipulated the selection process to hand select the three judges who will hear the appeal.
Cevallos appeared at a press conference with Judge Zambrano to announce the issuance of the
judgment in the Lago Agrio case, praising Zambrano as a “shining star,” and in the months
leading up to the constitution of the panel engaged in several unusual actions. The three judges
initially assigned to the appeal consisted of Judge Zambrano, Judge Nufiez, and Judge Marco
Yaguache. Then, weeks before the panel was officially constituted, Judge Yaguache was
removed from the panel by Cevallos and replaced by Judge Luis Legfia with no justification,
except to state that Judge Yaguache’s removal was “for the benefit of institutional interests.”
Then Judge Zambrano, as the Judicial Council’s provincial delegate, allegedly conducted a
“lottery” to replace himself and Judge Nufiez on the panel. Contrary to Ecuadorian law, this
alleged lottery was conducted in secret and with no notice to the parties. As a result, the panel
consisted of Judge Legfia, whose presence on the panel was engineered by Cevallos; Judge
Toral, who was nominated by Judge Zambrano; and Judge Orellana, who was appointed as a
substitute judge by the Judicial Council, which is controlled by Cevallos as President, just six
weeks before Judge Zambrano issued the judgment against Chevron. The Lago Agrio Plaintiffs
themselves noted the procedural irregularities in the constitution of the appellate panel in a brief
filed last month with the Lago Agrio Court, requesting that the panel make clear that
appropriate procedures were followed “to avoid defects nullifying the proceedings.” Even

setting aside the role of the Judicial Council, and specifically Cevallos, in the constitution of

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this panel, there are other indications of bias and prejudice against Chevron. For example,
Judge Orellana is a part-time judge who also acts as a lawyer and currently represents an
individual who recently filed a complaint against Chevron for alleged personal injuries
supposedly caused by TexPet’s prior operations in Ecuador.

328. The jeopardy that Chevron faces as a result of this fraudulent judgment is
compounded by the fact that the RICO Defendants continue to have access to significant funds to
carry out their criminal scheme. Until 2010, Kohn had been the primary source of funds for the
criminal scheme, supporting it with over $7 million in less than seven years-——‘“the largest single
component” of which, according to Kohn, was over $1 million provided to Donziger personally.
This money was made available by Kohn upon specific requests from Defendants Donziger and
Yanza, who worked with Kohn to prepare budgets for the case, and would contact him as often
as monthly to request amounts ranging from $40,000 to $100,000 each time. These funds were
distributed to U.S. consultants, including Defendant Stratus, and to Ecuador, mainly through
Selva Viva and the Front, to fund the RICO Defendants’ activities in that country.

329. After Donziger, Yanza, and Fajardo had a falling out with Kohn, they secured
additional ongoing funding from Burford. The RICO Defendants’ relationship with Burford
began in October 2009, and by June 2010, Burford had spent hundreds of hours working on
issues related to the RICO Defendants’ scheme, and had been active in developing strategy. In
the summer and fall of 2010, the RICO Defendants, along with co-conspirators H5, Emercy
Celli, Motley Rice and Patton Boggs discussed a $15 million investment from Burford, and by
December, $4 million had already been provided to further the RICO Defendants criminal
scheme. The relationship with Burford was largely orchestrated by Patton Boggs, which acts as
Burford’s outside counsel and even shares space in its New York offices with Burford. In
exchange, Burford received not only an interest in any money obtained from Chevron, but also
approval authority over the use of its funds, which authority is exercised by James Tyrell, a
senior Patton Boggs partner. Another substantial source of funds has been Russell DeLeon, an

online gambling entrepreneur who was a major source of funding for Crude.

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330. The RICO Defendants, acting in concert with Burford and Patton Boggs, have
further ensured their control over the future of the Lago Agrio Litigation, and secured their own
claims on any proceeds, and those of Burford and Patton Boggs, by apparently requiring a
number (but not all) of the Lago Agrio Plaintiffs to assign their rights in the litigation to a trust
(the “Burford Trust”). The trustee of the Burford Trust, who must be approved by Burford, will
be “the sole and only Person entitled to, among other things . . . have the authority and obligation
to apply and distribute any proceeds of the Award” held in the Burford Trust, and that
distribution apparently is now governed by a contractual agreement between Donziger, Burford,
DeLeon, the Front, Patton Boggs, H5 and other U.S. parties. This contractual agreement
incorporates a complex “waterfall” that, for any funds placed in the Burford Trust, secures the
claims of the RICO Defendants, Burford, Patton Boggs and others, and relegates any actual
distribution in Ecuador to the residual. Furthermore, Donziger, Fajardo and Yanza purportedly
retain authority over the Burford Trust trustee’s further pursuit of the Lago Agrio Litigation.

331. Defendants already are planning to seek immediate enforcement of the
Ecuadorian judgment in U.S. and foreign courts, and to extort a payment from Chevron by using
the Ecuadorian judgment to threaten seizure of Chevron’s assets and those of its subsidiaries.
The RICO Defendants’ internal blueprint for global enforcement, a memo by co-conspirator
Patton Boggs titled “Invictus,” asserts that, “If and when an enforceable judgment is entered in
Ecuador, Plaintiffs’ Team expects to be engaged quickly, if not immediately, on multiple
enforcement fronts—in the United States and abroad.” They have said as much expressly on
multiple occasions, and, in fact, have represented to the Southern District of New York that
Chevron’s defense against any Lago Agrio judgment should be restricted to New York’s
Recognition Act.

332. Co-conspirator Amazon Watch has reported that the Lago Agrio Plaintiffs’
representatives will quickly “move to collect the judgment by any means necessary in whatever
country the company has assets” and that they “will seek to enforce any judgment against the oil

giant immediately in U.S. courts.” Co-conspirator Hinton said that “If the [Ecuadorian] courts

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were to agree to [force Chevron to post a bond in order to appeal the Lago Agrio judgment], then
we would try to start seizing assets in other countries.” According to Donziger, “If we get a
judgment out of the trial court, we’re coming back immediately, — soon as we can, —to get that
judgment enforced. We are not waiting for the appeals process.” And Donziger has threatened
that “Chevron operates in more than 100 countries and has numerous oil tankers that troll the
world’s waterways and dock in any number of ports .... This could end up being one of the
biggest forced asset seizures in history and it could have a significant disruptive impact on the
company’s operations.” In an interview broadcast as part of a 60 Minutes segment on the Lago
Agrio Litigation, Donziger, in response to the observation that Chevron has no assets in Ecuador,
stated, “At the end of the day, it might be a situation where a U.S. court enforces the judgment
and the marshals have to go to Chevron and seize their assets.” These threats continue unabated.
Just months before this Amended Complaint was filed, Donziger, in a speech to law students,
told them that he was assembling a legal team “to execute whatever judgment comes out of
Ecuador effectively, in whatever forum might—forum might be appropriate, including multiple
places that, you know, you could file suits, you could seize assets, seize boats.”

333. Through statements made to this Court, Defendants have also made clear their
intent to enforce the judgment immediately. When asked by Judge Sand of the Southern District
of New York whether the Lago Agrio Plaintiffs in their action to stay the Treaty Arbitration were
“willing to stipulate that [they would] take no efforts to enforce the judgment until . . . the
arbitration is completed,” their counsel refused to agree to stay enforcement: “No, your honor.
We would not and cannot do that.”

334. Indeed, since the issuance of the Lago Agrio judgment, Defendants have only
accelerated their plan to pressure Chevron by using the fraudulent judgment to institute
attachment proceedings and other enforcement actions, in defiance of a temporary restraining
order issued by this Court. On February 14, 2011, Fajardo stated that “we’re going to
immediately ask any country where Chevron has assets . . . that Chevron’s assets be attached.”

And a day later, referring to this Court’s issuance of a temporary restraining order, Fajardo stated

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that the order would not prevent Defendants’ attempts to enforce and recognize the judgment
outside of the United States: “The judge cannot order and require something that is outside of
United States territory, as such. Therefore, that injunction is completely, uh, it’s unenforceable,
inapplicable for countries other than the United States.”

335. The judgment of the Lago Agrio court, procured by the RICO Defendants’ and
their co-conspirators’ fraud—in addition to related attachment and enforcement efforts and the
specter of billions of dollars in liability—threatens to disrupt Chevron’s business operations,
sully its reputation, and otherwise cause Chevron to suffer irreparable harm. In the RICO
Defendants’ “Invictus” memorandum, outlining their plans to use the Lago Agrio judgment to
extract payments from Chevron, Patton Boggs also proposes initiating a shareholder derivative
action against Chevron in the United States, “as a point of leverage with respect to settlement
[and] as a fruitful basis for discovery into the machinations of Chevron management vis a vis the
Ecuadorian litigation.” And that memo also reveals that the RICO Defendants do not intend to
wait for judgments in their proposed enforcement proceedings: “Consistent with their aggressive
approach, Plaintiffs’ Team will look for ways to proceed against Chevron on a pre-judgment
basis, largely as a means of attaining a favorable settlement at an early stage. Various laws and
procedures within and outside the United States may permit attachment of Chevron’s assets prior
to successful recognition of the Ecuadorian judgment.”

336. Norare the RICO Defendants limiting their operations to the Lago Agrio
Litigation. Donziger has stated that their intention is to “take legal fees we can earn from this
case and, do more cases like this in different places with, you know, the same team, if possible.”

337. The RICO Defendants’ extensive and wide-ranging scheme to defraud and extort
Chevron, as described in this Amended Complaint, has already had a lasting and irreparable
effect on Chevron. The RICO Defendants’ false and misleading statements have been relied on
by the U.S. courts, U.S. state and federal government agencies, Chevron’s shareholders,
investors, analysts, the media, and by the Lago Agrio court by means of its acceptance of

Defendants’ and Cabrera’s misrepresentations and omissions and its failure to take meaningful

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corrective action. Further, the RICO Defendants’ false and misleading statements have caused
Chevron substantial damages. Chevron has had to expend millions of dollars in attorneys’ fees
and costs defending itself in the sham litigation the RICO Defendants and their co-conspirators
have prosecuted in Ecuador, and exposing the conspirators’ pervasive fraud in the Section 1782
proceedings. On top of the attorneys’ fees and expenses, Chevron’s interest in executed
contracts, including the 1995 Settlement Agreement and 1998 Final Release, has also been
impaired as a result of the RICO Defendants’ and their co-conspirators’ collusion with the
Republic of Ecuador. In addition, many of the RICO Defendants’ extortionate acts have
presented unfair and false representations of Chevron’s business practices, harming Chevron’s
reputation and goodwill. As alleged throughout, these harms represent the precise result
intended by the RICO Defendants’ misconduct. And worse, it is clear from the RICO
Defendants’ actions and words that they have no intention of stopping until Chevron surrenders
to their extortionate demands. Without the Court’s intervention, Chevron will continue to suffer
significant harm at the hands of the RICO Defendants and their unlawful scheme.

338. The facts and evidence presented in this Amended Complaint are the result of
many thousands of hours of work by Chevron, its attorneys, and its investigators, and have been
assembled at extraordinary cost. As this Amended Complaint was being prepared for filing,
however, new evidence continued to emerge, and the true nature of the RICO Defendants’
criminal conduct becomes clearer and clearer. Just a few months ago, considering Chevron’s
request to obtain discovery directly from the ringleader of this enterprise, Donziger, the United
States District Court for the Southern District of New York summarized the case as follows:
“(T]he name of the game is, arguably, to put a lot of pressure on the courts to feed them a record
in part false for the purpose of getting a big judgment or threatening a big judgment, which
conceivably might be enforceable in the U.S. or in Britain or some other such place, in order to
persuade Chevron to come up with some money. Now, do the phrases Hobbs Act, extortion,

RICO, have any bearing here?”

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CLAIMS FOR RELIEF

FIRST CLAIM FOR RELIEF
(Violations of RICO, 18 U.S.C. § 1962(c))
(Against All RICO Defendants)

339. Chevron realleges and incorporates herein by reference each and every foregoing
paragraph of this Amended Complaint as if set forth in full.

340. Atall relevant times, Chevron is a person within the meaning of 18 U.S.C.
§§ 1961(3) and 1962(c).

341. Atall relevant times, each RICO Defendant is a person within the meaning of 18

ULS.C. §§ 1961(3) and 1962(c).
The RICO Enterprise

342. The RICO Defendants and their co-conspirators are a group of persons associated
together in fact for the common purpose of carrying out an ongoing criminal enterprise, as
described in the foregoing paragraphs of this Amended Complaint; namely, through a multi-
faceted campaign of lies, fraud, threats and official corruption, to coerce Chevron into paying
billions of dollars to the RICO Defendants and their co-conspirators. These RICO Defendants
and their co-conspirators have organized their operation into a cohesive group with specific and
assigned responsibilities and a command structure, operating in the United States and Ecuador,
funded primarily from the United States, and directed mainly from the United States. Over the
years they have adapted their scheme to changing circumstances, recruiting new members to
their operation, and expanding the scope and nature of their activities. While the organization of
the criminal enterprise has changed over time, and its members may have held different roles at
different times, the criminal enterprise has generally been structured to operate as a unit in order
to accomplish the goals of their criminal scheme:

a. Defendants Donziger, the Law Offices of Steven R. Donziger, and
Donziger & Associates, PLLC have been responsible for oversight of the

scheme to defraud and extort Chevron, and have directed other

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conspirators to take actions necessary to accomplish the overall aims of
the criminal enterprise—namely, manufacturing evidence of Chevron’s
liability, procuring sham criminal charges against Chevron’s attorneys,
conducting a massive public pressure campaign designed to spread false
and misleading information about Chevron and the Lago Agrio Litigation,
and obstructing Chevron’s efforts at uncovering the truth in various U.S.
court proceedings.

b. Defendant Fajardo has been primarily responsible for prosecuting the
sham litigation in the Ecuadorian courts, has served as one of the heads of
the criminal enterprise in the U.S. and Ecuadorian media, and has planned
and coordinated the ghostwriting of the Cabrera Report.

C. Defendants Yanza and the Front have been primarily responsible for

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managing the RICO Defendants’ “private army,” exerting influence over
and colluding with Ecuadorian government and court officials, and serving
as media representatives for the criminal enterprise in which they have
made false statements to Chevron stockholders, financial analysts,
investors, and/or state and federal agencies. Yanza arranged for funding
from Kohn and/or Kohn Swift for the RICO Defendants’ activities in
Ecuador, and frequently caused money to be transferred out of the United
States for this purpose.

d. Defendant Selva Viva has served as a conduit for funding and otherwise
furthering the RICO Defendants’ criminal enterprise.

e. Defendants Stratus, Beltman, and Maest have been responsible for
coordinating the drafting of and actually ghostwriting the Cabrera Report

and other submissions to the Lago Agrio court, and for the false promotion

of the Cabrera Report as independent in the media and to U.S. courts.

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343. The RICO Defendants and their co-conspirators constitute an association-in-fact
enterprise within the meaning of 18 U.S.C. §§ 1961(4) and 1962(c), referred to hereinafter as the
“Enterprise.” Each of the RICO Defendants participated in the operation or management of the
Enterprise.

344.  Atall relevant times, the Enterprise was engaged in, and its activities affected

interstate and foreign commerce within the meaning of 18 U.S.C. § 1962(c).

Pattern of Racketeering Activity

345. The RICO Defendants conducted or participated, directly or indirectly, in the
conduct, management, or operation of the Enterprise’s affairs through a “pattern of racketeering
activity” within the meaning of 18 U.S.C. § 1961(5) and in violation of 18 U.S.C. § 1962(c), to
wit:

Pattern of Racketeering Activity: Extortion in Violation of Hobbs Act, 18 U.S.C. § 195]

346. Atall times material to this Amended Complaint, Chevron was engaged in
interstate and foreign commerce and in an industry that affects interstate and foreign commerce.

347. As described herein, the RICO Defendants have engineered a wide-
ranging campaign of public attacks based on false and misleading statements, trumped up
criminal charges, a threatened and actual fraudulent civil judgment, investigations by
government agencies, and ongoing harassment and disruptions of business operations, and have
demanded the payment of billions of dollars before these activities will cease, all with the intent
and effect of causing a reasonable fear of economic loss on the part of Chevron.

348. As described herein, the RICO Defendants manufactured false evidence
against Chevron and are relying on that false evidence in the sham Lago Agrio Litigation with
the intent and effect of causing a reasonable fear of economic loss on the part of Chevron.

349. As described herein, the RICO Defendants conspired with the Republic of
Ecuador to advance baseless criminal charges against two Chevron lawyers responsible for

executing the 1998 Final Release in order to extort a payment from Chevron.

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350. The RICO Defendants’ actions are intended to induce fear in Chevron that
the RICO Defendants will, among other things: (1) continue to pursue a scheme of
misrepresentation to the great harm and public denigration of Chevron, unless and until Chevron
“settles” the Lago Agrio Litigation; (2) continue to conspire with Ecuadorian officials to have
Chevron’s attorneys criminally prosecuted on trumped up charges; and (3) secure a fraudulent
multi-billion dollar judgment against Chevron and file lawsuits in the United States and in other
foreign jurisdictions seeking recognition and enforcement of the judgment. These actions, as
described herein, have created a reasonable fear of harm on the part of Chevron, including fear of
economic loss.

351. Accordingly, the RICO Defendants have unlawfully obstructed, delayed,
and affected-——and attempted to obstruct, delay, and affect—commerce as that term is defined in
18 U.S.C. § 1951, and the movement of articles and commodities in such commerce, by
extortion, as that term is defined in § 1951, in that the RICO Defendants attempted to induce
Chevron to consent to relinquish property through the wrongful use of actual and threatened

force, violence, and fear—including fear of economic harm.

Pattern of Racketeering Activity: Extortion in Violation of New York Penal Law
§S 110.00, 155.05 (2)(e), 155.42

352. Similarly, the RICO Defendants’ wrongful attempts to appropriate
Chevron’s property by instilling fear that if the property is not delivered the RICO Defendants
would perform an act calculated to harm Chevron materially with respect to its business,
financial condition, and reputation violates New York Penal Law §§ 110.00, 155.05(2)(e),

155.42.

Pattern of Racketeering Activity. Multiple Instances of Mail Fraud and Wire Fraud in
Violation of 18 U.S.C. §& 1341, 1343

353. As described herein, the RICO Defendants engaged in a wide-ranging
scheme or artifice to defraud Chevron, various courts of law, and the greater public concerning
Chevron’s purported liability for environmental harm in Ecuador by manufacturing evidence,

colluding with the court expert Cabrera to submit the RICO Defendants’ manufactured evidence,

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and then holding out the Cabrera Report as independent and neutral when it decidedly was not.
The ultimate objective of the RICO Defendants’ scheme or artifice to defraud is to coerce
Chevron into making a multi-billion dollar payment that will directly benefit the individual and
organizational RICO Defendants.

354. In furtherance of their scheme, and as described herein, the RICO
Defendants transmitted, or caused to be transmitted, by means of wire communication in
interstate or foreign commerce, writings, signs, signals, pictures, and sounds, and also caused
matters and things to be placed in any post office or authorized depository, or deposited or
caused to be deposited matters or things to be sent or delivered by a private or commercial
interstate carrier, including, but not limited to, the following:

a. emails and website postings incorporating false and misleading
statements regarding the Cabrera Report;

b. wirings and/or mailings between and among the RICO Defendants
concerning the preparation of the report in the United States that
was submitted to the Lago Agrio court by Cabrera;

c. communications directed toward U.S. state and federal government
officials and regulators incorporating false and misleading
statements regarding Chevron’s liability in the Lago Agrio
Litigation;

d, funds transferred by Kohn and/or Kohn Swift to the RICO
Defendants, with the intent that those funds be used to promote the
carrying on of the RICO Defendants’ criminal activities; and,

e. electronic filing and service of court papers containing false and
misleading statements intended to impede the operation of those
courts.

355. Chevron incorporates by reference the attached Appendix B, which sets

forth particular uses of wire and mail communications in furtherance of the RICO Defendants’

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scheme or artifice to defraud that constitute violations of 18 U.S.C. §§ 1341 and 1443, including
which individual defendant caused the communication to be mailed or wired, when the
communication was made, and how it furthered the fraudulent scheme.

356. The RICO Defendants participated in the scheme or artifice knowingly,
willfully, and with the specific intent to deceive and/or defraud Chevron into paying the RICO
Defendants and their co-conspirators. The RICO Defendants knowingly and intentionally
prepared a self-serving analysis of Chevron’s alleged liability in Lago Agrio, and then knowingly
and with the intent to deceive the Lago Agrio court, Chevron, and the general public, caused that
analysis to be filed under the pretense that it was a report prepared by an independent court
expert. The RICO Defendants colluded with the Republic of Ecuador to initiate criminal
prosecution of Chevron’s attorneys on the basis of this report and other statements the RICO
Defendants knew to be false or misleading. The RICO Defendants further caused statements
regarding this report, these criminal charges and other matters, which statements the RICO
Defendants knew to be false or misleading, to be disseminated to the general public, to the
media, and to multiple state and federal agencies and federal courts, with the intent that those
statements be believed and that they form the basis for further public attacks on Chevron,
investigations of Chevron, and reduction in the value of Chevron’s corporate assets. The RICO
Defendants knowingly engaged in the aforementioned conduct with the intent to generate fear in
Chevron such that Chevron would ultimately pay the RICO Defendants to cease their conduct,
under the guise of a settlement of the Lago Agrio Litigation, through satisfaction of a judgment
in the Lago Agrio Litigation, or in a subsequent proceeding to recognize and enforce such a
judgment.

357. The RICO Defendants’ false and misleading statements have been relied
on by U.S. courts, U.S. state and federal government agencies, Chevron’s shareholders,
investors, analysts, the media, and by the Lago Agrio court by means of its acceptance of

Defendants’ and Cabrera’s misrepresentations and omissions and its failure to take meaningful

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corrective action. Further, the RICO Defendants’ false and misleading statements have caused

Chevron substantial damages.

Pattern of Racketeering Activity: Money Laundering in Violation of 18 U.S.C.

§ 1956(a)(2)(A)
358. Defendants Yanza, Donziger, the Law Offices of Steven R. Donziger, and

Donziger & Associates, PLLC, have on multiple occasions, acting in their individual capacities
and as agents for Selva Viva and/or the Front have knowingly caused the transportation,
transmission, and/or transfer of funds to or from the United States to themselves and to
Defendants Selva Viva, the Front, and other entities with the intent that those funds be used to
promote the carrying on of unlawful activity, including but not limited to violations of 18 U.S.C.
§§ 1341, 1343 and 1951, such as the secret preparation of the Cabrera Report, payment to
Cabrera for his complicity and silence as to the report’s authorship, the funding of the RICO
Defendants’ pressure campaigns against the Lago Agrio court and against Chevron, and

collusion with the Republic of Ecuador.

Pattern of Racketeering Activity: Obstruction of Justice in Violation of 18 U.S.C. § 1503

359. Faced with implacable denials in Ecuador from Cabrera and the RICO
Defendants about the authorship of the Cabrera Report, Chevron turned to U.S. courts to pursue
discovery directly from the Enterprise through proceedings under 28 U.S.C. § 1782, which
authorizes “[t]he district court of the district in which a person resides or is found [to] order him
to give his testimony or statement or to produce a document or other thing for use in a
proceeding in a foreign or international tribunal.”

360. Inaconcerted effort to thwart Chevron’s attempts to uncover the truth and
avoid discovery, the RICO Defendants, and their counsel, have habitually filed or caused to be
filed documents, including declarations sworn to under penalty of perjury, that falsely represent
that Cabrera was an independent expert and that otherwise misrepresent the RICO Defendants’
interactions with Cabrera. They have done so with the full knowledge that these statements were

false, as evidenced by their own internal correspondence. By making these deliberate and

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strategic false representations in various pending federal judicial proceedings, with full
awareness of their consequence and with the specific intent to corruptly endeavor to influence,
obstruct, and impede the due administration of justice, the RICO Defendants have committed

multiple instances of obstruction of justice in violation of 18 U.S.C. § 1503.

Pattern of Racketeering Activity: Witness Tampering in Violation of 18 U.S.C. § 1512

361. Pursuant to a March 2, 2010 order issued by the United States District
Court for the Northern District of Georgia granting Chevron’s Section 1782 application, Chevron
noticed the deposition of Defendants’ expert, Charles W. Calmbacher, Ph.D.

362. Fearing that Dr. Calmbacher would expose the truth about the falsified
reports filed in his name by the RICO Defendants, Donziger knowingly engaged in intimidation,
threats, misleading conduct, and corrupt persuasion toward Dr. Calmbacher, with the specific
intent to influence, delay, and prevent Dr. Calmbacher’s testimony or cause Dr. Calmbacher to
withhold records, objects, documents, and testimony from an official proceeding.

363. As Dr. Calmbacher testified pursuant to the court-authorized subpoena at
his March 29, 2010 deposition, Donziger contacted Dr. Calmbacher and emphatically attempted
to convince Dr. Calmbacher not to testify at his deposition, warning him that testifying could
pose “real problems” for him and could result in a “potential law case against” him because
“they’re going to go after [him] for unprofessional behavior.” When asked at his deposition
whether “Donziger [was] trying to convince [him] not to come and testify,” Calmbacher
testified: “Very much so. Very much so.” Donziger tampered with Dr. Calmbacher’s testimony
in violation of 18 U.S.C. § 1512 in furtherance of the Enterprise’s scheme.

364. The RICO Defendants also tampered with the testimony of environmental
consultant Mark Quarles in furtherance of the Enterprise’s scheme. In 2007, Ecuador submitted
a declaration by Quarles regarding the “independence” of the Cabrera Report in a proceeding
pending in the Southern District of New York, using that declaration to support the government’s

contention that the Lago Agrio Litigation “has proceeded in accordance with rules of procedure

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under Ecuador law.” Quarles has recently admitted in sworn testimony that Donziger paid him
for this affidavit, and that he would not have signed the affidavit if he had known about the
RICO Defendants’ involvement with Cabrera. By not disclosing the truth about Donziger’s
improper contact with Cabrera and instead deliberately misleading Quarles, Donziger knowingly
engaged in misleading conduct and corrupt persuasion toward Quarles with the intent to
influence his testimony in an official proceeding.

365. The RICO Defendants and their co-conspirators also tampered with the
potential testimony of numerous Stratus employees in furtherance of the Enterprise’s scheme.
After Chevron instituted a Section 1782 application in December 2009 seeking discovery from
Stratus, Beltman, undoubtedly concerned about potentially damaging future testimony from
Stratus employees, knowingly engaged in misleading conduct and corrupt persuasion toward
numerous Stratus employees, with the specific intent to influence, delay, and prevent those
employees’ truthful testimony or cause the employees to withhold records, objects, documents,
and testimony from an official proceeding. Beltman repeatedly misrepresented to Stratus staff
members that Cabrera was independent and had authored his own report. Beltman likewise
repeatedly misled Stratus employees and omitted the true facts when he misrepresented that
Stratus had played a limited role of technical advisor to the Lago Agrio Plaintiffs. Thus,
Beltman tampered with the Stratus employees’ potential or expected testimony in violation of 18

U.S.C. § 1512, in furtherance of the Enterprise’s scheme.

Summary of the Pattern of Racketeering Activity Alleged Against Each RICO Defendant

366. Defendant Donziger has committed numerous mail and wire fraud
violations, including those identified in Appendix B in which Donziger used or caused to be used
the mail or wires in furtherance of the RICO Defendants’ scheme to defraud. Donziger has also
engaged in extortion of Chevron and fraudulent conduct through numerous acts, including by
participating in a campaign of public attacks based on false and misleading statements about

Chevron and the Lago Agrio Litigation (including making false statements to the U.S. House of

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Representatives), manufacturing false evidence in the form of the Cabrera Report, procuring
baseless criminal charges against Chevron’s attorneys in Ecuador, colluding with Ecuadorian
officials and pressuring the Lago Agrio court to ensure a negative outcome for Chevron in the
Lago Agrio Litigation, and threatening and causing threats to be made to Chevron directly and
through its shareholders. In addition, Donziger has engaged in obstruction of justice by filing
and/or causing to be filed in multiple U.S. courts documents, including declarations sworn under
penalty of perjury, falsely representing that Cabrera was an independent expert and otherwise
misrepresenting the RICO Defendants’ interactions with Cabrera. Donziger has committed wire
fraud and engaged in money laundering by knowingly causing funds to be transported,
transmitted, or transferred from the United States to Selva Viva, Yanza, the Front, and other
parties with the intent that such payments would fund the RICO Defendants’ criminal activity.
Donziger has also engaged in witness tampering by knowingly engaging in intimidation, threats,
misleading conduct, and corrupt persuasion toward Dr. Calmbacher with the specific intent to
influence, delay, and prevent Dr. Calmbacher’s testimony in the Northern District of Georgia.
Donziger also tampered with the testimony of Mark Quarles by paying him for his affidavit and
by concealing the RICO Defendants’ involvement with Cabrera and the Cabrera Report.

367. Defendants the Law Offices of Steven R. Donziger and Donziger &
Associates, PLLC, through the actions of their agent Defendant Donziger, have committed
numerous predicate acts, including mail and wire fraud, extortion, obstruction of justice, money
laundering, and witness tampering. The mail and wire fraud violations include those identified
in Appendix B in which the Law Offices of Steven R. Donziger or Donziger & Associates,
PLLC used or caused to be used the mail or wires in furtherance of the RICO Defendants’
scheme to defraud. The Law Offices of Steven R. Donziger and Donziger & Associates, PLLC
have also engaged in extortion of Chevron and fraudulent conduct through numerous acts,
including by participating in a campaign of public attacks based on false and misleading
statements about Chevron and the Lago Agrio Litigation (including making false statements to

the U.S. House of Representatives), manufacturing false evidence in the form of the Cabrera

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Report, procuring baseless criminal charges against Chevron’s attorneys in Ecuador, colluding
with Ecuadorian officials and pressuring the Lago Agrio court to ensure a negative outcome for
Chevron in the Lago Agrio Litigation, and threatening and causing threats to be made to Chevron
directly and through its shareholders. In addition, the Law Offices of Steven R. Donziger and
Donziger & Associates, PLLC have engaged in obstruction of justice by filing and/or causing to
be filed in multiple U.S. courts documents, including declarations sworn under penalty of
perjury, falsely representing that Cabrera was an independent expert and otherwise
misrepresenting the RICO Defendants’ interactions with Cabrera. Also, the Law Offices of
Steven R. Donziger and Donziger & Associates, PLLC have committed wire fraud and engaged
in money laundering by knowingly causing funds to be transported, transmitted, or transferred
from the United States to Selva Viva, Yanza, the Front, and other parties with the intent that such
payments would fund the RICO Defendants’ criminal activity. The Law Offices of Steven R.
Donziger has also engaged in witness tampering through Donziger’s knowing intimidation,
threats, misleading conduct, and corrupt persuasion toward Dr. Calmbacher with the specific
intent to influence, delay, and prevent Dr. Calmbacher’s testimony in the Northern District of
Georgia. In addition, the Law Offices of Steven R. Donziger also tampered with the testimony
of Mark Quarles by paying him for his affidavit and by concealing the RICO Defendants’
involvement with Cabrera and the Cabrera Report.

368. Defendant Fajardo has committed numerous mail and wire fraud
violations, including those identified in Appendix B in which Fajardo used or caused to be used
the mail or wires in furtherance of the RICO Defendants’ scheme to defraud. Fajardo has also
engaged in extortion of Chevron and fraudulent conduct by participating in a campaign of public
attacks based on false and misleading statements about Chevron and the Lago Agrio Litigation
(including in a letter to the U.S. Trade Representative), by manufacturing and causing to be
manufactured false evidence, and by applying pressure to Ecuadorian government officials to
procure baseless criminal charges against Chevron’s attorneys. In addition, Fajardo has engaged

in obstruction of justice by filing or causing to be filed in numerous U.S. courts documents,

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including a declaration sworn under penalty of perjury, that falsely represent that Cabrera was an
independent expert and that otherwise misrepresent the relationship between Cabrera and the
RICO Defendants.

369. Defendant Yanza has committed numerous mail and wire fraud violations,
including those identified in Appendix B in which Yanza used or caused to be used the mail or
wires in furtherance of the RICO Defendants’ scheme to defraud. Yanza has committed wire
fraud and engaged in money laundering by knowingly causing funds to be transported,
transmitted, or transferred from the United States to Selva Viva, the Front, and other parties with
the intent that such payments would fund the RICO Defendants’ criminal activity. Yanza has
also engaged in extortion of Chevron and fraudulent conduct by participating in a campaign of
public attacks based on false and misleading statements about Chevron and the Lago Agrio
Litigation (including in a letter to the U.S. Trade Representative), by manufacturing and causing
to be manufactured false evidence, and by applying pressure to Ecuadorian government officials
to procure baseless criminal charges against Chevron’s attorneys. In addition, Yanza has
engaged in obstruction of justice by filing or causing to be filed in multiple U.S. courts
documents, including declarations sworn to under penalty of perjury, that falsely represent that
Cabrera was an independent expert and that otherwise misrepresent the RICO Defendants’
interactions with Cabrera.

370. Defendant the Front, through the actions of its agents Defendants Fajardo
and Yanza, among others, has committed numerous predicate acts, including mail and wire
fraud, money laundering, and extortion. The mail and wire fraud violations include those
identified in Appendix B in which the Front used or caused to be used the mail or wires in
furtherance of the RICO Defendants’ scheme to defraud. The Front has also committed several
wire fraud violations and multiple acts of money laundering by causing funds to be transferred
by Kohn and/or Kohn Swift from the United States to Ecuador, acting as a conduit of those
funds, and then distributing those funds to finance the RICO Defendants’ illegal scheme. In

addition, the Front has engaged in numerous acts of extortion of Chevron and fraudulent conduct
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by participating in a campaign of public attacks based on false and misleading statements about
Chevron and the Lago Agrio Litigation through a website the Front maintains as well as
numerous press releases and by manufacturing and causing to be manufactured false evidence.

371. Defendant Selva Viva, through the actions of its agents Defendants Yanza
and Donziger, among others, has committed several wire fraud violations and multiple acts of
money laundering by causing funds to be transferred by Kohn and/or Kohn Swift from the
United States to Ecuador, acting as a conduit of those funds, and then distributing those funds to
finance the RICO Defendants’ illegal scheme. Through the actions of its agents Defendants
Yanza and Donziger, among others, Selva Viva has also engaged in numerous acts of extortion
of Chevron and fraudulent conduct by manufacturing and causing to be manufactured false
evidence.

372. Defendant Stratus, through the actions of its agents Defendants Beltman,
Maest, and other individuals, has committed numerous predicate acts, including mail and wire
fraud, extortion, obstruction of justice, and witness tampering. The mail and wire fraud
violations include those identified in Appendix B in which Stratus used or caused to be used the
mail or wires in furtherance of the RICO Defendants’ scheme to defraud. Stratus also has
engaged in extortion of Chevron and fraudulent conduct by manufacturing false evidence, in the
form of the Cabrera Report and its annexes, used extensively by the RICO Defendants in the
Lago Agrio Litigation and more generally in furtherance of their illegal scheme. In addition,
Stratus has engaged in extortion and fraudulent conduct by disseminating false statements about
Chevron through its authorship of the Cabrera Report and through its later “evaluation” of that
report. Stratus also has engaged in extortion and fraudulent conduct by participating in a
campaign of public attacks based on false and misleading statements about Chevron and the
Lago Agrio Litigation. Finally, Stratus has engaged in obstruction of justice by misrepresenting
to the United States District Court for the District of Colorado that Cabrera was an independent
expert, that it was “astonished” to see “similarities” between its own work product and the

Cabrera Report when Stratus actually drafted the majority of the Cabrera Report, and otherwise

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misrepresenting the relationship between Cabrera and the RICO Defendants. Finally, Stratus has
engaged in witness tampering by repeatedly and intentionally misleading numerous of its
employees regarding Cabrera’s independence, and omitting facts about its true role in drafting
the Cabrera Report, with the intent that its employees would then fail to testify truthfully if called
to testify as to these subjects.

373. Defendant Beltman has committed numerous mail and wire fraud
violations, including those identified in Appendix B in which Beltman used or caused to be used
the mail or wires in furtherance of the RICO Defendants’ scheme to defraud. Beltman also has
engaged in extortion of Chevron and fraudulent conduct by manufacturing false evidence, in the
form of the Cabrera Report and its annexes, used extensively by the RICO Defendants in the
Lago Agrio Litigation and more generally in furtherance of their illegal scheme. [n addition,
Beltman has engaged in extortion and fraudulent conduct by disseminating false statements
about Chevron through his role in drafting both the Cabrera Report and his later “evaluation” of
that report. Beltman also has engaged in extortion of Chevron and fraudulent conduct by
disseminating and causing to be disseminated false statements to the public and to a member of
Congress regarding Chevron, the Lago Agrio Litigation, and Cabrera’s independence. Beltman
also engaged in obstruction of justice by causing misrepresentations to be made to the United
States District Court for the District of Colorado that Cabrera was an independent expert, that
Stratus was “astonished” to see “similarities” between its own work product and the Cabrera
Report when it actually drafted the majority of the Cabrera Report, and otherwise
misrepresenting the relationship between Cabrera and the RICO Defendants. Finally, Beltman
has engaged in witness tampering by repeatedly and intentionally misleading numerous Stratus
employees regarding Cabrera’s independence, and omitting facts about Stratus’s true role in
drafting the Cabrera Report, with the intent that its employees would then fail to testify truthfully
if called to testify as to these subjects.

374. Defendant Maest has committed numerous mail and wire fraud violations,

including those identified in Appendix B in which Maest used or caused to be used the mail or

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wires in furtherance of the RICO Defendants’ scheme to defraud. Maest also has engaged in
extortion of Chevron and fraudulent conduct by manufacturing false evidence, in the form of the
Cabrera Report and its annexes, used extensively by the RICO Defendants in the Lago Agrio
Litigation and more generally in furtherance of their illegal scheme. In addition, Maest has
engaged in extortion and fraudulent conduct by disseminating false statements about Chevron
through her role in drafting both the Cabrera Report and Cabrera’s later “evaluation” of that
report. Maest also has engaged in extortion of Chevron and fraudulent conduct by disseminating
and causing to be disseminated false statements to the public regarding Chevron, the Lago Agrio
Litigation, and Cabrera’s independence. Finally, Maest has engaged in obstruction of justice by
causing misrepresentations to be made to the United States District Court for the District of
Colorado that Cabrera was an independent expert, that Stratus was “astonished” to see
“similarities” between its own work product and the Cabrera Report when it actually drafted the
majority of the Cabrera Report, and otherwise misrepresenting the relationship between Cabrera
and the RICO Defendants.

375. Each of the RICO Defendants has engaged in multiple predicate acts, as described
in paragraphs 366-74, supra. The conduct of each of the RICO Defendants described in
paragraphs 345-74, supra, constitutes a pattern of racketeering activity within the meaning of 18
U.S.C. § 1961(5).

376. Chevron was injured in its business and property by reason of the RICO
Defendants’ violations of 18 U.S.C. § 1962(c). The injuries to Chevron caused by reason of the
violations of 18 U.S.C. § 1962(c) include but are not limited to damage to Chevron’s reputation
and goodwill; the impairment of Chevron’s interest in executed contracts, including the 1995
Settlement Agreement and 1998 Final Release; and the attorneys’ fees and costs to defend itself
in objectively baseless, improperly motivated sham litigation in Ecuador and in related litigation
in the U.S., including the attorneys’ fees and costs associated with exposing the RICO

Defendants’ pervasive fraud in the Section 1782 proceedings.

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377. Further, these injuries to Chevron were a direct, proximate, and reasonably
foreseeable result of the violation of 18 U.S.C. § 1962. Chevron is the ultimate victim of the
RICO Defendants’ unlawful Enterprise. Chevron has been and will continue to be injured in its
business and property in an amount to be determined at trial.

378. Pursuant to 18 U.S.C. § 1964(c), Chevron is entitled to recover treble damages
plus costs and attorneys’ fees from the RICO Defendants.

379, Chevron is further entitled to, and should be awarded, a preliminary and
permanent injunction that enjoins Defendants, their assignees, and anyone else acting in concert
with them—including the law firms of Emery Celli, Motley Rice and Patton Boggs, and H5 and
financial backers such as Burford and Russell DeLeon—from commencing, prosecuting, or
advancing in any way—directly or indirectly—any attempt to recognize or enforce the Lago
Agrio judgment in any court, tribunal, or administrative agency in any jurisdiction, in the United
States or abroad, including any attempt to attach or seize any Chevron or Chevron subsidiary’s or
co-venturer’s assets, whether pre-judgment or otherwise, until this Court determines the merits
and enters judgment on Chevron’s claims against the Defendants in this action.

WHEREFORE, Chevron prays for judgment as set forth below.

SECOND CLAIM FOR RELIEF
(Conspiracy to Violate RICO, Violation of 18 U.S.C. § 1962(d))
(Against All RICO Defendants)

380. Chevron realleges and incorporates herein by reference each and every foregoing
paragraph of this Amended Complaint as if set forth in full.

381. The RICO Defendants have unlawfully, knowingly and willfully combined,
conspired, confederated and agreed together and with others to violate 18 U.S.C. § 1962(c) as
described above, in violation of 18 U.S.C. § 1962(d).

382. Upon information and belief, the RICO Defendants knew that they were engaged
in aconspiracy to commit the predicate acts, and they knew that the predicate acts were part of

such racketeering activity, and the participation and agreement of each of them was necessary to

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allow the commission of this pattern of racketeering activity. This conduct constitutes a
conspiracy to violate 18 U.S.C. § 1962(c), in violation of 18 U.S.C. § 1962(d).

383. Upon information and belief, the RICO Defendants agreed to conduct or
participate, directly or indirectly, in the conduct, management, or operation of the Enterprise’s
affairs through a pattern of racketeering activity in violation of 18 U.S.C. § 1962(c).

384. Each RICO Defendant knew about and agreed to facilitate the Enterprise’s
scheme to obtain property from Chevron. It was part of the conspiracy that the RICO
Defendants and their co-conspirators would commit a pattern of racketeering activity in the
conduct of the affairs of the Enterprise, including the acts of racketeering set forth in paragraphs
345-74, supra.

385. Asadirect and proximate result of the RICO Defendants’ conspiracy, the acts of
racketeering activity of the Enterprise, the overt acts taken in furtherance of that conspiracy, and
violations of 18 U.S.C. § 1962(d), Chevron has been injured in its business and property,
including damage to Chevron’s reputation and goodwill; the impairment of Chevron’s interest in
executed contracts, including the 1995 Settlement Agreement and 1998 Final Release; and the
attorneys’ fees and costs to defend itself in objectively baseless, improperly motivated sham
litigation in Ecuador and in related litigation in the U.S., including the attorneys’ fees and costs
associated with exposing the RICO Defendants’ pervasive fraud in the Section 1782
proceedings.

386. Pursuant to 18 U.S.C. § 1964(c), Chevron is entitled to recover treble damages
plus costs and attorneys’ fees from the RICO Defendants.

387. Chevron is further entitled to, and should be awarded, a preliminary and
permanent injunction that enjoins Defendants, their assignees and anyone else acting in concert
with them— including the law firms of Emery Celli, Motley Rice and Patton Boggs, and H5 and
financial backers such as Burford and Russell DeLeon—from commencing, prosecuting, or
advancing in any way—directly or indirectly—any attempt to recognize or enforce the Lago

Agrio judgment in any court, tribunal, or administrative agency in any jurisdiction, in the United

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States or abroad, including any attempt to attach or seize any Chevron or Chevron subsidiary’s or
co-venturer’s assets, whether pre-judgment or otherwise, until this Court determines the merits
and enters judgment on Chevron’s claims against the Defendants in this action.

WHEREFORE, Chevron prays for judgment as set forth below.

THIRD CLAIM FOR RELIEF
(Fraud)
(Against All Defendants)

388. Chevron realleges and incorporates herein by reference each and every foregoing
paragraph of this Amended Complaint as if set forth in full.

389, | Defendants and their agents have knowingly misrepresented, omitted, and/or
concealed material facts in their pleadings and representations before U.S. courts and before the
Lago Agrio court, in their communications to federal and state government agencies and
officials, and in their communications to Chevron, Chevron’s shareholders, investors, analysts,
and the media. Each and every Defendant has personally engaged in this conduct, or knew or
should have known that other Defendants were engaged in it on his or her behalf. These false
representations are detailed throughout this Amended Complaint and include the falsified
Calmbacher reports, the true authorship of the Cabrera Report, the denial of any improper
contact with Cabrera, the supposed independence and neutrality of Cabrera and his liability and
damages assessment, the submission of new “expert” reports based on the fraudulent Cabrera
Report, and the fraudulent endorsements of the Cabrera Report.

390. Defendants made these false representations while knowing that their
misrepresentations were materially false and/or that their omissions were material.

391. Defendants further made these misrepresentations and/or omissions with the
intent of obtaining favorable rulings from the U.S. and Lago Agrio courts, pressuring U.S. state
and federal agencies to pursue investigations of Chevron, and propagating false information
about Chevron to shareholders, investors, analysts, and the media.

392. These material misrepresentations and/or omissions have been reasonably and

justifiably relied upon by Chevron, the U.S. courts, state and federal government agencies and

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officials, and Chevron’s shareholders, investors, analysts, and the media, and by the Lago Agrio
court by means of its acceptance of Defendants’ and Cabrera’s misrepresentations and omissions
and its failure to take meaningful corrective action.

393, As a direct, proximate, and foreseeable result of Defendants’ fraud, Chevron has
been harmed, including significant pecuniary, reputational, and other damages. These injuries
include significant damage to Chevron’s reputation and goodwill, and the attorneys’ fees and
costs to defend itself in objectively baseless, improperly motivated sham litigation in Ecuador
and in related litigation in the U.S., including the attorneys’ fees and costs associated with
exposing the Defendants’ pervasive fraud in the Section 1782 proceedings.

394. Defendants have engaged in the malicious, willful, and fraudulent commission
of wrongful acts and, because of the reprehensible and outrageous nature of these acts, Chevron
is entitled to, and should be awarded, punitive damages against each of the Defendants.

395, Chevron is further entitled to, and should be awarded, a preliminary and
permanent injunction that enjoins Defendants, their assignees and anyone else acting in concert
with them—including the law firms of Emery Celli, Motley Rice and Patton Boggs, and H5 and
financial backers such as Burford and Russell DeLeon—from commencing, prosecuting, or
advancing in any way—directly or indirectly—from any attempt to recognize or enforce the
Lago Agrio judgment in any court, tribunal, or administrative agency in any jurisdiction, in the
United States or abroad, including any attempt to attach or seize any Chevron or Chevron
subsidiary’s or co-venturer’s assets, whether pre-judgment or otherwise, until this Court
determines the merits and enters judgment on Chevron’s claims against the Defendants in this
action.

WHEREFORE, Chevron prays for judgment as set forth below.

FOURTH CLAIM FOR RELIEF
(Tortious Interference With Contract)
(Against All Defendants)

396. | Chevron realleges and incorporates herein by reference each and every foregoing

paragraph of this Amended Complaint as if set forth in full.

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397. Defendants are and have been aware of valid and enforceable contracts between
TexPet and the Republic of Ecuador, including the 1995 Settlement Agreement and the 1998
Final Release. These contracts, in exchange for TexPet’s remedial actions, released TexPet,
Texaco, and their employees, successors, principals and subsidiaries from liability relating to
environmental damage in Ecuador.

398. | Defendants have intentionally caused and continued to cause the Republic of
Ecuador to repeatedly breach the 1995 Settlement Agreement and the 1998 Final Release.
Defendants have, through improper influence and the fabricated Cabrera Report, persuaded the
Republic of Ecuador to refuse to defend Chevron’s rights and those of its subsidiaries under the
contracts, to improperly dictate to the judiciary that Chevron be held liable in the Lago Agrio
Litigation, and to bring criminal charges against Chevron’s employees.

399. The judgment from the Lago Agrio court also constitutes a severe and
qualitatively different breach of the 1995 Settlement Agreement and the 1998 Final Release.
Defendants have intentionally caused the Republic of Ecuador to take actions necessary to secure
this fraudulent judgment.

400. As a direct, proximate, and foreseeable result of Ecuador’s breaches of the 1995
Settlement Agreement and the 1998 Final Release, Chevron has been forced to defend itself
against claims for which TexPet had already secured a release, which has caused significant
pecuniary, reputational, and other damages. These injuries include significant damage to
Chevron’s reputation, and attorneys’ fees and costs to defend itself and its subsidiaries against
previously released claims in Ecuador, in related litigation to attempt to enforce these contracts
in international arbitration, and in recognition and enforcement efforts around the world.

401. Defendants have engaged in the malicious, willful, and fraudulent commission
of wrongful acts and, because of the reprehensible and outrageous nature of these acts, Chevron
is entitled to, and should be awarded, punitive damages against each of the Defendants.

402. Chevron is further entitled to, and should be awarded, a preliminary and

permanent injunction that enjoins Defendants, their assignees, and anyone else acting in concert

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with them——including the law firms of Emery Celli, Motley Rice and Patton Boggs, and H5 and
financial backers such as Burford and Russell DeLeon—from commencing, prosecuting, or
advancing in any way—directly or indirectly—any attempt to recognize or enforce the Lago
Agrio judgment in any court, tribunal, or administrative agency in any jurisdiction, in the United
States or abroad, including any attempt to attach or seize any Chevron or Chevron subsidiary’s or
co-venturer’s assets, whether pre-judgment or otherwise, until this Court determines the merits
and enters judgment on Chevron’s claims against the Defendants in this action.

WHEREFORE, Chevron prays for judgment as set forth below.

FIFTH CLAIM FOR RELIEF
(Trespass to Chattels)
(Against All Defendants)

403. Chevron realleges and incorporates herein by reference each and every foregoing
paragraph of this Amended Complaint as if set forth in full.

404. As set forth above, the RICO Defendants have engaged in a pattern of extortion,
collusion, wrongdoing, and deceit with an intent to interfere with Chevron’s property, and the
Lago Agrio Plaintiffs have benefited and will continue to benefit from the RICO Defendants’
criminal scheme through a fraudulent judgment. Through these actions, and by prosecuting a
fraudulent lawsuit, manufacturing false evidence, tampering with testimony, disseminating
misleading statements to courts, the public, and U.S. government officials, and otherwise
engaging in the pressure campaign described in the foregoing paragraphs of this Amended
Complaint, Defendants have intentionally, and without justification or consent, interfered and
intermeddled with Chevron’s use and enjoyment of its funds that were intended for Chevron’s
business purposes and of its business reputation and goodwill.

405. Chevron has been harmed and the use of its property has been interfered with
and disturbed when its property, resources, and funds were necessarily redirected from their
intended uses to defend against Defendants’ fraudulent litigation and misleading media
campaign. For example, Chevron has been forced by the RICO Defendants’ intentional and

wrongful conduct to expend funds and resources defending against fraudulent submissions in the

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Lago Agrio Litigation, pursuing relief in the Treaty Arbitration, uncovering the RICO
Defendants’ fraud through discovery in the United States (discovery with which the RICO
Defendants have continually interfered and which they have unduly extended, as described
herein), responding to false and misleading reports in major media publications and broadcasts
which have been induced by the RICO Defendants, and maintaining an ongoing effort to provide
accurate information about the Cabrera Report and other aspects of the RICO Defendants’ fraud
to the media and directly to the public.

406. Chevron also has been harmed in that Defendants’ conduct has damaged
Chevron’s reputation, thus interfering with Chevron’s interest in the public goodwill toward it.
Public awareness of and positive associations with the Chevron and Texaco brand names, and
Chevron’s other brand assets are among Chevron’s most valuable assets, and Chevron has
invested substantial resources into those brand names. The RICO Defendants have intentionally
sought to reduce the value of those assets as part of their extortionate scheme. As Donziger has
expressly stated, a key element of the RICO Defendants’ strategy is to impose upon Chevron,
“the cost of their sullied reputation, you know, in the media.”

407, The harms suffered by Chevron are the direct, proximate, and reasonably
foreseeable results of the Defendants’ acts of intentional interference with Chevron’s funds and
goodwill.

408. Defendants have engaged in the malicious, willful, and fraudulent commission
of wrongful acts and, because of the reprehensible and outrageous nature of these acts, Chevron
is entitled to, and should be awarded, punitive damages against each of the Defendants.

409. Chevron is further entitled to, and should be awarded, a preliminary and
permanent injunction that enjoins Defendants, their assignees, and anyone else acting in concert
with them—including the law firms of Emery Celli, Motley Rice and Patton Boggs, and H5 and
financial backers such as Burford and Russell DeLeon—from commencing, prosecuting, or
advancing in any way-—directly or indirectly-—any attempt to recognize or enforce the Lago

Agrio judgment in any court, tribunal, or administrative agency in any jurisdiction, in the United
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States or abroad, including any attempt to attach or seize any Chevron or Chevron subsidiary’s or
co-venturer’s assets, whether pre-judgment or otherwise, until this Court determines the merits
and enters judgment on Chevron’s claims against the Defendants in this action.

WHEREFORE, Chevron prays for judgment as set forth below.

SIXTH CLAIM FOR RELIEF
(Unjust Enrichment)
(Against All Defendants)

410. Chevron realleges and incorporates herein by reference each and every foregoing
paragraph of this Amended Complaint as if set forth in full.

All. Defendants seek to obtain billions of dollars from Chevron through a fraudulent
judgment in the Lago Agrio Litigation. Defendants have been and will continue to be unjustly
enriched by benefits obtained due to the judgment itself.

412. Any property that Defendants obtain from Chevron will be acquired as a result
of Defendants’ tortious, illegal, and fraudulent conduct, as set forth herein, including the
prosecution of the Lago Agrio Litigation itself.

413. Principles of equity and good conscience mandate that this Court prevent
Defendants from reaping a multi-billion dollar windfall and any benefits arising out of the
fraudulent litigation by, among other things, issuing a preliminary and permanent injunction
against Defendants that enjoins Defendants, their assignees, and anyone else acting in concert
with them-—including the law firms of Emery Celli, Motley Rice and Patton Boggs, and H5 and
financial backers such as Burford and Russell DeLeon—from commencing, prosecuting, or
advancing in any way—directly or indirectly—any attempt to recognize or enforce the Lago
Agrio judgment in any court, tribunal, or administrative agency in any jurisdiction, in the United
States or abroad, including any attempt to attach or seize any Chevron or Chevron subsidiary’s or
co-venturer’s assets, whether pre-judgment or otherwise, until this Court determines the merits
and enters judgment on Chevron’s claims against the Defendants in this action.

WHEREFORE, Chevron prays for judgment as set forth below.

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SEVENTH CLAIM FOR RELIEF
(Civil Conspiracy)
(Against All Defendants)

414. Chevron realleges and incorporates herein by reference each and every foregoing
paragraph of this Amended Complaint as if set forth in full.

415. As set forth above, Defendants have committed torts against Chevron, including
acts of racketeering giving rise to violations of RICO, fraud, tortious interference with contract,
trespass to chattels, and unjust enrichment.

416. Defendants agreed to participate in a common scheme against Chevron.
Defendants intentionally participated in the furtherance of a plan or purpose to obtain property
from Chevron. In furtherance of this plan or purpose, Defendants committed overt and unlawful
acts, including acts of racketeering as alleged herein.

417. As a direct and proximate result of Defendants’ conspiracy, the overt acts
committed in furtherance of that conspiracy, and the torts committed against Chevron, Chevron
has been damaged in its business and property, and further damage to Chevron’s business and
property is threatened and imminent.

418. Defendants have engaged in the malicious, willful, and fraudulent commission
of wrongful acts and, because of the reprehensible and outrageous nature of these acts, Chevron
is entitled to, and should be awarded, punitive damages against each of the Defendants.

419, Chevron is further entitled to, and should be awarded, a preliminary and
permanent injunction that enjoins Defendants, their assignees, and anyone else acting in concert
with them—including the law firms of Emery Celli, Motley Rice and Patton Boggs, and H5 and
financial backers such as Burford and Russell DeLeon—from commencing, prosecuting, or
advancing in any way—directly or indirectly—any attempt to recognize or enforce the Lago
Agrio judgment in any court, tribunal, or administrative agency in any jurisdiction, in the United
States or abroad, including any attempt to attach or seize any Chevron or Chevron subsidiary’s or
co-venturer’s assets, whether pre-judgment or otherwise, until this Court determines the merits

and enters judgment on Chevron’s claims against the Defendants in this action.

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WHEREFORE, Chevron prays for judgment as set forth below.

EIGHTH CLAIM FOR RELIEF
(Violations of New York Judiciary Law § 487)
(Against Defendants Donziger, the Law Offices of Steven R. Donziger and Donziger &
Associates, PLLC)

420. Chevron realleges and incorporates herein by reference each and every foregoing
paragraph of this Amended Complaint as if set forth in full.

421. New York Judiciary Law § 487 provides, in pertinent part, as follows: “An
attorney or counselor who .. . [i]s guilty of any deceit or collusion, or consents to any deceit or
collusion, with intent to deceive the court or any party . . . [i]s guilty of a misdemeanor, and in
addition to the punishment prescribed therefore by the penal law, he forfeits to the party injured
treble damages, to be recovered in a civil action.”

422. As set forth above, Donziger, the Law Offices of Steven R. Donziger, and
Donziger & Associates, PLLC engaged in an intentional pattern of collusion, wrongdoing, and
deceit with the intent to deceive both Chevron and multiple federal courts, including the United
States District Court for the Southern District of New York and the United States Court of
Appeals for the Second Circuit.

423, Donziger, the Law Offices of Steven R. Donziger, and Donziger & Associates,
PLLC actively participated in the preparation and filing of multiple court submissions to the
United States District Court for the Southern District of New York, which included false and
misleading statements about the Lago Agrio Litigation and the Cabrera Report. Defendants
Donziger and the Law Offices of Steven R. Donziger knowingly caused these misstatements to
be filed with the intent of deceiving this Court and Chevron. As described in paragraphs 304-10,
supra, these misstatements were filed in opposition to Chevron’s requests for discovery under 28
U.S.C. § 1782 and in support of the Lago Agrio Plaintiffs’ and the Republic of Ecuador’s actions
against Chevron seeking to terminate arbitration proceedings.

424, Donziger and the Law Offices of Steven R. Donziger tampered with the

testimony of environmental consultant Mark Quarles in furtherance of the Enterprise’s scheme.

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In 2007, Ecuador submitted a declaration by Quarles regarding the “independence” of the
Cabrera Report in a proceeding pending in the Southern District of New York, using that
declaration to support Ecuador’s contention that the Lago Agrio Litigation “has proceeded in
accordance with rules of procedure under Ecuador law.” Quarles has recently admitted in sworn
testimony that Donziger paid him for this affidavit, and that he would not have signed the
affidavit if Donziger had told him the truth about the RICO Defendants’ involvement with
Cabrera. By not disclosing the truth about the RICO Defendants’ improper contact with Cabrera
and instead deliberately misleading Quarles, Donziger knowingly engaged in deceit with the
intent to deceive Quarles, this Court, and Chevron.

425. As aresult of the deceitful and fraudulent conduct of Donziger, the Law Offices
of Steven R. Donziger, and Donziger & Associates, PLLC as described herein, Chevron has been
injured in an amount to be established at trial.

426. By reason of the foregoing, Chevron is entitled to monetary damages against
Donziger, the Law Offices of Steven R. Donziger, and Donziger & Associates, PLLC, treble
damages, and reasonable attorneys’ fees pursuant to Judiciary Law § 487.

WHEREFORE, Chevron prays for judgment as set forth below.

NINTH CLAIM FOR RELIEF
(Request for Declaratory Judgment That the Judgment by the Lago Agrio Court Against
Chevron is Unenforceable and Non-Recognizable)
(Against the Front and the “Lago Agrio Plaintiffs”)

427. Chevron realleges and incorporates herein by reference each and every foregoing
paragraph of this Amended Complaint as if set forth in full.

428. Chevron is entitled to a declaratory judgment that the judgment from the Lago
Agrio court is unenforceable and non-recognizable pursuant to the Declaratory Judgment Act, 28
U.S.C. § 2201(a).

429. A declaratory judgment will not improperly increase friction between sovereign
legal systems or encroach on the proper domain of a foreign court because no court has a right to

impose fraudulent judgments such as the judgment of the Lago Agrio court. And an injunction
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against the Defendants named in this claim and all those acting in concert with them would not
bind or affect the Ecuadorian courts in any way, and necessarily does not interfere with any
proceedings in any other foreign courts because, inter alia, no recognition or enforcement
proceedings are currently pending in any such courts.

430. By this claim, Chevron seeks a declaratory judgment that the Lago Agrio
judgment is unenforceable and non-recognizable, including but not limited to under the United
States Constitution, federal common law, New York common law principles of comity, and/or
New York’s Recognition of Foreign Country Money Judgments Act (New York C.PL.R. 5301,
et seq.,), on, among others, grounds of fraud, failure to afford procedures compatible with due
process, lack of impartial tribunals, lack of personal jurisdiction, contravention of public policy,
that the judgment conflicts with another final and conclusive judgment, that the proceeding in the
foreign court was contrary to an agreement between the parties under which the dispute in
question was to be settled otherwise than by proceedings in that court, and that the judgment is
an unenforceable penalty.

431. By reason of the fraudulent acts and fundamentally unfair proceedings described
in this Amended Complaint that have given rise to the Lago Agrio judgment, an actual and
justiciable controversy has arisen and now exists between Chevron and the Lago Agrio Plaintiffs
and the Front as to whether the judgment is unenforceable and non-recognizable in the United
States and establishing that Chevron’s assets are safe from the Defendants’ fraudulent actions
and racketeering activity. The actions of the RICO Defendants on behalf of the Lago Agrio
Plaintiffs whom they purport to represent have damaged and are threatening to continue
damaging Chevron. Unless the controversy between the parties is resolved, the Lago Agrio
Plaintiffs and the Front will continue to harm Chevron and will seek recognition and
enforcement of the fraudulent judgment that the RICO Defendants have obtained on the Lago
Agrio Plaintiffs’ behalf.

432. Chevron has no adequate remedy at law. A declaratory action is necessary and

useful in resolving and disposing of the question of whether the fraudulent Lago Agrio judgment

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is enforceable and recognizable, and is the best and most effective remedy for finalizing the
controversy between the parties as to this issue and for relieving Chevron from the expensive and
damaging uncertainty surrounding the pending enforcement and recognition of the fraudulent
judgment. Chevron is entitled to have the question of whether the Lago Agrio judgment is
enforceable and recognizable settled promptly so that it may continue conducting its business
without the threat of attachment, asset seizures, or other enforcement actions arising from the
massive fraudulent judgment.

433, Chevron is further entitled to, and should be awarded, a preliminary and
permanent injunction against the Front and the Lago Agrio Plaintiffs, their assignees and anyone
else acting in concert with them from commencing, prosecuting, or advancing in any way—
directly or indirectly—any attempt to recognize or enforce the Lago Agrio judgment in any
court, tribunal, or administrative agency in any jurisdiction, in the United States or abroad,
including any attempt to attach or seize any Chevron or Chevron subsidiary’s or co-venturer’s
assets, whether pre-judgment or otherwise, until this Court determines the merits and enters
judgment on Chevron’s claims against the Defendants in this action. Thus, even though they are
not named defendants in this Declaratory Judgment claim, the other RICO Defendants and their
co-conspirators, including the law firms of Emery Celli, Motley Rice and Patton Boggs, and H5
and financial backers such as Burford and Russell DeLeon, make themselves subject to any
injunction issued by this Court to the extent they act in concert with the defendants named in this
claim-—the Lago Agrio Plaintiffs and the Front.

WHEREFORE, Chevron prays for judgment as set forth below.

PRAYER FOR RELIEF
On the First and Second Claims for Relief:
1, For general damages according to proof at trial, trebled according to statute,
18 U.S.C. § 1964(c);

2. For pre-judgment interest according to statute; and

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3. For Chevron’s reasonable attorneys’ fees and costs according to statute, 18 U.S.C.
§ 1964(c).

On the First through Seventh Claims for Relief:

4. For general damages according to proof at trial;

5. For equitable relief as appropriate pursuant to applicable law, including but not
limited to issuing a temporary restraining order, a preliminary injunction and a permanent
injunction that bars Defendants, their assignees and anyone else acting in concert with them—
including potentially the law firms of Emery Celli, Motley Rice and Patton Boggs, and H5 and
financial backers such as Burford and Russell DeLeon—from commencing, prosecuting, or
advancing in any way—directly or indirectly—any attempt to recognize or enforce the Lago
Agrio judgment in any court, tribunal, or administrative agency in any jurisdiction, in the United
States or abroad, including any attempt to attach or seize any Chevron or Chevron subsidiary’s or
co-venturer’s assets, whether pre-judgment or otherwise, until this Court determines the merits
and enters judgment on Chevron’s claims against the Defendants in this action; and

6. Only for the third, fourth, fifth, and seventh claims for relief, punitive damages in
an amount to be proven at trial.

On the Eighth Claim for Relief:

7. For general damages according to proof at trial, trebled according to statute,
Judiciary Law § 487; and

8. For Chevron’s reasonable attorneys’ fees and costs according to statute,

Judiciary Law § 487.

On the Ninth Claim for Relief:

9. For a declaration that the judgment against Chevron in the Lago Agrio Litigation
is non-recognizable and unenforceable for each and every one of the reasons set forth herein; and

10. For equitable relief as appropriate pursuant to applicable law, including but not
limited to issuing a temporary restraining order, a preliminary injunction and a permanent

injunction that bars the Front, the Lago Agrio Plaintiffs, their assignees and anyone else acting in

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concert with them—including the other RICO Defendants, the law firms of Emery Celli, Motley
Rice and Patton Boggs, and H5 and financial backers such as Burford and Russell DeLeon—
from commencing, prosecuting, or advancing in any way—directly or indirectly—any attempt to
recognize or enforce the Lago Agrio judgment in any court, tribunal, or administrative agency in
any jurisdiction, in the United States or abroad, including any attempt to attach or seize any
Chevron or Chevron subsidiary’s or co-venturer’s assets, whether pre-judgment or otherwise,
until this Court determines the merits and enters judgment on Chevron’s claims against the
Defendants in this action, or until such time as this Court deems appropriate.

As to All Causes of Action:

11. For such other legal and equitable relief as the Court may deem Chevron is

entitled to receive.

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DATED: April 20, 2011

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